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              f. ResCap’s Near Term Refinancing Needs Trigger Ratings Downgrade

     On April 23, 2008, Moody’s downgraded its ratings for both AFI and ResCap. The rating
agency lowered AFI’s senior rating to B2 from B1, and ResCap to Caa1 from B2. Moody’s
stated that the ratings would remain on review for a further downgrade. Moody’s further
reported: “The [AFI] downgrade is based upon Moody’s opinion that further operating
weakness at ResCap poses risks to [AFI]’s capital position and liquidity that exceed previous
estimates.” Moody’s stated that the ResCap downgrade resulted from the mortgage unit facing
significant near-term refinancing needs.616

                 (1) In May 2008/June 2008 ResCap Engaged In A Private Debt Offering, Note
                     Exchange, And Dutch Auction

     On May 5, 2008, ResCap announced that it had commenced accepting offers to exchange
certain securities with a total value of $12.8 billion in return for one of two series of ResCap’s
newly issued notes.617 Specifically, ResCap offered Senior Secured Notes and Junior Secured
Notes in exchange for (1) the Unsecured Notes; and (2) the subordinated notes issued under an
indenture dated as of April 17, 2006 (together with the Unsecured Notes, the “Old Notes”).

    The Senior Secured Notes and Junior Secured Notes issued in connection with the
exchange offer were guaranteed by ResCap’s subsidiaries and “secured by a security interest
in substantially all of ResCap’s existing and after-acquired unencumbered assets.”618
Noteholders participating in the exchange offer also had the option of exchanging their Old
Notes for cash instead of the Senior Secured Notes or Junior Secured Notes through a
modified Dutch Auction.619

      When ResCap closed the private debt tender and exchange offers on June 6, 2008,620
ResCap had issued $1.7 billion initial aggregate principal amount of Senior Secured Notes,
and $4 billion initial aggregate principal amount of Junior Secured Notes due 2014 in
exchange for $2.6 billion of Senior Unsecured Notes due to mature in 2008–2009, and $6
billion of Senior Unsecured Notes that were scheduled to mature in 2010–2015. An additional
$1.6 billion of notes scheduled to mature in 2008–2009, and $2.6 billion of notes scheduled to
mature in 2010 through 2015, were exchanged for cash. The auction price was $920 per
$1,000 principal amount of Senior Secured Notes, and $650 per $1,000 principal

616 Wallace Witkowski, Moody’s Downgrades GMAC, ResCap Ratings, WALL ST. J. MARKETWATCH, Apr. 23,

   2008, http://articles.marketwatch.com/2008-04-23/news/30946308_1_rescap-downgrade-gmac-llc.
617 See ResCap Press Release, ResCap Commences Private Exchange Offers and Cash Tender Offers for
   U.S. Dollar Equivalent $14.0 Billion Outstanding Principal Amount of Its Outstanding Debt Securities
   (May 5 2008), http://media.ally.com/index.php?s=43&item=232 (quotingOffering Memorandum and Consent
   Solicitation Statement, dated May 5, 2008).
618 See id.

619 See id.

620 See Residential Capital LLC, Current Report (Form 8-K), June 12, 2008, Item 1.01.



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amount of Junior Secured Notes.621 Significantly, amendments effected pursuant to the
exchange offer released the subsidiary guarantees of ResCap’s obligations under the Old
Notes and eliminated certain restrictive covenants and events of default in the indentures
governing the Old Notes.622

                   (2) Additional Related Party Transactions Undertaken To Provide Liquidity
                       And To Prevent Breach Of Tangible Net Worth Covenant

      In June 2008, AFI provided a $3.5 billion secured line of credit to ResCap. ResCap
utilized $1.75 billion to repay its outstanding unsecured term loan and subsequently utilized
the remaining capacity for other operational purposes.623 In addition, AFI arranged for GMAC
CF to provide a servicing advance receivables factoring facility of $600 million.624

                   (3) Transactions Lead to Further AFI Rating Downgrades

      On June 16, 2008, citing ResCap’s lack of sufficient committed contingent liquidity,
Moody’s downgraded AFI to B3 from B2 with a negative outlook due to its exposure to
ResCap. Moody’s noted that the $3.5 billion credit facility provided by AFI replaced
ResCap’s committed, undrawn revolving bank credit facilities of $1.75 billion and was likely
utilized to pay $900 million of bonds maturing on June 9, 2008, to fund the $1.2 billion
modified Dutch auction that was offered as part of the bond exchange, and transfer to AFI/
prepay a $1.75 billion bank term loan due in July 2008.625

              g. ResCap’s Monetization Of Assets Over Time To AFI/Cerberus; Lack Of
                 Marketability For Such Assets Due To Severe Market Dislocation And
                 Disruption During Relevant Time Period

                   (1) GMAC CF’s Purchases Resort Financing Business

     As noted above, in April 2008 there was a failed attempt to sell the Resort Finance
business in the open market. On July 2, 2008, ResCap, agreed to sell ResCap’s Resort Finance
business to GMAC CF.626




621 See id.

622 See id., Item 3.03.

623 See Section V.E.3.

624 See Section V.E.4 (discussing the factoring facility).

625 Sue Chang, Moody’s Cuts GMAC to ‘B3’; Outlook Negative, WALL ST. J. MARKETWATCH, June 16, 2008,

   http://articles.marketwatch.com/2008-06-16/news/30862108_1_gmac-residential-capital-llc-rescap; see also
   Moody’s downgrades GMAC on ResCap exposure, CREDITFLUX, http://www.creditflux.com/Trading/2008-
   06-16/Moodys-downgrades-GMAC-on-ResCap-exposure/.
626 See Section V.F.4.c (discussing Resort Finance Sale).



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     The sale was finalized on July 30, 2008 for a purchase price of $96.1 million, and the
difference between the deposit amount and the purchase price (or $153.9 million) was
returned to AFI. ResCap booked an impairment of $153.9 million for the portion of the
deposit returned. 627

                  (2) In June 2008, Cerberus Purchased Certain ResCap Assets628

     In June 2008, Cerberus arranged to purchase certain assets, including certain model home
assets, for approximately $230 million.629 Ron Kravit, Managing Principal of Cerberus Real
Estate, appeared to represent Cerberus interests in the transaction while concurrently serving
as a director on the ResCap Board.630

   In connection with the refinancing, and to reflect the revised business of ResCap, the
TNW covenant was reduced from $5.4 billion to $250 million.




627 See Section V.F.4.c for a discussion of the Resort Finance Sale.

628 See Section V.F.

629 See id. (discussing the sale to Cerberus). The model home assets on ResCap’s balance sheet had been
   purchased from homebuilders at a discount to appraisal value and then leased back for use as sales models
   from ResCap. The homebuilder would generally agree to lease the model home for eighteen to twenty four
   months. ResCap then generally contracted with homebuilders to sell the model homes for which they would
   pay the homebuilder a commission. This enabled the homebuilder to get cash for the models while still using
   them to showcase a development.
630 See Letter from Cerberus to ResCap signed on behalf of Cerberus Capital Management by R. Kravit (Sept. 25,

   2008) [CERB000009].

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H. FINANCIAL MARKET DISLOCATION AND IMPACT                                                 ON      RESCAP’S
   OPERATIONS (AUGUST 2008 THROUGH JANUARY 2009)

    1. The Period Of August 2008 Through January 2009 Was One Of Momentous Financial
       Dislocation

     The period of August 2008 through January 2009 was a tumultuous one for financial
markets in the United States and the rest of the world. Following the seizure by regulators of
mortgage bank IndyMac in July 2008,631 and other events described in Section III.F, the global
financial crisis expanded during this period. By September 2008, market concerns in the U.S.
over credit quality led hedge funds, pension funds, and institutional investors to begin pulling
cash out of investment banks and money market funds; individual investors followed.632

     As September progressed, consumer and investor confidence were further challenged by
a series of high-profile events and increasingly disturbing economic trends.633 These included
the federal takeover of Fannie Mae and Freddie Mac on September 7, 2008,634 followed the
next week by two near simultaneous and momentous announcements: the collapse and
631 See FDIC, Press Release, FDIC Establishes IndyMac Federal Bank, FSB as Successor to IndyMac Bank,

   F.S.B. (July 11, 2008), http://www.fdic.gov/news/news/press/2008/pr08056.html.
632 Joe Nocera, 36 Hours of Alarm and Action as Crisis Spiraled, N.Y. TIMES, Oct. 2, 2008, http://www.nytimes.com/

   2008/10/02/business/worldbusiness/02iht-crisis.1.16638063.html?pagewanted=all&_r=0 (“Since that Monday, big
   institutional investors—like pension funds and college endowments—had been pulling money out of money funds.
   On Tuesday, individual investors joined the stampede.”).
633 Seegenerally CONGRESSIONAL OVERSIGHT PANEL, MARCH OVERSIGHT REPORT: FINAL REPORT OF THE
   CONGRESSIONAL OVERSIGHT PANEL (Mar. 16, 2011), http://cybercemetery.unt.edu/archive/cop/
   20110401232213/http://cop.senate.gov/documents/cop-031611-report.pdf.
634 In July 2008, following sharp declines in the share prices of Fannie Mae and Freddie Mac, U.S. Treasury

   announced its intention to seek approval from Congress to increase the lines of credit available to the GSEs
   and, if necessary, to purchase stock of the GSEs. See U.S. Treasury, Press Release, Paulson Announces GSE
   Initiatives (July 13, 2008), http://www.treasury.gov/press-center/press-releases/Pages/hp1079.aspx. Also in
   July, as the GSE share prices plummeted and fears of a liquidity crunch in the mortgage sector increased, the
   FRB voted to give Freddie Mac and Fannie Mae access to its discount window. See FRB, Press Release,
   Board Grants Federal Reserve Bank of New York Authority to Lend to Fannie Mae and Freddie Mac (July 13,
   2008), http://www.federalreserve.gov/newsevents/press/other/20080713a.htm. On September 7, 2008, the
   newly created FHFA placed both Freddie Mac and Fannie Mae into conservatorship. See U.S. Treasury, Press
   Release, Statement of FHFA Director James B. Lockhart (Sept. 7, 2008), http://www.treasury.gov/press-
   center/press-releases/Documents/fhfa_statement_090708hp1128.pdf. At the same time, the U.S. Treasury
   announced that it had entered into preferred stock purchase agreements with the GSEs in order to avoid
   triggering mandatory receiverships, and that it had established a new secured lending facility to serve as the
   “ultimate liquidity backstop” for the GSEs. See U.S. Treasury, Press Release, Statement by Secretary Henry
   M. Paulson, Jr. on Treasury and Federal Housing Finance Agency Action to Protect Financial Markets and
   Taxpayers (Sept. 7, 2008), http://www.treasury.gov/press-center/press-releases/Pages/hp1129.aspx. Such
   explicit government backing of the GSEs was unprecedented. See generally U.S. Treasury, Fact Sheet:
   Treasury Senior Preferred Stock Purchase Agreement (Sept. 7, 2008), http://www.fhfa.gov/webfiles/
   23896/pspa_factsheet_090708%20.pdf (noting that prior to this initiative ambiguities in the Congressional
   charters of the GSEs “created a perception of government backing”).

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bankruptcy of Lehman Brothers on September 15, 2008,635 and the government “bailout” of
AIG on September 16, 2008.636 On the same day that Lehman sought protection under the
Bankruptcy Code, Merrill Lynch avoided a similar fate only by agreeing to be purchased by
Bank of America,637 and the next day several money market funds announced that they had
“broken the buck.”638 Following those developments, the week of October 6, 2008 was the
worst for U.S. stock markets in decades.639

      Meanwhile, by October 2008 housing prices were down approximately 20 percent from
their peak in 2006,640 and U.S. unemployment rates were rising sharply—from 6.1 percent in
August 2008 to 7.8 percent in January 2009.641



635 See   Joe Nocera, 36 Hours of Alarm and Action as Crisis Spiraled, N.Y. TIMES, Oct. 2, 2008,
   http://www.nytimes.com/2008/10/02/business/worldbusiness/02iht-crisis.1.16638063.html?pagewanted=all&_r =0.
   The Lehman bankruptcy has deservedly been called “one of the signal events of the financial crisis.” The Orderly
   Liquidation of Lehman Brothers Holdings Inc, under the Dodd Frank Act, FDIC QUARTERLY, Vol. 5, No. 2, 2011,
   at 1, https://www.fdic.gov/bank/analytical/quarterly/2011_vol5_2/lehman.pdf.
636 See, e.g., FRB, Press Release, Federal Reserve Board, With Full Support of the Treasury Department, Authorizes

   the Federal Reserve Bank of New York to Lend Up to $85 billion to the American International Group (Sept. 16,
   2008), http://www.federalreserve.gov/newsevents/press/other/20080916a.htm. Ultimately, federal support of AIG
   would include lending it an additional $37.8 billion, as well as government support under TARP. See
   CONGRESSIONAL OVERSIGHT PANEL, JUNE OVERSIGHT REPORT: THE AIG RESCUE, ITS IMPACT ON MARKETS,
   AND THE GOVERNMENT’S EXIT STRATEGY (June 10, 2010), at 65, 68, 228, http://cybercemetery.unt.edu/archive/
   cop/20110402010341/ http://cop.senate.gov/documents/cop-061010-report.pdf.
637 See Bank of America, Press Release, Bank of America Buys Merrill Lynch Creating Unique Financial
   Services Firm (Sept. 15, 2008), http://newsroom.bankofamerica.com/press-release/corporate-and-financial-
   news/bank-america-buys-merrill-lynch-creating-unique-financial. With the encouragement of the FRB, that
   transaction closed in 2009. See FRB, Press Release, Testimony of Chairman Ben S. Bernanke Before the
   Committee on Oversight and Government Reform, U.S. House of Representatives (June 25, 2009),
   http://www.federalreserve.gov/newsevents/testimony/bernanke20090625a.htm.
638 Joe Nocera, 36 Hours of Alarm and Action as Crisis Spiraled, N.Y. TIMES, Oct. 2, 2008, http://www.nytimes.com/

   2008/10/02/business/worldbusiness/02iht-crisis.1.16638063.html?pagewanted=all&_r=0. In addition, on September
   18, 2008, there was a run on the Putnam Prime Money Fund that caused Putnam to shutter it. See id. The FRB
   opened the discount window to money market funds for borrowings, and Britain’s Financial Services Authority
   banned short selling of 29 financial stocks for thirty days, with the SEC placing similar restrictions on 799 financial
   stocks. See id.
639 See Vikas Bajaj, Whiplash Ends a Roller Coaster Week, N.Y. TIMES, Oct. 11, 2008, http://www.nytimes.com/

   2008/10/11/business/11markets.html?_r=1&pagewanted=print&.
640 STANDARD & POOR’S, S&P/CASE SHILLER HOME PRICE INDICES 2008, A YEAR IN REVIEW (Jan. 13, 2009),

   at 13, http://www.standardandpoors.com/servlet/BlobServer?blobheadername3=MDT-Type&blobcol=urldata
   &blobtable=MungoBlobs&blobheadervalue2=inline%3B+filename%3DCase-Shiller_Housing_Whitepaper_
   YearinReview%2C0.pdf&blobheadername2=Content-Disposition&blobheadervalue1=application% 2Fpdf&blobkey
   =id&blobheadername1=content-type&blobwhere=1243618038238&blobheadervalue3=UTF-8.
641 U.S.DEPARTMENT OF LABOR, BUREAU OF LABOR STATISTICS, LABOR FORCE STATISTICS FROM THE
   CURRENT POPULATION SURVEY, http://data.bls.gov/timeseries/LNS14000000 (unemployment rate from
   2003–2013).

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      Seeking to stem the worsening economic disaster, U.S. Treasury Secretary Paulson and
FRB Chairman Bernanke proposed the rapid adoption and implementation of a program of
government support, stating on September 18, 2008: “If we don’t do this, we may not have an
economy on Monday.”642 While initially hesitant,643 following the President’s urging,644 the
U.S. Congress passed the $700 billion TARP on October 3, 2008, and the President signed the
bill that day.645 As summarized in a report prepared (with the benefit of hindsight) by the
Congressional Oversight Panel established pursuant to the same act that created TARP:

                  In September, the housing bubble, the liquidity crunch, and the
                  financial crisis culminated in a string of unprecedented events
                  and government interventions that took place over a 19-day
                  stretch. During this period, Fannie Mae and Freddie Mac were
                  placed into conservatorship, Lehman Brothers filed for
                  bankruptcy, the Federal Reserve initiated an $85 billion
                  government rescue of American International Group (AIG),
                  Treasury announced a temporary guarantee of the $3.7 trillion
                  money market funds (MMFs), and the FDIC steered Washington
                  Mutual through the largest bank failure in U.S. history. By the
                  beginning of October 2008, the value of the stock market had
                  declined by nearly 20 percent from its level in January of that
                  year, losing 10 percent in September alone.646

                                             *          *          *

                  In response to rapidly deteriorating financial market conditions,
                  Congress passed and the President signed into law the
                  Emergency Economic Stabilization Act of 2008 (EESA) on




642 See  Joe Nocera, 36 Hours of Alarm and Action as Crisis Spiraled, N.Y. TIMES, Oct. 2, 2008,
   http://www.nytimes.com/2008/10/02/business/worldbusiness/02iht-crisis.1.16638063.html?pagewanted=all&_r=0.
643 Initially, Congress rejected the TARP proposal, complaining that members did not have sufficient time to fully

   review it. See id.; see also U.S. Treasury, Press Release, Statement by Secretary Henry M. Paulson, Jr. on
   Emergency Economic Stabilization Act Vote (Sept. 29, 2008), http://www.treasury.gov/press-center/press-releases/
   Pages/hp1168.aspx.
644 EXECUTIVE OFFICE OF THE PRESIDENT, STATEMENT OF ADMINISTRATION POLICY ON H.R. 1424, Oct. 3,

   2008, http://www.whitehouse.gov/sites/default/files/omb/assets/omb/legislative/sap/110-2/saphr1424-h2.pdf.
645 TARP was created pursuant to the Emergency Economic Stabilization Act of 2008, Pub. L. No. 110-343, 122

   Stat. 3765 (2008); see also U.S. Treasury, Press Release, Paulson Statement on Emergency Economic
   Stabilization Act (Oct. 3, 2008), http://www.treasury.gov/press-center/press-releases/Pages/hp1175.aspx.
646 CONGRESSIONAL  OVERSIGHT PANEL, MARCH OVERSIGHT REPORT: THE FINAL REPORT OF THE
   CONGRESSIONAL OVERSIGHT PANEL (Mar. 16, 2011), at 21, http://cybercemetery.unt.edu/archive/cop/
   20110401232213/http://cop.senate.gov/documents/cop-031611-report.pdf (citations and references omitted).

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                 October 3, 2008, creating the Troubled Asset Relief Program
                 (TARP). The Act was intended to “immediately provide
                 authority and facilities that the Secretary of the Treasury can use
                 to restore liquidity and stability to the financial system of the
                 United States” and “to ensure that such authority and such
                 facilities are used in a manner that protects home values, college
                 funds, retirement accounts, and life savings; preserves
                 homeownership and promotes jobs and economic growth;
                 maximizes overall returns to the taxpayers of the United States;
                 and provides public accountability for the exercise of such
                 authority.”647

                                          *         *         *

                 The law–EESA–authorized the Treasury Secretary to purchase
                 not only mortgage-related securities under the TARP, but also
                 “any other financial instrument” the purchase of which the
                 Secretary determined to be “necessary to promote financial
                 market stability.”648

      The Congressional Oversight Panel observed that “[a]lthough the federal government has
intervened to rescue financial institutions and prevent bank runs on several previous occasions
in U.S. history, the scale and breadth of the financial rescue authorized in EESA was
unprecedented.”649 And, indeed, less than two weeks after passage of TARP, the U.S.
Treasury announced that “to restore confidence and stability to our financial markets and get
credit flowing again,” it would “purchase equity stakes in a wide array of banks and thrifts.”650
Initially, Secretary Paulson noted that the U.S. Treasury would make some $250 billion
available to such institutions in the form of preferred stock purchases.651




647 Id. at 13.

648 Id. at 22.

649 Id.

650 U.S.Treasury, Press Release, Statement by Secretary Paulson on Actions to Protect the U.S. Economy
   (Oct. 14, 2008), http://www.treasury.gov/press-center/press-releases/Pages/hp1205.aspx; see also U.S.
   Treasury, Press Release, Joint Statement by Treasury, Federal Reserve and FDIC (Oct. 14, 2008), http://
   www.treasury.gov/press-center/press-releases/Pages/hp1206.aspx.
651 U.S. Treasury, Press Release, Statement by Secretary Paulson on Actions to Protect the U.S. Economy
   (Oct. 14, 2008), http://www.treasury.gov/press-center/press-releases/Pages/hp1205.aspx.

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     Those institutions, which ultimately would include AFI, initially consisted of: (1) four
commercial banks—JP Morgan, Bank of America, Citibank, and Wells Fargo; (2) three
investment banks—Goldman Sachs, Morgan Stanley, and Merrill Lynch; and (3) two
custodian banks—State Street and BNY Mellon.652 On October 28, 2008, these institutions
received an aggregate infusion of $125 billion in TARP funds in exchange for preferred
stock.653

     Less than a week after passage of TARP, central banks worldwide announced a
coordinated rate cut.654 Two days later, and following a meeting of the G7 central bankers and
finance ministers, Secretary Paulson released a statement concerning further coordinated
efforts to address domestic and worldwide financial dislocations, pointing specifically to the
role of the housing and mortgage markets:

                Global financial market conditions are severely strained. In the
                United States, our economy has been facing a prolonged period
                of uncertainty and our financial markets are experiencing
                unprecedented and extraordinary challenges. A root cause of this
                situation is the housing correction and a lack of confidence in
                mortgage assets, as well as a lack of confidence in many of the
                financial institutions that hold these assets.655

     Secretary Paulson’s description and the foregoing summary of events only scratch the
surface of the extent of the emerging financial market dislocations (and government/
regulatory efforts to address them) in the Fall and Winter of 2008. Indeed, the history is still
being written.656 The Examiner relies here on reports of the Congressional Oversight Panel not


652 SeeCONGRESSIONAL OVERSIGHT PANEL, MARCH OVERSIGHT REPORT: THE FINAL REPORT OF THE
   CONGRESSIONAL OVERSIGHT PANEL (Mar. 16, 2011), at note 41 and accompanying text, http://
   cybercemetery.unt.edu/archive/cop/20110401232213/http://cop.senate.gov/documents/cop-031611-
   report.pdf. Applications by Morgan Stanley and Goldman Sachs to become bank holding companies had
   been approved by the FRB on September 21, 2008. See FRB, Press Release, Order Approving Formation
   of Bank Holding Companies (Sept. 21, 2008), http://federalreserve.gov/newsevents/press/orders/
   orders20080922a1.pdf; FRB, Press Release, Order Approving Formation of Bank Holding Companies
   and Notice to Engage in Certain Nonbanking Activities (Sept. 21, 2008), http://federalreserve.gov/
   newsevents/press/orders/orders20080922a2.pdf.
653 CONGRESSIONAL  OVERSIGHT PANEL, MARCH OVERSIGHT REPORT: THE FINAL REPORT OF THE
   CONGRESSIONAL OVERSIGHT PANEL (Mar. 16, 2011), at 23, http://cybercemetery.unt.edu/archive/cop/
   20110401232213/http://cop.senate.gov/documents/cop-031611-report.pdf (citations omitted).
654 See Fed, European Banks Coordinate Interest Rate Cut, PBS NEWSHOUR, Oct. 8, 2008, http://www.pbs.org/

   newshour/updates/business/july-dec08/ratecut_10-08.html.
655 U.S. Treasury, Press Release, Statement by Secretary Henry M. Paulson, Jr. Following Meeting of the G7

   Finance Ministers and Central Bank Governors (Oct. 10, 2008), http://www.treasury.gov/press-center/press-
   releases/Pages/hp1194.aspx.
656 See, e.g., ALAN S. BLINDER, AFTER THE MUSIC STOPPED: THE FINANCIAL CRISIS, THE RESPONSE, AND THE

   WORK AHEAD (Penguin Press 2013).

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to express agreement or disagreement with the conclusions of that body, but rather as a
convenient compendium of certain relevant facts and observations constituting the backdrop
for the AFI-ResCap narrative in this timeframe.

    Other notable developments forming that backdrop in the period of August 2008 through
January 2009 include the following:

          •   The FRB’s announcement on October 7, 2008 of its new Commercial Paper Funding
              Facility, to provide a liquidity “backstop” to non-financial sector companies.657 It
              was reported that as much as $1.3 trillion of commercial paper would be eligible for
              financing under this facility.658 Ultimately this facility’s purchases aggregated to
              approximately $738 billion.659

          •   The acquisition by Wells Fargo of Wachovia Bank on October 12, 2008.660

          •   By the third quarter of 2008, commercial real estate market lending and
              securitizations had all but dried up.661

          •   The U.S. Treasury’s announcement in November and December 2008 that in
              addition to the TARP investments noted above, it would make additional
              investments in Citigroup and Bank of America preferred shares, and the joint
              announcement by the U.S. Treasury, the FRB, and the FDIC in November 2008 of a
              $301 billion guarantee of Citibank assets.662
657 See FRB, Press Release, Board Announces Creation of the Commercial Paper Funding Facility (CPFF)

   (Oct. 7, 2008), http://federalreserve.gov/newsevents/press/monetary/20081007c.htm.
658 See, e.g., Mark Felsenthal & Glenn Somerville, Fed Creates Facility to Buy Commercial Paper, REUTERS,

   Oct. 7, 2008, http://www.reuters.com/article/2008/10/07/us-financial-fed-paper-idUSTRE4964S420081007.
659 See FRB, Press Release, Commercial Paper Funding Facility (Dec. 13, 2012), http://www.federalreserve.gov/

   newsevents/reform_cpff.htm (follow embedded links to data). AFI sold approximately $10.5 billion dollars of
   commercial paper to the CPFF, beginning on or about October 28, 2008, and concluding on January 29, 2009.
   See id.; see also Greg Bensinger & Ari Levy, GMAC Says Fed Grants Access to Commercial-Paper Plan,
   BLOOMBERG, Oct. 28, 2008, http://www.bloomberg.com/apps/news?pid=newsarchive&sid=ahh__3XylWUE
   (quoting de Molina as having said “the company has ‘limited if any access to funding’ for its mortgage and
   auto-lending units”).
660 See FRB, Press Release, Approval of Proposal by Wells Fargo & Company to Acquire Wachovia Corporation

   (Oct. 12, 2008), http://federalreserve.gov/newsevents/press/orders/20081012a.htm.
661 See PRUDENTIAL REAL ESTATE INVESTORS, U.S. QUARTERLY MARKET PERSPECTIVE (Oct. 2008), at 2,
   http://www2.prudential.com/o&s/prei.nsf/14ef712a6b099d9d852566ef005111d0/1b5ef60e780618d1852574f1
   00679b91/$FILE/Pru_US_3Q08.pdf (“The commercial MBS market is for all intents and purposes closed.
   Only $12.1 billion of CMBS has been issued in the United States so far this year, none in the third quarter.”).
662 See  CONGRESSIONAL OVERSIGHT PANEL, MARCH OVERSIGHT REPORT: THE FINAL REPORT OF THE
   CONGRESSIONAL OVERSIGHT PANEL (Mar. 16, 2011), at notes 37, 38 and accompanying text,
   http://cybercemetery.unt.edu/archive/cop/20110401232213/http://cop.senate.gov/documents/cop-031611-
   report.pdf.

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          •   The distribution of $33.6 billion of TARP funds to 21 smaller and regional banks.663
          •   In December 2008, the National Bureau of Economic Research declared that the
              U.S. had entered recession in December 2007.664
          •   For the full year ended December 2008, there were over 3 million real property
              foreclosures in the U.S., an 81% increase over the previous year.665
          •   The announcement by the U.S. Treasury on December 19, 2008, of loans to GM and
              Chrysler in the amounts of $13.4 billion and $4 billion, respectively.666
    2. ResCap Board Membership Was Stable During This Period
     In contrast to the period addressed in Section III.G (during which ResCap Board member
Paul Bossidy resigned, Independent Directors Thomas Melzer and Thomas Jacob resigned,
Edward Smith and Karen Hirtler-Garvey were appointed separately as new Independent
Directors, and Thomas Marano and Joshua Weintraub were installed as directors), during the
period of August 2008 through January 2009 there were no changes to the membership of
ResCap’s Board, although Jim Jones’ resignation as President and CEO, and the appointment
to those roles of Marano, occurred just prior, at the end of July 2008. During August 2008
through January 2009 the ResCap Board consisted of the following members:
          •   Marano: ResCap Chairman, President, and CEO. Until April 2009, Marano
              remained a Cerberus employee. He maintained an office at Cerberus, and his salary
              was paid by Cerberus while he was on secondment to ResCap.667 Thereafter, from
              May 2009 to May 2012, he was also the Chief Capital Markets Officer and Chief
              Mortgage Officer of AFI.

663 See Greg Robb, Treasury Gives $33.6 Billion to 21 Banks, WALL ST. J. MARKET WATCH, NOV. 17, 2008,

   http://articles.marketwatch.com/2008-11-17/news/30801650_1_suntrust-banks-bb-t-corp-publicly-traded-
   banks. As of January 30, 2009, all of but approximately $70 billion of the $301 billion TARP program to date
   had been distributed to just thirteen recipients. These were: Citigroup, Bank of America, JP Morgan, Wells
   Fargo, Goldman Sachs, Merrill Lynch, Morgan Stanley, Bank of New York, State Street, GM, Chrysler,
   Chrysler Financial, and AFI. See CONGRESSIONAL OVERSIGHT PANEL, MARCH OVERSIGHT REPORT: THE
   FINAL REPORT OF THE CONGRESSIONAL OVERSIGHT PANEL (Mar. 16, 2011), at note 41 and accompanying
   text,          http://cybercemetery.unt.edu/archive/cop/20110401232213/http://cop.senate.gov/documents/cop-
   031611-report.pdf.
664 NATIONALBUREAU OF ECONOMIC RESEARCH, DETERMINATION OF THE DECEMBER 2007 PEAK IN
   ECONOMIC ACTIVITY (Dec. 11, 2008), http://www.nber.org/dec2008.pdf.
665 RealtyTrac Staff, Foreclosure Activity Increases 81 Percent In 2008, REALTYTRAC, Jan. 15, 2009,
   http://www.realtytrac.com/content/press-releases/foreclosure-activity-increases-81-percent-in-2008-4551.
666 See U.S. Treasury, Press Release, Secretary Paulson Statement on Stabilizing the Automotive Industry
   (Dec. 11, 2008), http://www.treasury.gov/press-center/press-releases/Pages/hp1332.aspx; see also Indicative
   Summary of the Terms for the Secured Loan Facility, (Dec. 19, 2008) (GM term sheet), http://
   www.treasury.gov/press-center/press-releases/Documents/gm%20final%20term%20_%20appendix.pdf;
   Indicative Summary of the Terms for the Secured Loan Facility, (Dec. 19, 2008) (Chrysler Holding LLC term
   sheet), http://www.treasury.gov/press-center/press-releases/Documents/chrysler%20final%20term%20_%20
   appendix.pdf.
667 Int. of T. Marano, Nov. 26, 2012, at 9:11–23, 194:24–195:6.



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        •     James Young: ResCap CFO.

        •     David DeBrunner: AFI Chief Accounting Officer and Controller.

        •     Karin Hirtler-Garvey: ResCap Independent Director. Hirtler-Garvey became an
              employee of Ally Bank in May of 2009, and later joined AFI.

        •     Ronald Kravit: Cerberus partner.

        •     Alvaro de Molina: AFI CEO. De Molina resigned from the ResCap Board in March
              2009.668

        •     Edward Smith, III: ResCap Independent Director.

        •     David Walker: AFI Treasurer.

        •     Joshua Weintraub: ResCap Vice Chairman, Cerberus partner.

        •     Catherine Dondzila: ResCap Chief Accounting Officer and Controller.

    3. ResCap’s Liquidity And TNW Covenants Concerns Continue

      The broad market dislocations presented growing challenges to the businesses of AFI and
ResCap in this period. In the second quarter 2008 earnings conference call on July 31, 2008,
AFI’s CFO observed that the worsening economy and its effect on the auto industry and the
mortgage industry were “the perfect storm for our business and we see no meaningful sign of
it blowing over.”669 Indeed, AFI finished the second quarter of 2008 with a consolidated loss
of $2.5 billion670—$1.9 billion of which came from ResCap (as compared to a loss of $254
million for the same quarter a year earlier).671 At the end of the third quarter of 2008, the loss
figures were flat: $2.5 billion loss for AFI672 and $1.9 billion loss for ResCap.673 While AFI
668 Although de Molina recalled that he resigned from the ResCap Board when he became CEO of AFI (in April

   2008), Int. of A. de Molina, Nov. 20, 2012, at 112:5–113:7, that recollection seems incorrect, as minutes
   reflect that he was a member of ResCap’s Board through March 23, 2009, at which meeting Anthony Renzi
   became a member of ResCap’s Board. See Minutes of a Special Meeting of the Board of Residential Capital,
   LLC, Mar. 23, 2009, at RC40006091–92 [RC40005949]. ResCap Board meeting minutes from this period
   reflect that de Molina was often not in attendance, but that was not always the case. See, e.g., Minutes of a
   Special Meeting of the Board of Residential Capital, LLC, Oct. 28, 2008, at RC40005894–96 [RC40005652]
   (recording that de Molina briefed the ResCap Board regarding “pending strategic initiatives that are being
   pursued by [AFI],” including its application under the Bank Holding Company Act, and efforts to access
   TARP).
669 Transcript of GMAC Q2 2008 Earnings Call (July 31, 2008), at 2 (available from Bloomberg Transcript).

670 See id.

671 See Residential Capital, LLC, Quarterly Report (Form 10-Q) (Aug. 8, 2008), at 4.

672 See Transcript of GMAC Q3 2008 Earnings Call (Nov. 5, 2008), at 2 (available from Bloomberg Transcript).

673 See Residential Capital, LLC, Quarterly Report (Form 10-Q) (Nov. 10, 2008), at 4.



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reported a profit of $7.5 billion for the fourth quarter of 2008 (largely arising from a debt
exchange and cash tender and the benefit of an infusion of TARP funds),674 ResCap reported a
loss of $981 million.675 For the entire 2008 year, AFI reported a profit of $1.9 billion
(compared to $2.3 billion loss in 2007),676 and ResCap finished 2008 with a loss of $5.6
billion (compared to a loss of $4.3 billion in 2007).677

    As of September 1, 2008, AFI had a Moody’s credit rating of B3 (negative outlook) and
ResCap’s was Ca (under review). On October 30, 2008, AFI was downgraded by Moody’s to
Caa1 (under review). Then, on November 20, 2008, Moody’s further downgraded AFI’s
unsecured debt to C, and downgraded ResCap to C as well.678

     For ResCap, the period of August 2008 through January 2009 was one of continuing
concerns about liquidity and the ability to satisfy TNW covenants. ResCap and its parent
company engaged in multiple “fire drills,”679 and ResCap was reliant on AFI for liquidity and
capital support, as projections repeatedly pointed to imminent TNW covenant violations.680
Marano is reported as having said in a meeting with the company’s financial and legal
advisors that ResCap was “simply not able to take advantage of market opportunities due to
lack of capital.”681 He stated, however, that ResCap was always capitalized sufficiently to
avoid covenant violations.682



674 See Transcript of GMAC Q4 2008 Earnings Call (Feb. 3, 2009), at 2 (available from Bloomberg Transcript);

   see also GMAC LLC, Annual Report (Form 10-K) (Feb. 27, 2009), at 29 (“The 2008 results were primarily
   driven by a fourth quarter private debt exchange and cash tender offers that resulted in a $11.5 billion pretax
   gain on extinguishment of debt. The majority of the gain was offset by losses experienced by ResCap and our
   Global Automotive Finance operations as adverse market conditions continued to persist, both domestically
   and internationally.”).
675 See Residential Capital, LLC, Current Report (Form 8-K) (Feb. 3, 2009), Ex. 99.1.

676 See GMAC LLC, Annual Report (Form 10-K) (Feb. 27, 2009), at 107.

677 See Residential Capital, LLC, Annual Report (Form 10-K) (Feb. 27, 2009), at 119.

678 ResCap’s credit rating would never recover to a level above Ca. Moody’s historical data for AFI and ResCap

   are available to registered users at http://www.moodys.com.
679 Int. of L. Hall, Nov. 29, 2012, at 41:21–25 (“I would have loved to say there was a lot of planning for the

   future going on, but I think a lot of it was we were trying to address fire drills all throughout 2008 and the
   capital needs.”).
680 As addressed in Section VI, the Examiner concludes that the evidence supports the proposition that ResCap

   was balance sheet insolvent as of December 31, 2007, and remained so through the Petition Date. In addition,
   the Examiner concludes that the evidence supports the proposition that ResCap was left with unreasonably
   small capital not later than August 15, 2007, and that this remained the case through the Petition Date.
681 Minutes of an Executive Session of the Board of Residential Capital, LLC, Sept. 23, 2008, at RC40006865

   [RC40006865].
682 Int.
       of T. Marano, Nov. 26, 2012, at 114:17–20 (“I always wanted more capital so we could grow the
   business. But we had enough capital according to our debt covenants, so we were okay.”).

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      As further addressed below in this Section, the ResCap Board was advised during this
period that ResCap was operating in the “zone of insolvency.”683 Both ResCap and AFI
focused explicitly and repeatedly on the questions of whether and when ResCap should file for
bankruptcy, particularly at and after the end of the third quarter. As officials from AFI
candidly acknowledged, in November 2008 the survival of both companies was in serious
question.684 And various officials from both companies recognized that ResCap became
during this period (if not sooner) dependent upon AFI685—its “lender of last resort”686—for its
own survival. However, December 2008 culminated in AFI’s successful conversion to a bank
holding company and, concomitant with that, the injection by the U.S. Government of $5
billion in capital into AFI pursuant to the EESA. AFI’s own survival made it possible for AFI
to continue to provide a degree of financial support for ResCap.

     Finally, effective January 30, 2009, AFI exercised the option to convert its ResCap
Preferred Interests to IB Finance Preferred Interests, and AFI purchased from ResCap all of its
remaining IB Finance Class M Shares. As a result, AFI (through IB Finance) became the sole
owner of Ally Bank, and embarked upon a plan to grow its deposits.687

      During this period, there were multiple inter-company assets sales, multiple instances of
inter-company debt forgiveness and other capital contributions, and the establishment of a new
inter-company financing facility. AFI’s Lara Hall explained that while “cash contributions”
could supply liquidity as well as address TNW issues, AFI recognized that “we’d never be able
to get it back out,” so “we chose to put a financing facility in place [if] . . . it was a liquidity
need, not a tangible net worth need.”688 Significant transactions during this period are
highlighted in the following discussion.




683 See Minutes of an Executive Session of the Board of Directors of Residential Capital, LLC, Sept. 23, 2008, at

   RC40006865 [RC40006865].
684 See Int. of R. Hull, Feb. 7, 2013, at 142:24–25 (“[I]n November of ‘08 . . . we didn’t know that we’d survive

   at [AFI] . . . .”).
685 See, e.g., id. at 140:18–141:12; Int. of T. Marano, Nov. 26, 2012, at 59:5–16.

686 See, e.g., Int. of J. Lombardo, Sept. 17, 2012, at 145:15–17; Int. of D. Walker, Nov. 28, 2012, at 274:6–8; Int.

   of C. Pinkston, Nov. 8, 2012, at 93:1–4; Int. of L. Gray, Mar. 7, 2013, at 52:19–24; Int. of R. Hull, Feb. 7,
   2013, at 73:20–74:19, 141:23–142:10; Int. of T. Marano, Feb. 27, 2013, at 189:5–12; see also Int. of S.
   Preston, Jr. (Goldin Associates), Feb. 15, 2013, at 41:14–22.
687 See Section V.A.1.c (examining the 2009 Bank Transactions in detail).

688 Int. of L. Hall, Nov. 29, 2012, at 110:21–111:1.



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    4. ResCap Streamlines Its Business, Experiences Liquidity And Capital Challenges, And
       Engages In Multiple Inter-Company Transactions With AFI

     Marano’s plans for restructuring ResCap, which had been in development since on or
about July 25, 2008,689 were approved by the ResCap Board on August 27, 2008.690 At that
meeting, the ResCap Board reviewed materials summarizing Marano’s intention to focus
ResCap’s business on originating and servicing conforming mortgages, while shedding much
of the company’s business lending and international operations.

      The restructuring was publicly announced on September 3, 2008.691 The salient features
of this “remediation plan”692 were: closure of all 200 GMAC Mortgage retail offices; ceasing
originations through the Homecomings Financial wholesale broker channel; and further
curtailing business lending and international business activities.693 ResCap also announced
that it was “evaluating strategic alternatives for the GMAC Home Services business and the
non-core servicing business.”694 Implementation of these decisions was said to implicate the
elimination of approximately 5,000 employee jobs—3,000 immediately, and 2,000 more by
the end of the year.695




689 See Presentation to ResCap Board, dated Aug. 21, 2008, at RC40008455 [RC40008442] (schedule for
   restructuring).
690 See Minutes of a Meeting of the Board of Residential Capital, LLC, Aug. 27, 2008, at RC40005846–47

   [RC40005652].
691 Residential Capital, LLC, Current Report (Form 8-K) (Sept. 3, 2008), Ex. 99.1 (“GMAC Financial Services

   and ResCap Announce Further Streamlining of Mortgage Operations”).
692 Int. of T. Marano, Nov. 26, 2012, at 42:3–44:18.

693 See Residential Capital, LLC, Current Report (Form 8-K) (Sept. 3, 2008), Ex. 99.1.

694 See id. At the August 27, 2008 ResCap Board meeting, approval was obtained by management to sell “AFI Home

   Services” (consisting of AFI Home Services, LLC and GHS Global Relocation U.K. Limited), real-estate
   brokerage, and relocation subsidiaries of Debtors’ Residential Finance Group, to a third party. The minutes reflect
   Marano’s advice to the ResCap Board that the business was unprofitable, and that it was more cost-effective to sell
   it than to incur shutdown costs. Houlihan Lokey assisted in finding the buyer. This deal was not consummated,
   however, until November 14, 2008, as noted below. See Minutes of a Meeting of the Board of Residential Capital,
   LLC, Aug. 27, 2008, at RC40005844–46 [RC40005652].
695 See Residential Capital, LLC, Current Report (Form 8-K) (Sept. 3, 2008), Ex. 99.1. In 2009, Debtors reported

   that the actual reduction in force pursuant to this initiative was 3,300 employees (37%), with an additional
   500 notified of terminations effective in the first quarter of 2009. A further 1,000 employees were transferred
   in connection with Debtors’ sale of AFI Home Services to a third party in November 2008. ResCap estimated
   annual cost reductions of $625 million from the workforce reduction. See Residential Capital, LLC, Annual
   Report (Form 10-K) (Feb. 27, 2009), at 55.

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     At the same time, ResCap affirmed its intention to continue originating conforming
products through its direct lending centers and Ally Bank correspondents, and to maintain its
servicing business:
                  ResCap will continue to originate loans in the U.S. and
                  internationally where there is a secondary market to sell the
                  loans. The company will originate products through its
                  correspondent and direct lending channels. ResCap’s
                  commitment to servicing loans is unchanged by the actions
                  announced today, and the company will continue to expand and
                  enhance its industry-leading servicing platform, including
                  further development of high-touch special servicing operations
                  to help preserve homeownership and support investors that own
                  distressed and special situation loan portfolios.696
Origination and servicing of mortgage loans was described to the Examiner’s Professionals as
the remaining “core” business of ResCap,697 and the conforming agency products as “the core
of the core.”698
      The ResCap Board met frequently during this period, as liquidity and TNW continued to
be topics of concern. At the September 12, 2008 meeting of ResCap’s Audit Committee, the
members (consisting of the two Independent Directors, Smith and Hirtler-Garvey, together
with DeBrunner, who was AFI’s Chief Accounting Officer) delegated to the entire ResCap
Board future discussion of ResCap’s liquidity.699 In a presentation to the ResCap Board
distributed in advance of its September 23, 2008 meeting, bankruptcy specialists from Lazard
and Skadden observed that “ResCap faces a challenging operating and liquidity situation,”
with liquidity expected to be depleted by mid-November.700
    The ultimate transfer of ResCap’s interest in Ally Bank, as mentioned, occurred at the
end of January 2009. But consideration of such a transaction (in various forms) began at the
ResCap Board level as early as September 2008, in the course of addressing ResCap’s TNW
696 See Residential Capital, LLC, Current Report (Form 8-K) (Sept. 3, 2008), Ex. 99.1. Debtors also continued on

    a limited basis to provide warehouse lending to other mortgage originators through Ally Bank. See Residential
    Capital, LLC, Annual Report (Form 10-K) (Feb. 27, 2009), at 53.
697 See, e.g., Int. of J. Young, Sept. 28, 2012, at 30:20–24 (“This is the core mortgage business, which is you

    originate loans with the intent to sell. And you sell the loans primarily in securitizations and you retain the
    servicing because your primary business is you have the servicing platform.”).
698 Id. at 120:11.

699 See Minutes of Residential Capital, LLC, Audit Committee Meeting, Sept. 12, 2008, at RC40005407,

    RC40005410 [RC40005375].
700 Draft Skadden and Lazard Project Scout Presentation, dated Sept. 2008, at RC40008640 [RC40008601]. It

    appears that this presentation was distributed to the following AFI personnel, all of whom also attended the
    September 23, 2008, ResCap Board meeting by telephone: DeBrunner (AFI Controller; also ResCap
    Director); de Molina (AFI CEO; also ResCap Director); Walker (AFI Treasurer; also ResCap Director); Hull
    (AFI CFO); Solomon (AFI General Counsel); and Ramsey (AFI Chief Risk Officer). See id. at RC40008601
    (distribution list); see also Agenda, Residential Capital, LLC, Sept. 23, 2008, at RC40006954–55
    [RC40006934] (annotated); Minutes of a Special Meeting of the Board of Residential Capital, LLC, Sept. 23,
    2008, at RC40005872 [RC40005652] (attendance list).

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covenant as of September 30, 2008.701 The notion of ResCap selling its stake in Ally Bank to
AFI was first brought to the attention of the ResCap Board by Young on September 12, 2008,
as one of a variety of “strategic alternatives / liquidity initiatives.”702 Presentation papers
advised that ResCap, AFI, and Ally Bank had “formed a cross-functional team to review the
potential sale.”703 The presentation identified “several benefits for ResCap” of such a sale,
namely:

          •   A sale would generate cash that could be redeployed into other operations.

          •   The sale would have a significant positive impact on ResCap’s minimum net worth
              covenant, as ResCap’s investment in the bank is subtracted from total ResCap net
              worth under the covenant.704

     This initial brief presentation also identified factors “[o]ffsetting these positives,”
namely, that “a sale of the bank would reduce ResCap’s long-term earnings and cash
generation power.”705 The ResCap Board minutes noted that a more complete update of any
such transaction would be provided at a future meeting.706 Although no minutes were kept, the
potential transaction was also addressed in an executive session on September 12, 2008, after
which Young wrote: “Board did decide to go for two fairness opinions on the transaction and
no valuation of the bank.”707

     At its September 19, 2008 meeting, the ResCap Board heard a presentation from Young
on “the timing of the potential sale of ResCap’s stake in [Ally] Bank.”708 At this stage, the
minutes reflect that at least three potential structures for the transaction were under

701 The September 23, 2008 Skadden and Lazard presentation        stated: “A proposed resolution to the CTNW
   covenant issue entails selling ResCap’s equity position in [Ally] Bank to [AFI]; this transaction is expected to
   defer liquidity and equity covenant issues by several months but does not resolve the Company’s long-term
   challenges.” Draft Skadden and Lazard Project Scout Presentation, dated Sept. 2008, at RC40008640
   [RC40008601].
702 Minutes of a Special Meeting of the Board of Residential Capital, LLC, Sept. 12, 2008, at RC40005865

   [RC40005652]. The AFI Board had been advised not later than August 21, 2008, that management was
   “[r]eviewing options to purchase ResCap’s remaining equity interest in [Ally] Bank.” GMAC—Phase II
   Update, dated Aug. 21, 2008, at ALLY_PEO_0003605 [ALLY_PEO_0003591]. Distribution for those
   materials included de Molina and Marano, both of whom were ResCap Board members at that time. Id. at
   ALLY_PEO_0003591.
703 ResCap Board of Directors Update, dated Sept. 12, 2008, at RC40008581 [RC40008541].

704 Id.

705 Id.

706 Minutes of a Special Meeting of the Board of Residential Capital, LLC, Sept. 12, 2008, at RC40005865

   [RC40005652].
707 E-mail from J. Young to J. Kilman (Sept. 15, 2008) [MS-RESCAP_003756].

708 Minutes of a Special Meeting of the Board of Residential Capital, LLC, Sept. 19, 2008, at RC40005870

   [RC40005652].

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consideration: (1) cash purchase by AFI of 100% of ResCap’s interest on September 30, 2008;
(2) partial purchase by AFI on September 30, 2008 in exchange for debt forgiveness; and
(3) debt forgiveness by AFI on September 30, 2008 and a future transfer of ResCap’s interest
in Ally Bank.709

     The potential acquisition by AFI of ResCap’s entire interest in IB Finance was again
addressed at the September 23, 2008 ResCap Board meeting. Advisors and lawyers at this
meeting also addressed “preliminary considerations on structuring a potential chapter 11 case,
in the event that ResCap pursues such a strategy.”710 The “hypothetical” bankruptcy was
evaluated based upon a filing date of October 17, 2008, “[i]n the event that ResCap believes
that the asset sales referenced are unlikely to be realized or to deliver the estimated
proceeds.”711

     Not later than July 2008, the ResCap Board had constituted the ResCap Independent
Directors as a “Special Committee” to which the board delegated “full authority . . . to review
and approve (or to recommend for approval . . . ) any Affiliate Transaction involving
aggregate consideration of $10 million or more.”712 Procedures for the Special Committee’s
operations713 were discussed at a ResCap Board meeting on August 21, 2008.714 The single-
page document sets out what it describes as mandatory procedures to be followed “in
considering approval of, or recommending to the full Board approval of, any proposed
transaction with [AFI], Cerberus or any of their respective affiliates.” Most saliently, these
procedures stated that:

                 The Special Committee shall not approve or recommend
                 approval of any proposed transaction unless either ResCap
                 management and/or outside advisors advise that they believe the
                 proposed transaction is on terms and conditions consistent with
                 those that parties at arms-length would agree to for fair value.715




709 See id.

710 See Minutes of a Special Meeting of the Board of Residential Capital, LLC, Sept. 23, 2008, at RC40005874

   [RC40005652]; see also Draft Skadden and Lazard Project Scout Presentation, dated Sept. 2008, at
   RC40008640 [RC40008601].
711 Draft
        Skadden and Lazard Project Scout Presentation, dated Sept. 2008, at RC40008649, RC40008652
   [RC40008601].
712 Unanimous Written Consent of the Board of Directors of Residential Capital, LLC, dated July 14, 2008, at

   RC40005807 [RC40005652].
713 See ResCap Special Committee Procedures, dated Aug. 8, 2008, at RC40008488 [RC40008442].

714 See Minutes of a Special Meeting of the Board of Residential Capital, LLC, Aug. 21, 2008, at RC40005843

   [RC40005652].
715 See ResCap Special Committee Procedures, dated Aug. 8, 2008, at RC40008488 [RC40008442].



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     Independent Director Smith had only a general recollection of this Special Committee
procedures document, although he did recall the arm’s-length guidance and said that the
Independent Directors received advice both from company and outside counsel on complying
with it.716 Independent Director Hirtler-Garvey did not specifically recall the document either,
nor did she recollect “the circumstances under which [the Independent Directors] could
approve an affiliate transaction in the absence of a fairness opinion.”717

     Consideration of the potential sale to AFI of ResCap’s interest in Ally Bank had
progressed sufficiently in September 2008 that the two Independent Directors, as the
“Independent Committee of the Board of Directors,” discussed the potential transaction on
September 22, 2008, and arranged to retain Goldin Associates as their financial advisor with
respect to the potential transaction.718 At a September 25, 2008 meeting, ResCap’s
Independent Directors reviewed a draft term sheet for the bank acquisition by [AFI], but
“concluded that [AFI’s] offer and the proposed counter offer . . . would not provide the
Company with sufficient liquidity for a significant period of time.”719 Additional discussion
and negotiations between ResCap and AFI occurred in September 2008, but at the October 16,
2008 ResCap Board meeting, it was announced that AFI was no longer considering this
transaction.720 Nevertheless, in December 2008 that transaction again moved to the forefront,
and closed in January 2009.

     As noted, prior to closing the third quarter of 2008, ResCap received advice on, and
engaged in planning for, a potential bankruptcy filing. At an executive session of the ResCap
Board on September 23, 2008, those present received advice from David Kurtz, of Lazard,
that “ResCap’s balance sheet and current liquidity situation place it within the zone of
insolvency and that the best course of action for the Directors is to act as if the company were
insolvent and consider the best interest of all its creditors.”721

      The same ResCap Board minutes also record Marano’s observation that “the most
realistic view from the materials [presented by Lazard] would mean ResCap’s unsecured
716 Int. of E. Smith, Nov. 30, 2012, at 108:15–20, 111:19–113:8.

717 Int. of K. Hirtler-Garvey, Dec. 20, 2012, at 219:14–25, 226:20–24.

718 Minutes of a Meeting of the Independent Committee of the Board of Directors of Residential Capital, LLC,

   Sept. 22, 2008, at RC40006642–43 [RC40006611].
719 Minutes of a Telephonic Meeting of the Independent Committee of the Board of Directors of Residential

   Capital, LLC, Sept. 25, 2008, at RC40006678 [RC40006611].
720 Minutes of a Special Meeting of the Board of Residential Capital, LLC, Oct. 16, 2008, at RC40005882

   [RC40005652].
721 Minutes of an Executive Session of the Board of Directors of Residential Capital, LLC, Sept. 23, 2008, at

   RC40006865 [RC40006865]. Timothy Pohl, a Skadden restructuring attorney who was present at that meeting
   and who continued to advise ResCap when he moved to Lazard, said in an interview with the Examiner’s
   Professionals that Lazard actually never concluded that ResCap was in the zone of insolvency, but rather had
   advised that it would be “prudent” for ResCap’s directors to proceed as if it were in the zone. Int. of T. Pohl,
   Feb. 26, 2013, at 29:5–30:9.

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creditors would be unlikely to receive anything if the business were liquidated at this time.”722
Kurtz is also reported to have advised “that Lazard has not made a determination as to whether
or not it is advisable for ResCap to file for bankruptcy protection,” and that the subject should
be revisited in mid-October.723

     In the final week of September 2008, both the ResCap Board and the AFI Board
continued to consider the proposed bank transaction, and more generally were occupied with
considering forms of support for ResCap that could be concluded in sufficient time to address
ResCap’s need for liquidity and its looming default of TNW covenants on September 30,
2008. ResCap and AFI also continued to receive advice on planning for a possible bankruptcy
of ResCap, and AFI was faced as well with liquidity concerns regarding its auto finance
business.

     At its meeting on September 29, 2008, the AFI Board was introduced to attorneys from
Kirkland & Ellis and Mayer Brown. The minutes reflect that these “Special Counsel” were in
attendance in order to “discuss[ ] the fiduciary duties owed by directors of a company that is
or becomes financially distressed,” including “duties owed by the directors to shareholders
and creditors when a company reaches the zone of insolvency or becomes insolvent.”724 This
advice was in regard to the financial situation then faced by AFI,725 and at this meeting it is
clear that the AFI Board was concerned with both the liquidity and the capital adequacy of
AFI. One AFI Board member recalled as follows: “[T]here was no liquidity in the capital
markets for any organization, and [AFI] didn’t have access to the [FRB] window. So, I can’t
speak to whether or not I was concerned about [AFI] being in the zone of insolvency. What I
can tell you—we were concerned about the ability to continue to make [auto] loans.”726




722 Minutes of an Executive Session of the Board of Directors of Residential Capital, LLC, Sept. 23, 2008, at

   RC40006865 [RC40006865].
723 Id. at RC40006866; see also Int. of T. Pohl, Feb. 26, 2013, at 65:5–17 (confirming that at that juncture it was

   Lazard’s view that those unsecured creditors who by virtue of the June 2008 bond exchange had become
   subordinate to holders of ResCap secured debt, would be unlikely to recover anything in bankruptcy).
724 The advice was with respect to acting “in the best interests of the Company,” which is defined in the minutes

   to mean AFI. Minutes of a Special Meeting of the Board of Directors of GMAC LLC, Sept. 29, 2008, at
   ALLY_PEO_0001281 [ALLY_PEO_0001009].
725 See id.

726 Int. of L. Tessler, Feb. 28, 2013, at 69:10–17. Neporent said there was no concern at this point regarding

   AFI’s solvency: “[T]his is just a prophylactic measurement. Good corporate governance. Reminding
   everybody about their responsibilities.” Int. of M. Neporent, Feb. 6, 2013, at 151:10–17.

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    Mark Neporent727 had the following comments regarding the economic condition of
ResCap at this point and about the approach AFI was taking to its support of ResCap as of
September 29, 2008:

                  There was always a debate at the time. “What should be done
                  with ResCap? Should we continue to fund it? Should we
                  continue to support its liquidity?” And I think, obviously, our
                  consistent answer was, “Yes. We think it’s a valuable platform.
                  We think they have adequate capital. We think that if we can
                  just get to the other side of the crisis, whenever that is, we’ll
                  have an even more valuable platform. Because by now more and
                  more of our competitors have just simply gone away.”728

     More generally, Lenard Tessler said the following regarding access to capital, liquidity
challenges, and fiduciary duties:

                  [T]hroughout this period, we were consistently evaluating how
                  to manage the business given the lack of access to the capital
                  markets and the lack of available liquidity. That was not just
                  being done at the ResCap level; that was also being done at the
                  [AFI] level. I mean, during this period of time, and probably
                  in—I believe it was in August of 2008 as an example that we
                  were having the . . . conversations about whether or not to
                  continue to provide origination and financing to GM and the
                  auto dealers. So, I mean, liquidity was a precious commodity,
                  and access to the capital markets was a precious commodity that
                  was neither available to [AFI] or ResCap at this time. So, this
                  was a consistent theme, in discharge of our fiduciary duties, on
                  how we thought about what was the right course of action for
                  every one of the business units of [AFI]. So, this was not
                  unusual to ResCap.729

     With respect to the potential purchase by AFI of ResCap’s interest in Ally Bank, the
Kirkland & Ellis lawyers are noted as having “responded to questions pertaining to the




727 Neporent was the COO and General Counsel of Cerberus and, until March 2009, a member of AFI’s Board.

   See Int. of M. Neporent, Feb. 6, 2013, at 8:7–9, 11:14–21.
728 Id. at 152:1–11. Neporent elaborated: “There was never, ever an obligation of [AFI] to provide any support to

   ResCap. Only . . . what we as [AFI] directors decided was in our best interests. And I think we had an identity
   of interest with ResCap, because ResCap was a valuable asset that we were preserving for ourselves and for
   the ResCap platform.” Id. at 152:21–153:3.
729 Int. of L. Tessler, Feb. 28, 2013, at 36:11–37:6.



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consummation of such a transaction outside of or within a ResCap Chapter 11 filing.”730
Further discussion by the AFI Board at the September 29 meeting “focused on valuation of the
non-voting interest held by ResCap; feasibility of completing the [Ally] Bank transaction in
the event of a bankruptcy filing by ResCap and implications of such a filing on [AFI].”731 At
an AFI Board meeting the next day, “[m]anagement addressed the difficulty in establishing
proper valuation of [Ally] Bank given its ownership structure.”732 It is likely that the
referenced information was provided by AFI Chief Risk Officer Sam Ramsey, but it is unclear
whether this discussion focused on the value of ResCap’s interest in IB Finance, on the
combined valuation of IB Finance Class M Shares and IB Finance Class A Shares, or on
something else.733

     With regard to ResCap’s immediate need for capital to avoid defaulting on minimum
TNW covenants as of the end of the third quarter, the AFI Board was advised (and ultimately
agreed) that “[t]he exact amount of debt forgiven, if any, would be determined as part of
ResCap’s accounting close for the quarter.”734 That is, the amount of equity injected into
ResCap by AFI was based upon the TNW shortfall that would otherwise exist when ResCap
closed its quarter.735 The AFI Board was advised by CFO Robert Hull that in the event
ResCap fell short of its TNW covenants, “management believes that it is highly likely that




730 Minutes of a Special Meeting of the Board of GMAC LLC, Sept. 29, 2008, at ALLY_PEO_0001282
   [ALLY_PEO_0001009]. In this regard, Kirkland & Ellis evidently recommended “that the Board require
   ResCap to commission independent fairness opinions to analyze a possible purchase from ResCap and its
   stakeholders’ perspective.” Id. The ResCap Independent Directors did engage advisors, specifically Goldin
   Associates, to provide a fairness opinion when the 2009 Bank Transaction ultimately occurred.
731 Id. at ALLY_PEO_0001283.

732 Minutes
          of Special Meeting of the Board of GMAC LLC, Sept. 30, 2008, at ALLY_PEO_0001287
   [ALLY_PEO_0001009].
733 See Int. of S. Ramsey, Dec. 10, 2012, at 153:16–154:11 (does not recall what the “difficulties” were); Int. of

   T. Rowe, Dec. 7, 2012, at 149:8–19, 155:1–7 (demonstrating that Ramsey was presenter, and the discussion
   reflected that: “[A]bsent a transaction that provides ResCap additional headroom . . . ResCap will file for
   bankruptcy. In that bankruptcy the bank has no value”); Int. of R. Hull, Feb. 7, 2013, at 168:4–21 (“[I]t’s hard
   to value any stock in a falling, you know, stock environment like that, let alone a bank stock, and one that was
   unique—as unique as this one.”).
734 Minutes
          of a Special Meeting of the Board of GMAC LLC, Sept. 29, 2008, at ALLY_PEO_0001283
   [ALLY_PEO_0001009].
735 Int. of R. Hull, Feb. 7, 2013, at 170:19–171:10.



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ResCap will file for Chapter 11 bankruptcy protection.”736 The AFI Board adopted resolutions
authorizing contributions of up to $400 million, which were implemented through debt
forgiveness.737 It was in its self-interest to do so, as Neporent explained:

                  [W]e had extensions of credit to ResCap as well. So there was
                  an economic component from the [AFI] perspective also. It
                  obviously wasn’t helpful for [AFI’s] debt investment or credit
                  relationship with ResCap to have them go into an uncontrolled
                  bankruptcy.738

      No agreement was reached on the 2009 Bank Transaction in time to have any bearing on
ResCap’s third quarter financials. The September 30, 2008 AFI Board minutes suggest that
“matters associated with preference and fraudulent transfers” were addressed in the context of
considering “the disposition of [Ally] Bank.”739 Neporent disputes that such concerns played a
role in consideration of this transaction.740

     As of September 30, 2008, AFI made a capital contribution to Debtors by forgiving
$101.5 million of indebtedness under the Secured MSR Facility.741 Also, on the same day, AFI
contributed ResCap notes to ResCap that AFI had obtained in the June 2008 bond exchange,
with a face value of $92.8 million and an approximate fair value of $51 million. ResCap
recorded a capital contribution in that amount, and recognized a gain of $42.2 million on
extinguishment of debt. In addition, AFI forgave $2.5 million of accrued interest on the notes,
increasing the total capital contribution to $53.5 million.742

     On September 30, 2008, as well, ResCap completed the September 2008 Model Home
Sale to an affiliate of Cerberus known as MHPool Holdings LLC, for a net purchase price of
approximately $59 million, after adjustments.743 This was one of three transactions pursuant to
736 Minutes
          of a Special Meeting of the Board of GMAC LLC, Sept. 30, 2008, at ALLY_PEO_0001286
   [ALLY_PEO_0001009].
737 Id. at ALLY_PEO_0001288–90. The AFI Board also requested       that an independent financial advisor be
   engaged immediately “to undertake a review of ResCap and the decisions that will need to be made by AFI on
   or before October 18, 2008.” Id. at ALLY_PEO_0001288. At the next AFI board meeting, Hull announced
   that Goldman Sachs had been retained “as financial advisor to [AFI].” Minutes of a Special Meeting of the
   Board of GMAC LLC, Oct. 3, 2008, at ALLY_PEO_0001291 [ALLY_PEO_0001009].
738 Int. of M. Neporent, Feb. 6, 2013, at 157:9–14.

739 Minutes of a Special Meeting of the Board of GMAC LLC, Sept. 30, 2008, at ALLY_PEO_0001287–88

   [ALLY_PEO_0001009].
740 Int. of M. Neporent, Feb. 6, 2013, at 158:1–16.

741 See Residential Capital, LLC, Current Report (Form 8-K) (Oct. 23, 2008); see also Section V.E.2 (addressing

   the Secured MSR Facility).
742 See Residential Capital, LLC, Annual Report (Form 10-K) (Feb. 27, 2009), at 89.

743 See Residential Capital, LLC, Current Report (Form 8-K) (Oct. 6, 2008). The sale was conducted as an

   auction, in which there were five bidders in addition to Cerberus. Id.


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an agreement in the second quarter of 2008 between ResCap and Cerberus entities, whereby
the latter committed to purchase assets (to be identified later) for net cash proceeds of $300
million.744

     GMAC CF continued purchases pursuant to the June 17, 2008 Servicing Advance
Factoring Agreement in the third quarter of 2008.745 During 2008, total purchases pursuant to
the Servicing Advance Factoring Agreement were $949.1 million, the total cash proceeds
were $806.7 million, and the cumulative net loss recorded by ResCap was $142.4 million.746

     ResCap’s third quarter results (preliminarily announced on November 5, 2008) showed a
net loss for the quarter of $1.9 billion (compared to $2.3 billion a year earlier), which ResCap
advised was “primarily attributable to continued adverse market conditions, which drove high
credit-related provisions and weak revenue.”747 ResCap also disclosed that “absent economic
support from [AFI], substantial doubt exists regarding ResCap’s ability to continue as a going
concern.”748

    5. ResCap Continues To Experience Liquidity And Capital Challenges, Engages In
       Additional Inter-Company Transactions With AFI, And Announces That It Is
       “Dependent” On AFI

     Having avoided TNW covenant breaches at the close of the third quarter, ResCap
immediately faced the same concerns in the fourth quarter. At the October 1, 2008 ResCap
Board meeting, Young observed that even with the contributions just received, which enabled
ResCap to comply with its TNW covenants, his forecast indicated that ResCap’s TNW would
drop below the required level in December.749




744 See Residential Capital, LLC, Annual Report (Form 10-K) (Feb. 27, 2009), at 90. The other transactions

   related to that commitment (i.e., the Excess Servicing Rights Sales and the June 2008 Model Home Sale) had
   closed on July 30, 2008. See Section V.F (describing asset sales).
745 The total of such purchases in the third and fourth quarters of 2008 was reported to be $362.7 million. See

   Residential Capital, LLC, Annual Report (Form 10-K) (Feb. 27, 2009), at 90; see also Section V.E.4
   (addressing the Servicing Advance Factoring Facility).
746 See Residential Capital, LLC, Annual Report (Form 10-K) (Feb. 27, 2009), at 90–91.

747 See Residential Capital, LLC, Current Report (Form 8-K) (Nov. 5, 2008), Ex. 99.1.

748 See id.

749 Minutes
          of a Special Meeting of the Board of Directors of Residential Capital, LLC, Oct. 1, 2008, at
   RC40005875 [RC40005652].

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     Also on October 1, 2008, the ResCap Board, in executive session,750 was advised by Pohl
(counsel from Skadden) that in light of cash projections, “ResCap would not need to make a
decision as to a bankruptcy filing prior to the end of October.”751 Pohl responded to various
questions about bankruptcy and strategy. For example, in response to a query from de Molina
(ResCap director and AFI officer) as to whether stalking horse bids from affiliates would be
acceptable, Pohl advised in the affirmative, “as the auction process that would occur in the
bankruptcy would ensure the best price and terms for ResCap.”752 He noted that “one way to
quietly arrange stalking horse bids would be to work with [AFI] and Cerberus if they were
interested in any of the assets or businesses.”753

     ResCap Board minutes also reflect AFI’s continued interest in obtaining full economic
ownership of IB Finance: “A discussion followed as to the amount of indebtedness that [AFI]
has already forgiven and the fact that it would be interested in buying ResCap’s shares of the
holding company of [Ally] Bank.”754 And, de Molina “noted that the best way to proceed may
be to have [AFI] purchase those shares inside a bankruptcy proceeding,” with Pohl advising
that “the primary concern is about the process and making sure the Directors did what was in
the best interest of its creditors.”755

     A possible bankruptcy filing continued to be an agenda item for the ResCap Board
throughout October 2008, which heard from advisors and lawyers on that topic, inter alia, in
executive session on October 1, 2008,756 and at regular or special meetings on




750 This meeting occurred prior to the end-of-quarter SEC filings. During the meeting, Marano “asked whether

   there could be discussion about possibly raising capital from third parties,” and Young “responded that
   something like that could be included if we have a reasonable belief it might materialize.” Minutes of an
   Executive Session of the Board of Residential Capital, LLC, Oct. 1, 2008, at RC40006867 [RC40006865].
751 Id.

752 Id. at RC40006868.

753 Id.

754 Id.

755 Id.

756 Id. at RC40006867.



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October 8,757 October 10,758 October 17,759 October 20,760 and October 23, 2008.761 As already
described, by October 8, 2008, TARP had been enacted.762 Kurtz is recorded at the October 8,
2008 ResCap Board meeting as having “stated that absent an infusion of third party capital or
government assistance or support, the decision of whether to file for bankruptcy and the
timing of a filing would depend on the availability of, and consideration received in, a[n]
[Ally] Bank transaction.”763

      At its October 10, 2008 meeting, the AFI Board focused on AFI’s own liquidity
concerns, with AFI President William Muir noting plans to reduce consumer auto loan
originations.764 Hull explained that Goldman Sachs would perform an AFI liquidity analysis,
including an assessment of “material, investment and credit initiatives concerning ResCap and
their impact on [AFI] liquidity.”765 Marano, ResCap’s President and CEO, presented “an
analysis of the impact of a hypothetical ResCap bankruptcy filing (and the timing of filing) on
ResCap’s cash flows.”766 Marano’s presentation assumed a sale of ResCap’s interest in Ally
Bank, with ResCap’s resultant “cash runway” extending somewhere between “December and
February/March,” depending upon whether the assumed consideration of approximately $1.2
billion included $400 million cash or $700 million cash.767 As became the norm, the meeting
was also attended by attorneys from Kirkland & Ellis and Mayer Brown.
757 Minutes
          of a Special Meeting of the Board of Residential Capital, LLC, Oct. 8, 2008, at RC40005877
   [RC40005652].
758 Minutes of a Special Meeting of the Board of Residential Capital, LLC, Oct. 10, 2008, at RC40005880

   [RC40005652].
759 Minutes of a Special Meeting of the Board of Residential Capital, LLC, Oct. 17, 2008, at RC40005884

   [RC40005652].
760 Minutes of a Special Meeting of the Board of Residential Capital, LLC, Oct. 20, 2008, at RC40005887

   [RC40005652].
761 Minutes of a Special Meeting of the Board of Residential Capital, LLC, Oct. 23, 2008, at RC40005890

   [RC40005652]. “Mr. Young noted that the Company’s expected loss for October is approximately $650
   million and as equity at September 30 was $350 million, a large capital injection will be needed in order to
   maintain compliance with tangible net worth covenants.” Id.
762 As had the FRB’s Commercial Paper Funding Facility, of which (as already mentioned) AFI availed itself

   beginning on or about October 29, 2008.
763 Minutes
          of a Special Meeting of the Board of Directors of Residential Capital, LLC, Oct. 8, 2008, at
   RC40005878 [RC40005652].
764 Minutes
          of a Special Meeting of the Board of GMAC LLC, Oct. 10, 2008, at ALLY_PEO_0001296
   [ALLY_PEO_0001009].
765 Id. at ALLY_PEO_0001297.

766 Id. at ALLY_PEO_0001297–98.

767 Id.at ALLY_PEO_0001297. The projections were developed by Lazard, and had been presented to the
   ResCap Board on October 8, 2008. See Skadden and Lazard Project Scout Presentation, dated Oct. 8, 2008, at
   RC40008687 [RC40008678]. Pohl explained that the two dates were selected in order to demonstrate the
   effect on creditors over time. See Int. of T. Pohl, Feb. 26, 2013, at 73:1–5.

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     Later that day, the ResCap Board held its own meeting, at which a wide range of liquidity
options were discussed. Marano reported on the AFI Board meeting held earlier in the day,
noting that the potential purchase by AFI of ResCap’s interest in Ally Bank had been
discussed, and that AFI was considering alternative liquidity options for ResCap as well.768

     Marano also raised the subject of whether TARP might “present an opportunity for
ResCap to access additional liquidity and/or sell assets at potentially attractive prices relative
to those which could be achieved in today’s market place.”769 He expressed the view that
ResCap should “accelerate contingency planning efforts,” while such options were under
consideration.770

     At one point in October, Marano was personally in contact with one or more U.S.
Treasury officials and had broached the subject of a $5 billion injection under TARP, unaware
that AFI was making similar overtures.771 When he became aware that AFI and Cerberus did
not view it advisable for ResCap and AFI both to pursue TARP, Marano stood down his own
efforts in favor of a coordinated approach lead by AFI772 and Cerberus.773

    Marano recalled that despite bankruptcy preparations in 2008, he did not then believe that
ResCap would ultimately seek such relief, since he believed that TARP funds would be
768 Minutes of a Special Meeting of the Board of Residential Capital, LLC, Oct. 10, 2008, at RC40005880

   [RC40005652].
769 Id. at RC40005881.

770 Marano “said that it would be prudent to accelerate contingency planning efforts with a staged approach while

   other options such as the TARP, a[n] [Ally]Bank transaction with [AFI], possible servicing sale transaction
   with Fannie Mae, and other actions to bolster the Company’s liquidity are considered.” Id. Marano had sought
   advice regarding access to TARP within days of its enactment. See E-mail from T. Marano to J. Kilman
   (Oct. 7, 2008) [MS-RESCAP_005319].
771 See, e.g., E-mail from T. Marano to N. Kashkari (Oct. 22, 2008) [CCM00012371] (“As we discussed, I

   believe it will take an equity investment of approximately $5 billion dollars [sic] to recapitalize ResCap and
   provide stability for the next 24 months. . . . [A]n investment of $3 billion would provide needed capital
   through 2009 as we work to find additional partners to preserve our platform.”). According to Marano,
   however, he intentionally inflated the $5 billion estimate by as much as $3 billion, to account for anticipated
   “horse-trading.” Int. of T. Marano, Nov. 26, 2012, at 206:3–23.
772 See Int. of T. Marano, Nov. 26, 2012, at 22:2–14 (“And so at one point [in the Fall of 2008], unbeknownst to

   me, [AFI], the parent, was asking for assistance from TARP. I was asking for assistance from TARP. . . . And
   then actually, I found out Cerberus was looking for assistance as well for the combined outfit. That was a
   very memorable moment when I found out all three of us were seeking assistance from some of the same
   people.”); id. at 24:9–15 (“[I]t was logical that the parent would be the one that would be seeking support.
   And so I made sure the parent knew everything that I was aware of that we needed and what the challenges
   were so that the parent could seek the support.”); see also Minutes of a Special Meeting of the Board of
   Residential Capital, LLC, Oct. 17, 2008, at RC40005885 [RC40005652] (“Mr. Marano mentioned that he is
   working with Cerberus and with Morrison & Foerster on a term sheet to use in communicating a request to
   the Treasury Department for participation in the TARP program.”).
773 Former U.S. Treasury Secretary John Snow was at the time Vice Chairman of Cerberus and was “our conduit

   to the Treasury.” Int. of L. Tessler, Feb. 28, 2013, at 104:6–16.

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obtained either independently or through AFI,774 and he suggested that he did not believe that
a bankruptcy filing would be in the best interest of ResCap’s creditors.775 Moreover, Marano
recalled that on several occasions, AFI officials advised against bankruptcy, and reassured him
that ResCap would get the support it needed from AFI.776 In this respect, Marano also
observed that the more aggressive ResCap was in contingency planning, the harder AFI
worked to provide capital support for ResCap.777 Pohl explained that while there could neither
be certainty of support for ResCap from AFI, nor certainty of a TARP infusion to AFI,778
Lazard never recommended that ResCap pull the trigger on a chapter 11 filing.779

     Independent Director Hirtler-Garvey said that it was her understanding that the question
of whether and when ResCap would file for bankruptcy called for “a vote of the Independent
Directors,” and that while she and Smith viewed bankruptcy as “one of many paths to be
considered,” there was never a time when they thought that ResCap would have to file for
bankruptcy.780 Hirtler-Garvey never thought that ResCap was insolvent during her tenure on
the ResCap Board.781

     On October 16, 2008, Marano told the ResCap Board that AFI was “no longer
considering a purchase of the ResCap interest in [Ally] Bank.”782 The next day, during his
“ResCap Update” to the AFI Board, Marano said that the deal was off the table “for strategic
business reasons.”783 The “tabled”784 transfer was renewed in December 2008, and it
ultimately closed in January 2009.
774 Int. of T. Marano, Nov. 26, 2012, at 163:18–20.

775 Id. at 218:1–7 (“[Q:] Did you believe in this timeframe that keeping ResCap alive and trying to save the

   company would improve value for creditors and stakeholders? [A:] I definitely believed at this point in time
   not filing was in the interest of the creditors, yes.”).
776 See id. at 158:3–8.

777 See id. at 160:14–22 (“And there were times that, by—in my opinion, by working relatively hard on
   contingency planning, we made them work harder on capital support for us.”).
778 Pohl said there was a “strong belief” that if AFI received a TARP investment it would facilitate “ongoing

   funding” for ResCap. Int. of T. Pohl, Feb. 26, 2013, at 42:8–16.
779 Id. at 54:20–23.

780 Int. of K. Hirtler-Garvey, Dec. 20, 2012, at 247:20–248:1, 256:3–6.

781 Id. at 140:24–141:2. It may or may not be significant that neither Hirtler-Garvey nor Smith were familiar

   during their interviews with the Examiner’s Professionals with the term “zone of insolvency.” See id. at
   139:20–140:2; Int. of E. Smith, Nov. 30, 2012, at 75:22–25.
782 Minutes of a Special Meeting of the Board of Residential Capital, LLC, Oct. 16, 2008, at RC40005882

   [RC40005652]. Marano said he did not recall why this was the case. See Int. of T. Marano, Feb. 27, 2013, at
   185:9–14.
783 Minutes
          of a Special Meeting of the Board of GMAC LLC, Oct. 17, 2008, at ALLY_PEO_0001301
   [ALLY_PEO_0001009].
784 Int. of R. Hull, Feb. 7, 2013, at 165:1–7. “It is a complex transaction, so I’m not surprised that on the . . . first

   or second blush we still wanted more time to digest it.” Id. at 164:4–7.

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     The October 17, 2008 ResCap Board minutes also reflect that ResCap agreed to repay a
borrowing base shortfall of $168 million under the Secured MSR Facility in exchange for
AFI’s agreement to extend until May 2009 the maturity date of that facility, which was due to
expire that day; ResCap also accepted a reduction in capacity of the Secured MSR Facility
from $1.2 billion to $900 million,785 and, as discussed in Section V.E.2, thereafter the capacity
of the Secured MSR Facility declined dollar for dollar with any debt forgiveness thereunder.

     At its October 28, 2008 meeting, the ResCap Board heard presentations regarding the
possible sale of ResCap’s Canadian mortgage banking subsidiary (ResMor) to AFI,786 as well
as regarding the possible sale of ResCap’s domestic and international broker-dealer
subsidiaries to AFI.787 Both transactions were subsequently considered by the Independent
Directors, were the subject of fairness opinions, and ultimately closed—ResMor on January 1,
2009 for $67 million, and the broker-dealers in March 2009 for $110.4 million.788

     The AFI Board met on October 31, 2008,789 and agreed to make a capital contribution to
ResCap by forgiving a further $238.9 million indebtedness under the Secured MSR Facility.790
At this meeting, the AFI Board also heard from management regarding a bond exchange
proposal intended to raise capital in contemplation of qualifying AFI as a bank holding
company, as well as regarding the purchase from ResCap of ResMor and the two broker-
dealers, intended to “allow ResCap to meet near-term cash needs and remain in compliance
with tangible net worth covenants.”791 The AFI Board “expressed support” for the asset
purchases.792




785 See Minutes of a Special Meeting of the Board of Residential Capital, LLC, Oct. 17, 2008, at RC40005885–

   86 [RC40005652]; see also Minutes of a Special Meeting of the Board of GMAC LLC, Oct. 17, 2008, at
   ALLY_PEO_0001301–02 [ALLY_PEO_0001009] (“It was noted that if [AFI] chose not to extend the
   maturity of the facility, ResCap would have been unable to pay down the facility when due.”).
786 See Minutes of a Special Meeting of the Board of Residential Capital, LLC, Oct. 28, 2008, at RC40005895

   [RC40005652]; ResMor Trust Valuation Analysis, dated Oct. 28, 2008, at RC40008766–77 [RC40008754].
787 See Minutes of a Special Meeting of the Board of Residential Capital, LLC, Oct. 28, 2008, at RC40005896

   [RC40005652]; Proposed Transfer of Ownership of Residential Funding Securities (RFS) LLC to GMAC
   LLC, dated Oct. 27, 2008, at RC40008778–86 [RC40008754].
788 These transactions are discussed in Section V.F.4.f and Section V.F.4.g of this Report, respectively.

789 Minutes of a Special Meeting of the Board of GMAC LLC, Oct. 31, 2008, at ALLY_PEO_0001310–11

   [ALLY_PEO_0001009].
790 See Residential Capital, LLC, Current Report (Form 8-K) (Nov. 20, 2008), Ex. 99.1. The Secured MSR

   Facility had matured on October 17, 2008, but was renewed to May 1, 2009. See id.; see also Residential
   Capital, LLC, Annual Report (Form 10-K) (Feb. 27, 2009), at 90.
791 Minutes
          of a Special Meeting of the Board of GMAC LLC, Oct. 31, 2008, at ALLY_PEO_0001309
   [ALLY_PEO_0001009].
792 Id. at ALLY_PEO_0001310.



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     On November 5, 2008, Hull conducted an earnings conference call for the third quarter of
2008. Hull focused his remarks on what he called “important transformative initiatives,”
including but not limited to AFI’s application for bank holding company status to improve
AFI’s capital position. Specifically, he noted AFI’s belief that as a bank holding company it
“would have a greater chance of participating in the various government liquidity
programs.”793

     It was Hull’s practice to conduct earnings calls which addressed both AFI and its
subsidiary, ResCap, and the latter did not otherwise hold such calls (although ResCap
commonly had a representative present).794 With respect to ResCap, Hull noted continued
efforts to “reduce the balance sheet . . . and lower operating expenses,” but observed that
“market conditions have overwhelmed these efforts somewhat.”795 Furthermore, he stated the
following regarding the financial relationship between ResCap and its parent and sole
member: “In addition, market conditions have made it difficult for ResCap to maintain capital
and liquidity. As a result, ResCap has become dependent on [AFI] for support.”796 Asked
about this observation, Hull confirmed that the statement reflected his view at the time and
further explained that he meant:

                   Just exactly what it says, I think they really needed the help of
                   these injections. And I think we’d have had a hard time finding
                   someone on the outside to come up with them, although that’s
                   just conjecture.797

                                                *      *         *




793 Transcript of GMAC Q3 2008 Earnings Call (Nov. 5, 2008), at 7 (available from Bloomberg Transcript).

794 Int. of R. Hull, Feb. 7, 2013, at 24:3–8.

795 Transcript of GMAC Q3 2008 Earnings Call (Nov. 5, 2008), at 4 (available from Bloomberg Transcript).

796 Id.

797 Int. of R. Hull, Feb. 7, 2013, at 141:8–12. The “conjecture” comment can be discounted. Id. at 141:13–17

   (“[Q:] [I]s that just conjecture? I mean, third quarter ‘08, did ResCap have the ability to borrow from third
   parties? [A:] I don’t believe so.”).

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                  And I can’t tell you if there wasn’t an investor or a banker in the
                  country that would or wouldn’t have stepped in, but none whom
                  I knew of at the time.798

      AFI’s CEO at the time (and a member of the ResCap Board), de Molina, acknowledged
that, in hindsight, he agreed with Hull’s observation that ResCap was “dependent” on AFI, but
said he would move that “dependent” status earlier in the time line, perhaps back to 2007.799

      On November 8, 2008, the ResCap Board heard a presentation from Corey Pinkston
addressing the proposed bond exchange and AFI’s contemplated application to become a bank
holding company, which he said would facilitate access to government financial support.800
While AFI had considered becoming a bank holding company as early as March 2008, to
obtain access to more consumer deposits and to the FRB discount window,801 the November
initiative was directed particularly at TARP eligibility.802 Pinkston (an AFI official) advised
the ResCap Board that:

                  From a ResCap perspective . . . the bond exchange transaction
                  plays a key part of a potential interim solution to provide
                  required near term support and taking on material ResCap debt
                  at discounted levels would provide [AFI] with better flexibility
                  to potentially review and consider alternatives for additional
                  support and/or liability restructuring.803

    At this stage, AFI had developed two alternative structures for the bond exchange, and in
each instance, Pinkston explained that “the transaction would result in substantial equity
generation on a combined basis as part of the required bank holding company capital raise and
a material reduction in total debt of the consolidated company.”804


798 Id. at 142:7–10.

799 See Int. of A. de Molina, Nov. 20, 2012, at 80:1–7 (“[Q:] Okay. At what point in time do you think ResCap

   became dependent on [AFI] for support? [A:] Well, ex-post, I’d say it was sometime in ‘07. Did I realize it
   then? No. I didn’t realize it until, you know, much, much later.”); see also Int. of S. Preston, Jr., Feb. 15,
   2013, at 41:14–22 (AFI was ResCap’s lender of last resort in the last quarter of 2008); id. at 70:25–71:8
   (ResCap and AFI were in “survivor mode” as of fourth quarter 2008).
800 See Minutes of a Special Meeting of the Board of Residential Capital, LLC, Nov. 8, 2008, at RC40005902–03

   [RC40005652]; Draft GMAC Bond Exchange Presentation, dated Nov. 7, 2008, at RC40008804–19
   [RC40008802].
801 See, e.g., Int. of L. Tessler, Nov. 16, 2012, at 176:25–178:9.

802 See, e.g., Int. of L. Tessler, Feb. 28, 2013, at 54:14–20 (explaining that after Lehman went bankrupt “and

   liquidity is gone for everybody . . . we then accelerate our efforts to become a bank holding company to get
   access to TARP and to get access to the [FRB] window”).
803 Minutes
          of a Special Meeting of the Board of Residential Capital, LLC, Nov. 8, 2008, at RC40005903
   [RC40005652].
804 Id. at RC40005902–03.



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      The AFI Board minutes for November 2008 demonstrate that: (1) AFI considered
achieving bank holding company approval (and, thereby, eligibility for TARP funds) as
critical to its own survival; (2) AFI management believed that such approval was unlikely
should ResCap file for bankruptcy;805 and (3) accordingly, it was necessary for AFI to
continue to support ResCap. For example, materials presented to the AFI Board in support of
its November 28, 2008 meeting include a decision tree analysis that highlighted the contrast
among multiple “potential scenarios for [AFI].”806 While to be sure, none indicated any
guarantee of AFI’s (or ResCap’s) future, lack of support by AFI for ResCap was shown as the
shortest path to AFI failure. Accordingly, management advised the AFI Board as follows:

                  Under the scenarios where BHC status is not achieved, [AFI]
                  faces almost immeasurable near-term and long-term liquidity
                  risks that threaten the company’s business model[.]

                  Although there are challenges, management believes that BHC
                  status is achievable, but has been advised that support for
                  ResCap is a prerequisite[.]

                  Despite the many permutations of the bond exchange, OEM
                  health and government support, based on the information
                  available today, Management requests ongoing support for
                  ResCap[.]807

     De Molina explained that in 2008 his view was that obtaining bank holding company
approval for AFI was its only lifeline and, concomitantly, ResCap’s only lifeline.808 Further,
he believed that ResCap’s liquidity problems could be solved by developing an expanded Ally
Bank depositor base.809 And, he said, he never seriously considered supporting a ResCap
bankruptcy filing in 2008 because he “was so petrified that that would derail the entire bank
holding company strategy.”810
805 AFI had evidently received advice to that effect from its consultants: “[AFI’s] advisors continue to believe

   that a ResCap bankruptcy would make it politically impossible for [AFI] to achieve BHC status.” ResCap
   Decisions and Support Action, AFI Board Meeting, dated Nov. 24, 2008, at EXAM10277375
   [EXAM10277369]. Among others, such advice may have been provided by Goldman Sachs. “[W]e definitely
   felt that the ResCap filing would create a lot of uncertainty for the BHC application.” Int. of R. Hutchinson,
   Mar. 27, 2013, at 34:14–16.
806 ResCap Decisions and Support Action, AFI Board Meeting, dated Nov. 24, 2008, at EXAM10277374–78

   [EXAM10277369].
807 Id. at EXAM10277378; see also Government Support Presentation, dated Nov. 11, 2008, at ALLY_0259602

   [ALLY_0259598] (noting under “Status” of “Resolve ResCap” initiative: “Necessary part of bond exchange
   in order to achieve required capital”).
808 Int. of A. de Molina, Nov. 20, 2012, at 100:14–101:5.

809 Id. at 63:12–64:11 (“So in my mind, that was the long-term solution to all the businesses, to ResCap, to [AFI],

   to everybody.”).
810 Id. at 101:25–102:2.



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     While AFI’s achievement of bank holding company status and its completion of the
acquisition of ResCap’s interest in Ally Bank were distinct and not necessarily related steps,811
records reflect similar concerns on the part of AFI regarding how a ResCap bankruptcy would
bear on completion of the latter transaction. On September 30, 2008, the AFI Board had been
presented with a management report addressing the risks to AFI of a ResCap bankruptcy
including, inter alia, “the fate of [Ally] Bank,” which stated:

                  Though the FDIC is likely to approve a transfer of the ResCap
                  interest in the Bank to [AFI], a bankruptcy filing by ResCap
                  could complicate, if not delay, this action. In addition, the
                  ResCap bankruptcy would necessitate an auction of its interests
                  in the Bank, thereby putting at risk [AFI’s] ability to acquire it.
                  It is unclear whether the FDIC would seize the bank in the event
                  of a bankruptcy. The bank is critical to [AFI’s] future liquidity.
                  This uncertainty poses a significant risk.812

      Hull stated that the fates of AFI and ResCap were intertwined at this point, because the
ability to obtain support from the U.S. Treasury turned in part on the viability of Ally Bank,
which was partially owned by ResCap:

                  I can tell you then, as the fate of both companies was really in
                  the balance now, right? So, for the first time [AFI’s] liquidity
                  was clearly—the parent was clearly in question, right, and
                  hence, the request for TARP that all came through and so forth. .
                  . . So, we had had multiple meetings with the [FRB] and the
                  FDIC, telephonic and otherwise, and I think through one
                  communiqué or another, it became clear that a filing of ResCap
                  at all in the context of this BHC [request], it would complicate
                  matters immensely, let alone whether the bank, you know, was
                  the pivotal component to that. It was one of many, and I think




811 See Int. of S. Ramsey, Dec. 10, 2012, at 142:19–22 (“I don’t recall, at the moment, that there were any strings

   involved in the [conversion] of [AFI] to a bank holding company related to the shares of the bank.”).
812 ResCap Capital Action, AFI Board Meeting, dated Sept. 30, 2008, at ALLY_0361451 [ALLY_0361444]; see

   also Int. of S. Ramsey, Dec. 10, 2012, at 129:19–22 (“De Molina and I knew that strategically long-term, you
   know, the only true solution to the liquidity of the overall company was a bank charter.”).

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                    we started to realize that, I mean, you know, we probably
                    needed not to have a BK, whether we’d been of the view to
                    prevent that anyways, now it was getting harder because we
                    didn’t have the cash to sustain them with a passage of time.
                    And, the bank looked like a more important component, I’m
                    sure. And I’m sure the regulators made that clear to us.813

     This assessment may not have been unanimous. Neporent disputes the notion that a
ResCap bankruptcy would have been fatal to the ability of AFI to obtain bank holding
company status and, therefore, to its ability to access TARP support.814 The AFI Board
minutes and presentations, however, do not reflect that Neporent or anyone else expressed this
view at the time. In his interview with the Examiner’s Professionals, Neporent acknowledged
that AFI’s bank regulatory lawyers had advised that a ResCap bankruptcy would have
complicated AFI’s ability to become a bank holding company.815

     On November 20, 2008, AFI formally submitted its application to the FRB to become a
bank holding company. Concurrently, it applied to the U.S. Treasury to participate in the
Capital Purchase Program (“CPP”) created under EESA, i.e., TARP, conditional upon
becoming a bank holding company.816 In its public statement, AFI referenced “mortgage
financing” as part of its “core mission,” though it did not specifically mention ResCap:

                    As a bank holding company, [AFI] would obtain increased
                    flexibility and stability to fulfill its core mission of providing
                    automotive and mortgage financing to consumers and
                    businesses. [AFI] also expects to have expanded opportunities
                    for funding and for access to capital as a bank holding
                    company.817
813 Int. of R. Hull, Feb. 7, 2013, at 176:22–177:20; see also Int. of A. de Molina, Nov. 20, 2012, at 100:14–21 (“I

   didn’t think that filing a major subsidiary when you had—that was in the middle of the mortgage servicing
   business during the middle of the biggest mortgage crisis in history was a way to [endear] yourself to the
   Federal Reserve Board as they considered your application as a good citizen to become a bank holding
   company.”).
814 Int. of M. Neporent, Feb. 6, 2013, at 189:11–190:3, 191:19–23 (“We had our own pipeline and our own

   counsel. . . . It was all speculation. I just didn’t accept that as QED. If ResCap filed, we were dead.”). By
   contrast, de Molina had reported to the AFI Board that “a ResCap bankruptcy filing would be severely
   detrimental, and likely fatal, to [AFI’s] bank holding company application.” Minutes of a Special Meeting of
   the Board of GMAC LLC, Oct. 31, 2008, at ALLY_PEO_0001308 [ALLY_PEO_0001009].
815 See Int. of M. Neporent, Feb. 6, 2013, at 189:21–24 (referring to the view expressed by Edward Herlihy of

   Wachtell, Lipton, Rosen & Katz); id. at 191:15–19 (“We were told that [AFI’s] bank reg counsel reached that
   conclusion. . . . based on his discussions with the regulators.”).
816 See AFI, Press Release, GMAC Files Application with Federal Reserve to Become Bank Holding Company

   (Nov. 20, 2008), http://media.ally.com/index.php?s=43&item=288.
817 See id. at 1.



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     Meanwhile, several more inter-company transactions between ResCap and AFI—asset
sales and a financing facility—were finalized, and a new bond exchange was commenced.

    On November 3, 2008, ResCap posted two cash-collateralized supersedeas bonds totaling
$127.5 million, in connection with the Mitchell Trial Order.818 Concerned about the liquidity
impact of the cash collateral, ResCap obtained support from AFI, which agreed to replace
ResCap as the surety provider on November 11, 2008 for $100 million of the $127.5 million
bonds.819

     On November 20, 2008, ResCap and AFI announced the commencement of separate
private exchange offers and cash tender offers pursuant to which AFI would purchase and/or
exchange certain outstanding notes of AFI (and non-Debtor subsidiaries), as well as certain
notes of ResCap, for cash, newly issued notes of AFI and, with regard to the repurchase of
AFI’s notes, preferred stock of an AFI Subsidiary.820

     In addition, on November 20, 2008, ResCap announced an agreement with AFI whereby
AFI would provide up to $500 million to ResCap through various transactions “intended to
improve ResCap’s liquidity and support its capital structure.”821 Such transactions would
include, but not necessarily be limited to: (1) the purchase by AFI of ResMor, the Canadian
mortgage bank indirectly wholly owned by ResCap; (2) a bridge loan in an amount equal to
the sale price for ResMor; and (3) a new senior revolving loan facility.822

     AFI entered into an agreement with a Canadian subsidiary of ResCap to purchase the
parent company of ResMor Trust, on November 20, 2008. Following consideration at several
ResCap Board meetings and a meeting of the Independent Directors,823 the transaction had
been approved by the AFI Board on November 11, 2008, and by the ResCap Board on
November 20, 2008.824 Funds in the amount of approximately $67 million were advanced
818 See ResCap Legal Matters Update, dated Dec. 11, 2009, at RC40018301 [RC40018295].

819 See Minutes of a Special Meeting of the Board of GMAC LLC, Nov. 11, 2008 at ALLY_PEO_0001316

   [ALLY_PEO_0001009]. As de Molina recalled, the $27.5 million ResCap share reflected ResCap’s
   assessment of its “maximum exposure” in the case. Int. of A. de Molina, Nov. 20, 2012, at 175:19–177:17.
   Accordingly, it was the companies’ intention that AFI would support ResCap’s liquidity by bearing the credit
   risk, while ResCap retained the litigation risk. Id. at 177:12–15. As further discussed in Section V.G.1.c of
   this Report, the Missouri Court of Appeals reversed the punitive damages award in November 23, 2010, and
   remanded for a new trial. Most of the bond collateral was thereafter ultimately released.
820 See Residential Capital, LLC, Current Report (Form 8-K) (Nov. 20, 2008), Item 8.01.

821 Id. Ex. 99.1.

822 See id.

823 See Minutes of a Telephonic Meeting of the Independent Committee of the Board of Directors of Residential

   Capital, LLC, Nov. 3, 2008, at RC40006691 [RC40006611].
824 See Minutes of a Special Meeting of the Board of GMAC LLC, Nov. 11, 2008, at ALLY_PEO_0001316

   [ALLY_PEO_0001009]; Action by Written Consent of the Board of Directors of Residential Capital, LLC,
   dated Nov. 20, 2008, at RC40005913–24 [RC40005652]; see also Residential Capital, LLC, Current Report
   (Form 8-K) (Nov. 26, 2008), Item 1.01.

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by AFI to GMAC Residential Funding of Canada on November 20, 2008, and the sale was
completed on January 1, 2009 for the same amount, i.e., payment was made by forgiveness of
the debt (as more particularly described in Section V.E.6).825 In connection with this sale,
ResCap obtained a fairness opinion from Goldin Associates.826

      Also on November 20, 2008, AFI entered into the $430 million Initial Line of Credit
Agreement with PATI and RAHI, two ResCap subsidiaries.827 The Initial Line of Credit
Facility included guarantees by RFC, GMAC Mortgage, and ResCap. The purpose of the
Initial Line of Credit Facility was to provide contingency liquidity on a daily basis. Draws
were only permitted if ResCap’s liquidity dropped below a certain level (as further described
in Section V.E.5). The Initial Line of Credit Facility was immediately drawn upon for $115
million.828

     As of December 31, 2008, the Initial Line of Credit Facility did not have any
indebtedness outstanding, and its maturity date was extended to January 31, 2009, and
thereafter further extended to March 31, 2009.829 Some records suggest that this two-month
extension of maturity was contemplated as part of the consideration for the 2009 Bank
Transaction.830 However, the Membership Interest Purchase Agreement associated with that




825 Residential Capital, LLC, Annual Report (Form 10-K) (Feb. 27, 2009), at 91.

826 See Opinion Letter from Goldin Associates to the Committee of the Independent Members of the Board of

   Directors of ResCap (Dec. 3, 2008) [RC00027945]; see also Goldin Associates Presentation to The
   Committee of Independent Members of the Board of Directors of Residential Capital, LLC Regarding The
   Purchase of ResMor Trust Company by GMAC, LLC, dated Dec. 2, 2008 [GOLDIN00127218]. Although
   Goldin Associates had earlier been retained to provide a fairness opinion in connection with ResCap’s transfer
   of its interest in IB Finance to AFI, the ResMor Sale closed first, and thus was the first such opinion Goldin
   Associates provided to ResCap’s Independent Directors. See Int. of S. Preston, Jr., Feb. 15, 2013, at 73:2–13.
   It was also the first formal fairness opinion Goldin Associates had ever rendered. See id. at 31:21–23. The
   ResMor Loan Agreement and ResMor Sale are addressed in Sections V.E.6 and V.F.4.f, respectively.
827 See Residential Capital, LLC, Current Report (Form 8-K) (Nov. 26, 2008), Item 1.01; see also Section V.E.5.

828 See Residential Capital, LLC, Current Report (Form 8-K) (Nov. 26, 2008), Item 1.01.

829 See Residential Capital, LLC, Annual Report (Form 10-K) (Feb. 27, 2009), at 89. In December 2008, the

   parties took steps to increase the limits of the Initial Line of Credit Facility. See Opinion Letter from Goldin
   Associates to the Committee of the Independent Members of the Board of Directors of ResCap (Dec. 22,
   2008) [GOLDIN00126301]. That contemplated transaction was not concluded, and in June 2009 a
   complementary facility, the Second Line of Credit Facility, was established (addressed in Section V.E.7). As
   addressed in Section V.E.8, both facilities were amended and restated in December 2009. Under the resulting
   $1.1 billion A&R Line of Credit Facility, the borrowers were RFC and GMAC Mortgage. Approximately
   $380 million remained unpaid under the A&R Line of Credit Facility as of the Petition Date. See First Day
   Affidavit, ¶ 61.
830 See, e.g., Draft GMAC Bank Transaction Term Sheet, dated Jan. 13, 2009 [GOLDIN00126222].



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transaction (dated January 30, 2009) does not show this to be the case,831 nor does the final
draft of the term sheet so indicate;832 and the fairness opinion associated with the 2009 Bank
Transaction mentions but ascribes no value to the maturity extension.833

     Finally, as described below, as of November 30, 2008 (and finalized in early December),
AFI made a capital contribution to ResCap by forgiving a further $451.5 million of
indebtedness under the Secured MSR Facility, in order to keep ResCap in compliance with its
$250 million TNW covenant.834 ResCap reported that total debt forgiveness under the Secured
MSR Facility during the third and fourth quarters of 2008 was $791.9 million.835

    By the end of November 2008, ResCap and Ally Bank had entered into a Broker
Agreement,836 whereby GMAC Mortgage (and its subsidiary, ditech, LLC) could channel
production to Ally Bank, on whose books mortgage loans would be originated:

                 Under the terms of a broker agreement (the “broker
                 agreement”), the Company acts in a broker capacity and
                 provides loan processing services to [Ally] Bank to support its
                 origination and purchase of loans as well as loan closing
                 services. The broker agreement has no mandatory expiration
                 date and can be terminated by either party on 30 days notice.
                 Under the terms of the broker agreement, loans meeting the
                 underwriting standards of [Ally] Bank are originated by [Ally]
                 Bank while loans not meeting those standards may be originated
                 by the Company and sold directly into the secondary market.
                 The Company also provides certain representations and
                 warranties and indemnifications to [Ally] Bank with respect to



831 See Residential Capital, LLC, Current Report (Form 8-K) (Feb. 3, 2009), Ex. 10.1.

832 See Draft GMAC Bank Transaction Term Sheet, dated Jan. 23, 2009 at RC40011107–08 [RC40011078]

   (describing the sixty-day extension as a “simultaneous transaction” to be executed on the closing date of the
   2009 Bank Transaction).
833 See Goldin Associates Presentation to The Committee of Independent Members of the Board of Directors of

   Residential Capital, LLC Regarding The GMAC Bank Transaction with GMAC, LLC, dated Jan. 22, 2009, at 34
   [GOLDIN00128045]. (“Goldin does not quantify any value associated with a 60 day extension of the $430
   million secured credit facility from [AFI] to ResCap subsidiaries.”). Goldin Associates also did not consider
   whether in sixty days ResCap would have had the wherewithal to repay this facility, but “assumed that these
   credit facilities as they matured would be extended.” Int. of S. Preston, Jr., Feb. 15, 2013, at 145:23–146:10.
834 SeeResidential Capital, LLC, Current Report (Form 8-K) (Dec. 2, 2008) (announcement); Residential
   Capital, LLC, Annual Report (Form 10-K) (Feb. 27, 2009), Ex. 10.14 (amount).
835 See Residential Capital, LLC, Annual Report (Form 10-K) (Feb. 27, 2009), at 90. The Secured MSR Facility

   was entirely repaid through debt forgiveness and was terminated as of December 30, 2009. See Letter from
   GMAC to ResCap, et al. (Dec. 30, 2009) [ALLY_0353025].
836 See Broker Agreement [RC00030534].



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                  brokered loans. The Company recorded broker fee income of
                  $11.0 million for these services for the three months ended
                  March 31, 2009.837

      This arrangement took advantage of Ally’s Bank’s relatively strong liquidity position and
its relatively low costs of funds (via the FHLB and consumer deposits).838 Thereafter, GMAC
Mortgage essentially ceased loan origination, instead channeling production in most instances
through Ally Bank.839 In addition, because brokered loans were originated by Ally Bank in its
own name, and therefore were not subject to the limits of the 250.250 exception for affiliate
transactions that applied to loans purchased by Ally Bank from GMAC Mortgage, the Broker
Agreement facilitated an increased volume of MSRs on Ally Bank’s balance sheet.840

     It was the intention of the parties to the Broker Agreement, however, that the economics
as between Ally Bank and GMAC Mortgage would remain under the Broker Agreement as
they were under the 250.250 sales arrangement, i.e., that GMAC Mortgage would retain the
profit and loss (P&L) impact of origination fees and expenses for loans brokered to Ally
Bank.841 The manner in which the parties attempted to accomplish this, and additional details
regarding the Broker Agreement and its relationship to the relevant derivative transactions, are
addressed in detail in Section V.B.6.

    6. AFI Becomes A Bank Holding Company; The Federal Government Supports AFI With
       First TARP Investment; And ResCap Sells Its Interest In Ally Bank To AFI

     On December 2, 2008, ResCap reported that AFI had approved additional forgiveness of
ResCap’s indebtedness under the Secured MSR Facility in an amount “equal to the amount
required for ResCap to maintain a consolidated tangible net worth of $300 million”—i.e., $50
million above its $250 million covenant under its Bilateral Facilities—as of November 30,
2008, but not to exceed $683 million.842 ResCap’s announcement also reported two caveats:
(1) if the foregoing amount was not sufficient to allow TNW compliance, AFI “does not
currently intend that any forgiveness will take place,” since “additional forgiveness
subsequent to November 30, 2008 would not remedy ResCap’s non compliance as of such
837 Residential Capital, LLC, Quarterly Report (Form 10-Q) (May 11, 2009), at 58.

838 Int. of A. Celini, Feb. 18, 2013, at 120:11–17, 220:11–15.

839 See E-mail from L. Kelly (July 23, 2009) [EXAM10115666].

840 See Int. of A. Celini, Feb. 18, 2013, at 208:13–17. At its meeting on October 21, 2008, the Bank Board had

   approved an exception to Ally Bank’s “Counterparty Credit Policy” in recognition that its affiliate-counterparty
   on the MSR and Pipeline Swaps, GMAC Mortgage, had a credit rating lower than otherwise called for by the
   credit policy. See Minutes of a Regular Meeting of the Board of Directors of GMAC Bank, Oct. 21, 2008,
   ALLY_PEO_0001593–94 [ALLY_PEO_0001488]. This action was taken in response to findings of a regulatory
   examination. Id.; see also Summary of Approval of Exception to Counterparty Credit Policy and Proposed
   Resolution of the Board of Directors, dated Oct. 21, 2008, at ALLY_PEO_0007393–95 [ALLY_PEO_0007331]
   (addressing rationale for exception).
841 See Int. of A. Celini, Feb. 18, 2013, at 225–26.

842 Residential Capital, LLC, Current Report (Form 8-K) (Dec. 2, 2008), Item 8.01.



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date”; and (2) AFI did not “currently intend to take further actions in support of ResCap if the
[AFI] offers [i.e., AFI’s repurchase of its own debt] are not completed, although it reserves the
right to do so.”843 As noted, AFI ultimately forgave $451 million under the Secured MSR
Facility effective November 30, 2008.

     By December 19, 2008, the purchase by AFI of ResCap’s interest in Ally Bank was back
on the table. AFI Board minutes reflect that in the context of addressing support for ResCap’s
liquidity and net worth potentially needed by year end, AFI’s Tazewell Rowe “reviewed
possible forms of support that [AFI] might provide to ResCap including contribution of
exchanged bonds, debt forgiveness on the mortgage servicing rights facility, and acquisition
by [AFI] of the non-voting interest ResCap holds in IB Finance Holdings, LLC, the parent
company of [Ally] Bank.”844 Neporent pointed out that the purchase of Ally Bank shares
differed from a bond exchange or debt forgiveness, because AFI would “actually get
something in return other than just an effective capital contribution.”845

     On December 19, 2008, ResCap publicly announced the contemplated 2009 Bank
Transaction.846 ResCap’s filing advised that AFI and ResCap were “in negotiations to
undertake a transaction or series of transactions pursuant to which, concurrently with or
shortly following completion of the [AFI] offers and ResCap offers [i.e., the tender and
exchange offers] . . . [AFI] would transfer ResCap old notes acquired by [AFI] in the ResCap
debt-for-debt exchange offers . . . in exchange for all or a majority of the non-voting common
equity of IB Finance Holding Company, LLC . . . held by ResCap.”847

      Of course, AFI already had the ability, as of January 1, 2009, to exercise its conversion
rights under the ResCap Preferred Interests it owned, and thereby obtain ownership of 806,344
IB Finance Preferred Interests. In this regard, ResCap requested that AFI postpone its
exercise of such rights until not earlier than February 28, 2009, a request that AFI
management supported (although ultimately the 2009 Bank Transaction closed earlier than
that date).848 This request reflected concern on the part of the ResCap Board about concluding
the transfer to its parent company of Ally Bank assets in the face of substantial uncertainty as
to whether ResCap would soon face bankruptcy:

                  The Board also engaged in discussion with respect to the
                  extension of the date on which ResCap’s preferred units could
                  be exchanged for IB Finance Class M preferred units from

843 Id.

844 Minutes
          of a Special Meeting of the Board of GMAC LLC, Dec. 19, 2008, at ALLY_PEO_0001371
   [ALLY_PEO_0001009].
845 Int. of M. Neporent, Feb. 6, 2013, at 214:5–7.

846 Residential Capital, LLC, Current Report (Form 8-K) (Dec. 19, 2008).

847 Id.

848 See Minutes of a Special Meeting of the Board of GMAC LLC, Dec. 19, 2008, at ALLY_PEO_0001371–72

   [ALLY_PEO_0001009].

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                  January 1, 2009 to February 23, 2009 in light of continued
                  deterioration and concerns regarding a potential bankruptcy
                  filing by ResCap or any of its significant subsidiaries. It was the
                  consensus of the Board that the date should be extended.849

       Neporent’s recollection is that in November and December, while a TARP infusion to
AFI was not yet a certainty, AFI’s approach in terms of supporting ResCap was “to provide as
little as possible [while] . . . not inadvertently blowing it up.”850 In other words, to preserve the
option of saving ResCap at the least cost if the effort proved futile:

                  As we were getting to the end with the application and
                  expecting to get the TARP funds, we, you know, not knowing
                  which way it was going to go, we would have been irresponsible
                  just to throw good money after bad. But we wanted to preserve
                  the option value because we, again, thought the platform was
                  very valuable. But if we weren’t going to get the money, it was
                  going to be taken away from us. There was no reason to
                  downstream the cash.851

     The FRB approved AFI’s application to become a bank holding company on
December 24, 2008.852 AFI and ResCap actors recalled that bank holding company approval
was viewed contemporaneously with a sense of optimism and relief.853 In its order, the FRB
noted that it had acted expeditiously on the application:

                  In light of the unusual and exigent circumstances affecting the
                  financial markets, and all other facts and circumstances, the
                  Board has determined that emergency conditions exist that

849 Minutes of a Special Meeting of the Board of Residential Capital, LLC, Dec. 29, 2008, at RC40005948

   [RC40005652].
850 Int. of M. Neporent, Feb. 6, 2013, at 204:16–20. Hull evinced certitude about the bank holding company

   application as early as late November. See E-mail from R. Hull to J. Young (Nov. 27, 2008)
   [EXAM10172908] (“I am still very confident a GM loan, a bondex and a BHC will come together—mostly
   [because] it is abundantly logical and unavoidable given the alternatives.”).
851 Int. of M. Neporent, Feb. 6, 2013, at 205:18–206:3.

852 See FRB, Press Release, Order Approving Formation of Bank Holding Companies and Notice to Engage in

   Certain Nonbanking Activities (Dec. 24, 2008), http://www.federalreserve.gov/newsevents/press/orders/orders
   20081224a1.pdf. More specifically, the FRB approved the application of both AFI and of IB Finance (the
   direct parent of Ally Bank) under section 3 of the Bank Holding Company Act, 12 U.S.C. § 1842. See id. at
   13; see also GMAC LLC, Current Report (Form 8-K) (Dec. 24, 2008).
853 See, e.g., Int. of T. Marano, Nov. 26, 2012, at 157:1–21 (noting regulators had never let a subsidiary of a bank

   holding company file for bankruptcy); Int. of T. Rowe, Dec. 7, 2012, at 37:15–17 (“I was one of the receivers
   of the call and I recall running out of my office to celebrate . . . .”); Int. of S. Ramsey, Dec. 10, 2012, at
   143:7–18 (“I remember where I was when I got the call.”); Int. of J. Lombardo, Sept. 17, 2012, at 107:4–6
   (“We’d gotten bank holding company status. This was a big win. This was going to put us on solid footing.”).

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                  justify expeditious action on this proposal in accordance with
                  the provisions of the BHC Act and the Board’s regulations.854

      In connection with the conversion of Ally Bank from an industrial bank to a commercial
bank, and the approval of AFI’s bank holding company status, it became necessary to revise
the ownership structure of AFI, since under the Bank Holding Company Act and the FRB
order, GM and the Cerberus investors were permitted to have no more than between 7.5% to
10% of voting and total equity interest. The FRB order outlined the elements of this
requirement, and the commitments by GM and Cerberus to comply therewith.855 The FRB
order included additional elements of a “passivity commitment” whereby, inter alia, “Cerberus
employees and consultants would cease providing services to, or otherwise functioning as dual
employees of, [AFI], and neither Cerberus nor any affiliated entity will have any advisory
relationships with [AFI] or any investor regarding the vote or sale of shares or the
management or policies of [AFI] or [Ally] Bank.”856 Cerberus agreed that it would not directly
or indirectly “[e]xercise or attempt to exercise a controlling influence over the management or
policies of [AFI] or any of its subsidiaries.”857 Cerberus employees resigned from the ResCap
Board,858 and Cerberus reduced its AFI Board membership to one director (initially, Steve
Feinberg); Cerberus was also permitted to designate Tessler as an AFI “board observer” on
behalf of Cerberus investors.859

      Shortly after the approval under the Bank Holding Company Act, the U.S. Treasury
announced its initial $5 billion TARP investment in AFI.860 AFI received this first tranche (as
it turned out) of TARP funding from the U.S. Treasury on or about December 30, 2008, in




854 FRB, Press Release, Order Approving Formation of Bank Holding Companies and Notice to Engage in
   Certain Nonbanking Activities (Dec. 24, 2008), at 2 (citations omitted), http://www.federalreserve.gov/
   newsevents/press/orders/orders20081224a1.pdf.
855 Id. at 5–7.

856 Id. at 7; see also FRB, 2009 Fed. Res. Interp. Ltr. LEXIS 19, at App. (Mar. 24, 2009).

857 FRB, 2009 Fed. Res. Interp. Ltr. LEXIS 19, at App. (Mar. 24, 2009).

858 Marano’s secondment to ResCap was terminated, and he became a direct employee of AFI, continuing to

   serve as ResCap’s CEO and Chairman of the ResCap Board. See Separation and General Release Agreement,
   dated Apr. 30, 2009 [CCM00552554].
859 See FRB, 2009 Fed. Res. Interp. Ltr. LEXIS 19, at App. (Mar. 24, 2009).

860 U.S.   Treasury, Press Release, Treasury Announces TARP Investment in GMAC (Dec. 29, 2008),
   http://www.treasury.gov/press-center/press-releases/Pages/hp1335.aspx. The Term Sheet, Securities Purchase
   Agreement, and related documents are available on the U.S. Treasury’s website at http://www.treasury.gov/
   initiatives/financial-stability/TARP-Programs/automotive-programs/Documents/GMAC%20Agreement%20
   Dated%2029%20December%202008.pdf.

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exchange for preferred membership interests and equity warrants.861 Ultimately, additional
TARP funds would be provided to AFI in May and December 2009, for a total government
investment of roughly $18 billion.862

     There was nothing explicit in either the approval of bank holding company status, or in
the documentation associated with the TARP investment, that called upon or prohibited AFI
from using TARP funds to support ResCap. Jerry Lombardo said: “[I]t wasn’t like the money
came into [AFI] and [AFI] cut a check to ResCap. ResCap didn’t get any money.”863 Rather,
he observed, AFI would “be in better financial shape to potentially provide” support to
ResCap.864 Ramsey pointed out that, inasmuch as money is fungible, no dollar can be traced
directly from TARP to ResCap.865 But, he said, “we had $5 billion in additional cash and
capital . . . [s]o clearly, that had a long term impact on ResCap in that it increased the
flexibility of the holding company to support ResCap.”866 Similarly, Independent Director
Smith expressed no view as to whether TARP enabled AFI to support ResCap,867 but observed
that AFI “got billions of dollars in TARP support and [AFI] supported us with billions.”868
And Marano believed that in seeking TARP funds, AFI took into account ResCap’s needs, and
that when the funds were received “[t]hey gave us what was needed as it was deemed
necessary.”869

861 SeeE-mail from R. Hull (Dec. 30, 2008) [EXAM10807243]; see also GMAC LLC, Current Report
   (Form 8-K) (Jan. 2, 2009), at 2–3; GMAC LLC, Annual Report (Form 10-K) (Feb. 27, 2009), Item 5.
862 The figure is inclusive of a loan of $884 million to GM on Dec. 29, 2008, for participation in AFI’s December

   2008 bond exchange. See CONGRESSIONAL OVERSIGHT PANEL, JANUARY OVERSIGHT REPORT: AN UPDATE ON
   TARP SUPPORT FOR THE DOMESTIC AUTOMOTIVE INDUSTRY (Jan. 13, 2011), at 74–76, http://
   cybercemetery.unt.edu/archive/cop/20110402010325/http://cop.senate.gov/documents/cop-011311-report.pdf.
863 Int. of J. Lombardo, Sept. 17, 2012, at 291:13–16.

864 Id.
      at 291:10–11. Lombardo also observed that it was the “[AFI] family . . . receiving money.” Id. at
   106:25–107:1.
865 Int. of S. Ramsey, Dec. 10, 2012, at 104:20–105:11 (“[T]o the extent some of that cash ‘found its way’ into

   ResCap . . . [i]t was not because you followed a line. It was because at some point in the future of [AFI], it
   determined that there was an amount of support it wanted to provide ResCap.”); id. at 110:24–111:1 (“[F]unds
   within a company of that nature are fungible.”).
866 Id. at 103:7–12.

867 Smith said that “I honestly don’t know if [AFI] would have supported us or not without that money” nor did

   he know whether it would have had the ability to do so. Int. of E. Smith, Nov. 30, 2012, at 36:22–37:2.
868 Id. at 34:23–35:14.

869 Int. of T. Marano, Nov. 26, 2012, at 205:20–206:2. A 2009 UBS and Lazard strategy presentation mentions

   “TARP capital allocated to the mortgage business.” UBS and Lazard Project Scout II Presentation, dated July
   2009, at RC40010740 [RC40010645]. In respect of this reference, Marano thought “it would be interesting to
   know if TARP funds were allocated specifically.” Int. of T. Marano, Nov. 26, 2012, at 252:8–11; see also
   CONGRESSIONAL OVERSIGHT PANEL, MARCH OVERSIGHT REPORT: THE UNIQUE TREATMENT OF GMAC
   UNDER THE TARP (Mar. 10, 2010), at 41, http://cybercemetery.unt.edu/archive/cop/20110402042135/http://
   cop.senate.gov/documents/cop-031110-report.pdf (“[AFI]‘s contributions to ResCap would not have been
   possible . . . had [AFI] not received TARP assistance.”).

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     In February 2010—by which time there had been two additional TARP investments in
AFI and a recapitalization by AFI of ResCap at the end of 2009 (addressed in Section III.I)—
both AFI CEO Michael Carpenter and CFO Hull testified before the Congressional Oversight
Panel.870 In his written submission to the Panel, Hull stated that the TARP infusions had
“allowed our subsidiary . . . ResCap . . . to continue servicing approximately three million
residential mortgage loans and assisted approximately 500,000 borrowers [to] avoid risk of
imminent default or foreclosure.”871

       The Congressional Oversight Panel expressed skepticism over reasoning offered by U.S.
Treasury officials in support of the initial and subsequent decisions to support AFI.872 Notably,
it is unclear that supporting or saving ResCap, per se, was among those reasons: “Treasury has
stated that . . . it regarded ResCap as ‘marginal, at best’ as a factor in the decision to support
[AFI].”873 In an e-mail, however, Tessler opined that “Rescap [sic] was one of the significant
reasons the [FRB] and FDIC decided to support [AFI] in becoming a BHC.”874

     Little more than a week after the initial receipt of TARP funds, AFI issued a public
statement of support for ResCap, announcing as follows in a disclosure on January 8, 2009:

                  In response to various questions that have come to [AFI’s] . . .
                  attention, [AFI] reiterated in an announcement that Residential
                  Capital, LLC (“ResCap”) is an important subsidiary of [AFI],
                  and [AFI] has made significant progress in reshaping ResCap to
                  better align it with current market conditions. [AFI] stated that it
                  believes that the support it has provided to ResCap to date was
                  in the best interests of [AFI] stakeholders. It further stated that if
                  ResCap were to need additional support, [AFI] would provide
                  that support so long as it was in the best interests of [AFI]
870 See E-mail from M. Lieber (Mar. 8, 2010) [ALLY_0227856] (including attached February 25, 2010 draft

  transcripts).
871 WRITTEN   STATEMENT OF ROBERT S. HULL, GMAC CHIEF FINANCIAL OFFICER, GMAC FINANCIAL
  SERVICES, BEFORE THE CONGRESSIONAL OVERSIGHT PANEL, Feb. 25, 2010, at 1–2, http://
  cybercemetery.unt.edu/archive/cop/20110402012141/http://cop.senate.gov/documents/testimony-022510-
  hull.pdf. In the same statement, Hull described AFI’s actions in the fourth quarter of 2009 as “minimizing
  further adverse effects on [AFI] related to ResCap.” Id. at 6.
872 See CONGRESSIONAL OVERSIGHT PANEL, MARCH OVERSIGHT REPORT: THE UNIQUE TREATMENT OF GMAC

  UNDER THE TARP (Mar. 10, 2010), at 78–79, http://cybercemetery.unt.edu/archive/cop/20110402042135/
  http://cop.senate.gov/documents/cop-031110-report.pdf; see also CONGRESSIONAL OVERSIGHT PANEL,
  JANUARY OVERSIGHT REPORT: AN UPDATE ON TARP SUPPORT FOR THE DOMESTIC AUTOMOTIVE INDUSTRY
  (Jan. 13, 2011), at 71–103, http://cybercemetery.unt.edu/archive/cop/20110402010325/http://cop.senate.gov/
  documents/cop-011311-report.pdf.
873 CONGRESSIONAL OVERSIGHT PANEL, MARCH OVERSIGHT REPORT: THE UNIQUE TREATMENT OF GMAC

  UNDER THE TARP (Mar. 10, 2010), at 79, http://cybercemetery.unt.edu/archive/cop/20110402042135/http://
  cop.senate.gov/documents/cop-031110-report.pdf.
874 E-mail from L. Tessler to M. Carpenter (Dec. 3, 2009), at CCM00065542 [CCM00065540].



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                  stakeholders. While there can be no assurances, [AFI’s] recently
                  approved status as a regulated bank holding company has
                  increased the importance of its support for ResCap.875

      Hull recalled that this announcement was made because ResCap was receiving multiple
inquiries to the effect of “what happens to me now, to ResCap,”876 and Hull also observed that
this announcement had “the benefit of being the truth.”877 He recalled, further:

                  The thing I can remember the most is that we didn’t want . . . it
                  would not be a good fact pattern for the government to grant us
                  a bank holding company [and] for us to have the very first event
                  be a bankruptcy filing of one of our active businesses. . . . So,
                  we hadn’t intended to bankrupt it all along. We certainly
                  evaluated, but our actions showed that we were committed to
                  supporting it. . . . I think that support just got stronger here.878

      The same qualified statement of support appears in AFI’s 2008 Annual Report, although
AFI also disclosed therein that since “there are currently no commitments or assurances for
future funding and/or capital support . . . there remains substantial doubt about ResCap’s
ability to continue as a going concern.”879

     Other significant end-of-the-year developments in connection with recapitalizing Debtors
and AFI were announced as well. As part of the required capital raise in connection with
obtaining bank holding company approval,880 on December 29, 2008, AFI announced that GM
and Cerberus contributed to AFI their $750 million subordinated participation in the Secured
Revolver Facility in exchange for new common equity of AFI.881 The Secured Revolver
Facility




875 Residential Capital, LLC, Current Report (Form 8-K) (Jan. 8, 2009).

876 Int. of R. Hull, Feb. 7, 2013, at 185:11–23.

877 Id. at 185:23–24; see also Minutes of a Special Meeting of the Board of Residential Capital, LLC, Dec. 29,

   2008, at RC40005947 [RC40005652] (“Mr. Marano remarked that [AFI] views ResCap as an important
   component of its bank holding company platform and that the Company offers diversification to [AFI’s]
   business model.”).
878 Int. of R. Hull, Feb. 7, 2013, at 187:6–24.

879 See GMAC LLC, Annual Report (Form 10-K) (Feb. 27, 2009), at 113.

880 See Capital Raising Actions Presentation, dated Dec. 28, 2008, at ALLY_PEO_0002703
   [ALLY_PEO_0002659] (“Contribution will be to [AFI] without any current plan to downstream the loan to
   ResCap”).
881 GMAC LLC, Current Report (Form 8-K) (Jan. 2, 2009), Item 1.01.



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commitment was reduced to $3 billion as of December 31, 2008.882 Cerberus and GM also
made an equity investment of $1.25 billion in AFI as of December 29, 2008.883

      And, on December 31, 2008, AFI announced the completion of its private exchange offer
and cash tender offer, inter alia, to purchase and/or exchange certain outstanding ResCap
notes.884 Specifically, approximately $3.7 billion in aggregate principal amount of the
outstanding ResCap notes were validly tendered and accepted. On December 31, 2008, AFI
tendered $937.4 million par value ResCap bonds to ResCap for retirement, resulting in:
(1) gain on debt extinguishment of $756.6 million; (2) common equity increase of $219.9
million; and (3) write down of bond carrying value of $976.5 million.885 The AFI private debt
exchange and cash tender offers generated pretax gains of $11.5 billion for AFI (inclusive of
the ResCap gain), representing the difference between carrying cost of the tendered notes and
fair value of the new notes.886

     On January 21, 2009, Young provided a presentation for Hull, addressing ResCap’s
financial condition as of the end of fourth quarter 2008.887 The “Executive Overview”
included the following data and observations:

                  Execution of strategic initiatives are continuing to reduce the
                  balance sheet and lower operating costs; however, significant
                  losses continue, driven by high credit-related costs associated
                  with legacy assets and low/negative net interest margins while
                  revenue opportunities are limited to sales of conforming
                  mortgage product and the performance of the servicing asset.888

                                                 *       *       *




882 Id. at 8; see also Section V.E.3 (addressing the Secured Revolver Facility).

883 See Opinion Letter from Morgan Stanley to the AFI Board (Jan. 16, 2009) [MS-RESCAP_024297]. Morgan

   Stanley had assisted AFI in efforts to obtain $2 billion of “fresh” equity from unrelated parties, without
   success. See, e.g., Morgan Stanley Presentation for AFI Board, dated Dec. 8, 2008, at MS-RESCAP_024636–
   47 [MS-RESCAP_024630].
884 GMAC LLC, Current Report (Form 8-K) (Jan. 2, 2009), at 8.

885 Residential Capital, LLC, Annual Report (Form 10-K) (Feb. 27, 2009), at 87.

886 GMAC LLC, Annual Report (Form 10-K) (Feb. 27, 2009), at 29.

887 See ResCap CFO Presentation, dated Jan. 21, 2009 [EXAM10750436] (attached to E-mail from M. Wright

   (Jan. 20, 2009) [EXAM10750435]).
888 Id. at EXAM10750437.



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                 Fourth quarter equity infusions of $1.67 billion ($690 million of
                 MSR debt; $977 [million] of bonds received in exchange offer)
                 required to maintain capital covenants resulted in a recorded
                 gain of $756.5 million in the quarter.889

     In the “Capital, Liquidity and Related Disclosure” section, Young noted that “ResCap
capital and cash needs [are] expected to continue to be significant in 2009,” and that
“Management is developing ‘self-help’ plans to address cash and capital needs for 2009.”890
The report observed, however: “it is unlikely that ResCap will be able to demonstrate
sufficiently firm ‘self-help’ actions for the next twelve months to avoid ‘substantial doubt’
disclosures without a firm commitment of financial support from [AFI].”891

     Finally, on January 30, 2009, the 2009 Bank Transaction was concluded.892 AFI
exercised its option to convert its 806,344 ResCap Preferred Interests into the same number of
IB Finance Preferred Interests. 893 In addition, AFI purchased all of ResCap’s remaining IB
Finance Class M Shares.894 According to the Membership Interest Purchase Agreement filed
by ResCap, consideration for the transaction was the contribution to ResCap of its 8.5%
Senior Secured Notes acquired by AFI in its recent bond exchange, notes having a face
amount of approximately $830.5 million and accrued interest, and fair value of approximately
$608.5 million.895 Although not reflected in the Membership Interest Purchase Agreement,896




889 Id.

890 Id. at EXAM10750440.

891 Id.; see also GMAC LLC, Annual Report (Form 10-K) (Feb. 27, 2009), at 34 (“As a result of the difficult

   market conditions and resulting impact on ResCap’s business, ResCap is likely to continue to rely on [AFI]
   for support in the near-term.”).
892 See Section V.A.2.c (examining the 2009 Bank Transaction).

893 Residential Capital, LLC, Current Report (Form 8-K) (Feb. 3, 2009), Item 1.01. As noted in Section III.G,

   AFI had obtained the convertible preferred shares in March and June 2008, in exchange for its contribution to
   Debtors of certain bonds issued by Debtors which AFI has purchased on the open market.
894 Id.; see also Action by Written Consent of the Board of Directors of Residential Capital, LLC, dated Jan. 30,

   2009, at RC40005965 [RC40005949] (reflecting consent of the ResCap Board and of its Independent
   Directors, having taken note of the fairness opinion by Goldin Associates); January 26 Goldin Letter
   [RC00027940].
895 Residential Capital, LLC, Current Report (Form 8-K) (Feb. 3, 2009), Ex. 10.1, at 8 (Membership Interest

   Purchase Agreement, § 2.2); see also Residential Capital, LLC, Annual Report (Form 10-K) (Feb. 27, 2009),
   at Note 25; ResCap Support and IB Finance Transaction Presentation, dated Jan. 30, 2009, at
   ALLY_PEO_0002114-17 [ALLY_PEO_0002000].
896 Residential Capital, LLC, Current Report (Form 8-K) (Feb. 3, 2009), Ex. 10.1.



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certain documents referred to other consideration, i.e., previous debt forgiveness897 and the
sixty-day extension of the maturity of the Initial Line of Credit Facility.898 ResCap recognized
a gain on extinguishment of $510.9 million and additional consideration of $383.4 million,899
i.e., Debtors’ TNW900 increased by approximately $894 million (the carrying value of the
extinguished debt).901

     Upon completion of the sale, ResCap no longer had any ownership interest in Ally Bank,
since it was (and is) wholly owned by IB Finance. IB Finance, including its subsidiary Ally
Bank, was therefore deconsolidated by ResCap.902 Marano recalled that in light of ResCap’s
economic circumstances, he was pleased to sell Ally Bank, and more than satisfied with the
transaction:

                     You know, when we sold the bank, that did come into my mind.
                     Was it to our advantage or not to retain our interest in the bank?
                     And then I started looking at the losses coming out of the bank
                     portfolio and I was skeptical that we could ever make enough
                     money to cover the bank losses. So when I was afforded the
                     opportunity to sell—to get economic benefit from a money
897 See Letter from R. Hull to T. Marano (Sept. 30, 2008) [ALLY_0141114]; Letter from R. Hull to T. Marano

   (Dec. 31, 2008) [ALLY_0141115]. Although not reflected in the January 30, 2009 Membership Interest
   Purchase Agreement, these documents characterize as additional consideration the debt forgiveness granted by
   AFI to ResCap as of September 30, 2008, and as of December 31, 2008. In the course of the Investigation, Hull
   was not able to clarify the matter of debt forgiveness in the context of the transfer of ResCap’s interest in IB
   Finance: “So I don’t have any clarity for you. I just do remember doing this and I remember thinking, ‘This’ll go
   toward that purchase.’ It’s part of it. Whether it was formally memorialized, I can’t say. I suspect it wasn’t.” Int.
   of R. Hull, Feb. 7, 2013, at 174:4–9. Rowe said that Hull’s letters were, if nothing more, good optics: “[I]t’s a
   construct meant to keep people happy. . . . But optically to certain members of the [AFI] board they felt this was
   valuable and it gave them more comfort in supporting the transaction.” Int. of T. Rowe, Dec. 7, 2012, at
   186:10–21; see also ResCap Support and IB Finance Transaction Presentation, dated Jan. 30, 2009, at
   ALLY_PEO_0002115 [ALLY_PEO_0002000] (“This consideration is in addition to the capital contributions
   made to ResCap on 12/31/08 and 9/30/08 which represented a fair market value of approximately $423
   million.”).
898 The contemporaneous granting by AFI of an extension (to March 31, 2009) of the Initial Line of Credit

   Agreement appears to have been contingent on completion of the 2009 Bank Transaction. See, e.g., Draft
   GMAC Bank Transaction Term Sheet, dated Jan. 23, 2009, at RC40011108 [RC40011078] (describing the
   sixty-day extension as a “simultaneous transaction” to be executed on the closing date of the 2009 Bank
   Transaction). Although not reflected in the January 30, 2009 Membership Interest Purchase Agreement as
   consideration, the extension is referenced in the declarations thereof. See Residential Capital, LLC, Current
   Report (Form 8-K) (Feb. 3, 2009), Ex. 10.1, at 1.
899 See Residential Capital, LLC, Quarterly Report (Form 10-Q) (May 11, 2009), at 56.

900 Forthis purpose, TNW was defined as ResCap’s consolidated equity, excluding any tangible assets and
   excluding any equity in Ally Bank to the extent such equity was included in ResCap’s consolidated balance
   sheet. See id. at 8.
901 See id. at 12.

902 See id.



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                  losing portfolio I was like done. You know, and then we had
                  warehouse financing provided by the bank for our warehouse
                  customers. So, to me it was a good trade.903

     The Independent Directors obtained a fairness opinion from Goldin Associates in
advance of closing the transaction,904 and it was supplemented on the day of closing.905 The
Membership Interest Purchase Agreement incorporated a sixty-day post-closing marketing
period,906 during which time ResCap had the opportunity to seek a third-party buyer on better




903 Int. of T. Marano, Nov. 26, 2012, at 111:5–21. Although the sequence of events suggests otherwise, Marano

   also said that AFI needed full ownership of Ally Bank in order to facilitate the bank holding company
   application. See Int. of T. Marano, Feb. 27, 2013, at 185:19–21. Another view, which seems plausible but
   incomplete, was that expressed by Ramsey: “an outright acquisition . . . would have been in [AFI’s] interest to
   simplify the ownership structure of the bank . . . with regard to regulators.” Int. of S. Ramsey, Dec. 10, 2012,
   at 141:7–13 (i.e., even though the “tracking shares” did not have “a great deal of economic value”).
904 See January 26 Goldin Letter [RC00027940]; see also Goldin Associates Presentation to The Committee of

   Independent Members of the Board of Directors of Residential Capital, LLC Regarding The GMAC Bank
   Transaction with GMAC, LLC, dated Jan. 22, 2009 [GOLDIN00128045].
905 See January 30 Goldin Letter [RC00027949] (noting that the market price of the 8.5% second lien notes

   constituting the “principal[ ]” consideration at closing may differ from that as of the date of the earlier opinion
   letter).
906 The minutes reflect that ResCap’s Board had directed in December 2008 that management seek other buyers.

   See Minutes of a Special Meeting of the Board of Residential Capital, LLC, Dec. 29, 2008, at RC40005948
   [RC40005652]. Marano said he had “worn out a lot of shoe leather” doing so. Int. of T. Marano, Nov. 26,
   2012, at 39:7–11. UBS was engaged in such efforts, as directed by Marano, as early as October 2008. See,
   e.g., Minutes of a Special Meeting of the Board of Residential Capital, LLC, Oct. 30, 2008, at RC40005897
   [RC40005652] (“Mr. Benett reported on preliminary discussions with certain banks and private equity firms
   regarding potential opportunities to enter into a strategic alliance or arrangement with ResCap.”). UBS viewed
   that assignment as “a fishing expedition,” and had found “[n]o interest.” Int. of H. Benett, Mar. 7, 2013, at
   38:9, 39:24–25; see also Int. of L. Hall, Nov. 29, 2012, at 240:20–22 (“Corey [Pinkston] and I were pretty big
   proponents of the after-marketing period that ResCap would have available to it.”); id. at 265:15–19 (“We
   wanted to ensure ResCap got the best value for their assets, and if we needed to pay more for the IB
   Financing, so be it. I think it was just an extra check-the-box to make sure that it was a fair transaction.”); Int.
   of D. DeBrunner, Sept. 13, 2012, at 207:17–20 (“So that . . . was to protect ResCap’s interests. So as a Board
   member those were important considerations for me to make sure that it was a fair, arm’s length
   transaction.”).

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terms; AFI had a right of first refusal should ResCap have found a willing buyer.907 UBS was
engaged to conduct the marketing effort.908

      UBS reported that it found no interest in purchasing the IB Finance Class M Shares
among the banks, private equity firms and other private investors, insurance companies, and
special purpose acquisition companies with which it engaged.909 Marano was not surprised at
this result; he described it as an effort to sell “a 51% interest with non-voting shares in a loan
portfolio that . . . was several billion dollars of loans and it was hemorrhaging hundreds of
millions of dollars a year.”910 Ramsey’s view was similar: “I can tell you what my opinion of
what their success was going to be. And it was next to nil because there was not going to be
any market associated value with those shares.”911 Both Marano and Ramsey




907 Residential Capital, LLC, Current Report (Form 8-K) (Feb. 3, 2009), at 1.

908 See Minutes of a Special Meeting of the Board of Residential Capital, LLC, Jan. 23, 2009, at RC40005963–64

   [RC40005949]; Draft GMAC Bank Transaction Term Sheet, dated Jan. 23, 2009, RC40011107–08
   [RC40011078] (the term sheet states it is a draft, but the context of the January 23, 2009 meeting reflects the
   terms as final); see also UBS Presentation on GMAC Bank Tracking Stock Overview, dated Jan. 2009, at
   RC40011109–14 [RC40011078]. As noted, UBS had evidently been engaged in such marketing already, but it
   apparently viewed this assignment as a renewed effort. See, e.g., Memorandum, UBS Call re GMAC Bank,
   dated Jan. 7, 2009 [GOLDIN00090358] (Goldin Associates to file: VanDerKnapp of UBS “was just getting
   started and had been on the job for less than 24 hours”). According to Benett of UBS, the presentation
   materials reflect only “discussion points” for its marketing efforts. Int. of H. Benett, Mar. 7, 2013, at 86:25–
   87:4. Documents suggest that UBS proposed to solicit investments in AFI as part of the same process, but
   Hull told Marano to decline the suggestion. See E-mail from R. Hull (Jan. 20, 2009) [CCM00503395].
909 See Minutes of a Special Meeting of the Board of Residential Capital, LLC, Mar. 23, 2009, at RC40006091–

   92 [RC40005949]; see also Letter from H. Benett to T. Marano [CCM00257945] (“[T]hese prospective
   investor[s] have been unwilling to pursue a transaction further.”). The letter is undated but what appears to be
   an earlier draft is dated April 2, 2009. See E-mails between J. Nance and H. Benett (Apr. 2, 2009) [UBS-
   RESCAP-0052371]. The UBS letter is directed to Marano’s attention but is addressed to “GMAC.” Benett
   could not say why. Int. of H. Benett, Mar. 7, 2013, at 94:20–23. In any event, Benett said that such “go shop”
   efforts are rarely successful, because “interest typically goes way down after a deal’s already been struck.” Id.
   at 90:3–4.
910 Int. of T. Marano, Nov. 26, 2012, at 38:11–15. Marano said that the “general consensus was, ‘You’d have to

   pay us to take this thing because it has no voting rights and it keeps losing money.’” Id. at 38:17–20.
911 Int. of S. Ramsey, Dec. 10, 2012, at 145:20–23. Ramsey believed that the non-voting nature of ResCap’s

   interest in IB Finance was no more than “a footnote” to the valuation of ResCap’s interest. Id. at 156:2–7.
   Hull, AFI’s CFO, said: “I’m sure the voting status . . . informs value at some level. It can’t not.” Int. of R.
   Hull, Feb. 7, 2013, at 169:6–8. UBS (which was engaged in marketing, not valuation) had highlighted this
   factor in the discussion materials it presented to the ResCap Board on January 23, 2009. See UBS
   Presentation on GMAC Bank Tracking Stock Overview, dated Jan. 2009, at RC40011109–14 [RC40011078].
   Benett said that “we would have given them advice that non-voting stock is going to be harder to sell.” Int. of
   H. Benett, Mar. 7, 2013, at 78:21–24. Although the discussion points prepared by UBS for the ResCap Board
   intimate that “add[ing] voting rights” or “restructur[ing] the profit rights” would enhance marketability of the
   interests, Benett had no specific recollection of such considerations in the context of UBS marketing efforts or
   in discussions with ResCap’s Board in general or with its Independent Directors. Id. at 86:15–88:14.

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(among others) were on the distribution list for an October 31, 2008 presentation by Goldman
Sachs which had opined: “Despite limited rights and other issues, third party interest in
Class M Common Units still possible.”912

     In this regard, Seymour Preston, one of the professionals from Goldin Associates who
provided the fairness opinion, said that Goldin Associates did not give any thought at the time
to what a third party might have paid for ResCap’s interest in the Ally Bank holding
company,913 but surmised that it would have been “well below” the consideration obtained
from AFI, in part because the shares were “non-voting, had no controlling capabilities, and
were highly illiquid.”914

      Notwithstanding that limited recollection, it is evident that in evaluating the fairness of
the transaction, Goldin Associates took into account the fact that the IB Finance Class M
Shares owned by ResCap conferred only limited rights. Goldin Associates’ presentation noted
that “[t]he potential fair value of the Class M Common Interests is in large measure a function
of the rights conferred upon holders of those interests,”915 and went on to observe: “In fact, the
rights associated with the Class M Common Interests are significantly limited; such
limitations pose significant risks to any third party buyer of the Class M Common
Interests.”916

     Accordingly, Goldin Associates reported that it applied less weight to certain comparable
transactions considered in connection with the valuation process associated with preparation
of the fairness opinion:

                   Goldin determined to underweight the Comparable Company
                   analysis . . . . Shareholders of the public companies have greater
                   protections, including the right to vote . . . . Goldin determined
                   to underweight the Precedent Transactions analysis because the
                   transactions analyzed include control / strategic premiums that
                   are not relevant to the limited rights of the Class M Interests.917
912 Goldman  Sachs Discussion Materials on AFI, Oct. 31, 2008, at ALLY_0259085 [ALLY_0259003]. The
   thought process of Goldman Sachs at the time was that a potential buyer may have thought market
   expectations of losses were overstated. See Int. of R. Hutchinson, Mar. 27, 2013, at 35:19–36:7.
913 Int. of S. Preston, Jr., Feb. 15, 2013, at 113:19–25.

914 Id. at 113:3–8; see also Goldin Associates Presentation to The Committee of Independent Members of the Board

   of Directors of Residential Capital, LLC Regarding The GMAC Bank Transaction with GMAC, LLC, dated
   Jan. 22, 2009, at 9 [GOLDIN00128045] (“tracking interests . . . are not readily marketable”); Int. of S. Preston,
   Jr., Feb. 15, 2013, at 135:9–13 (stating that one reason the shares were not readily marketable is that they were
   non-voting).
915 Goldin Associates Presentation to The Committee of Independent Members of the Board of Directors of

   Residential Capital, LLC Regarding The GMAC Bank Transaction with GMAC, LLC, dated Jan. 22, 2009, at
   35 [GOLDIN00128045].
916 Id.

917 Id. at 36; see also E-mail from S. Preston, Jr. (Dec. 30, 2008) [GOLDIN00126262] (stating “Discounts for

   lack of control range from 20% to 65%, or even higher”).

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     On November 14, 2008, prior to approval of bank holding company status and the
subsequent sale of ResCap’s interest in Ally Bank, the AFI Board had adopted a resolution
delegating to the Bank Board the authority to change the name of the bank (then known as
GMAC Bank) should the Bank Board determine it was necessary to do so “to preserve or
enhance the reputation of GMAC Bank and better enable GMAC Bank to maintain liquidity
and continue operations.”918 On November 19, 2008, the Bank Board delegated to the bank’s
President the authority to change the name of the bank.919 Following completion of the
consolidation of AFI’s bank ownership, the Bank Board ratified a change of the name of the
corporation to “Ally Bank.”920 The moniker “Ally Bank” was rolled out to the public on
May 15, 2009, with the assertion that the rebranded institution would “take banking in a new
direction.”921
     As 2008 drew to a close, ResCap “was still very dependent on its parent for capital
support and liquidity support.”922 ResCap’s Preliminary Fourth Quarter and Full-Year
Financial Results, released on February 3, 2009, announced a fourth quarter net loss of
$981 million (approximately $60 million more than the same period in 2008) and a net loss for
the year of $5.6 billion—exceeding its 2007 loss by $1.3 billion.923 The report noted AFI’s
fourth quarter $1.67 billion “contribution” to ResCap, including $690 million of debt
forgiveness under the Secured MSR Facility, and $976 million of ResCap bonds. It advised
that “[a]s a result of these actions, ResCap remained in compliance with its tangible net worth
covenants at Dec. 31, 2008.”924
     With respect to future support, and echoing AFI’s January 8, 2009 statement of support
for ResCap, ResCap’s February 3, 2009 filing advised:
                  As previously disclosed, if ResCap were to need additional
                  support, [AFI] would provide that support so long as it was in
                  the best interest of [AFI] stakeholders. While there can be no
                  assurances, [AFI’s] recently approved status as a regulated bank
                  holding company has increased the importance of its support for
                  ResCap.925
918 Minutes
          of a Special Meeting of the Board of GMAC LLC, Nov. 14, 2008, at ALLY_PEO_0001326
   [ALLY_PEO_0001009].
919 See Minutes of a Regular Meeting of the Board of GMAC Bank, Nov. 19, 2008, at ALLY_PEO_0001635–36

   [ALLY_PEO_0001488].
920 See Minutes of a Regular Meeting of the Board of GMAC Bank, Apr. 21, 2009, at ALLY_PEO_0018213–14

   [ALLY_PEO_0018165]; see also Rebranding GMAC Bank Presentation, dated Jan. 30, 2009, at
   ALLY_PEO_0002060–90 [ALLY_PEO_0002000].
921 See AFI, Press Release, Ally Bank Challenges Banking Industry with “Straight Talk” for Customers (May 15,

   2009), http://media.ally.com/index.php?s=43&item=328.
922 Int. of C. Dondzila, Sept. 27, 2012, at 149:9–12.

923 See Residential Capital, LLC, Current Report (Form 8-K) (Feb. 3, 2009), Ex. 99.1.

924 Id.

925 Id.



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     On February 3, 2009, Hull (together with Young, Muir, and others) conducted the fourth
quarter 2008 earnings conference call to “go over [AFI] and ResCap’s fourth quarter 2008
results.”926 In his remarks, Hull described as “critical,” the federal bank holding company
approval and $5 billion TARP investment received at the end of December 2008.927

      In his opening narrative, Hull said that the funds permitted AFI to immediately
“expand[ ] our consumer auto lending,” and that while the TARP investment was as yet “not
fully used or applied,” the funds had to date been put “toward consumer auto lending and
toward cash required in our bond exchange.”928 Asked by one participant in the conference
call to address “what actions [you are] taking with the BHC status to improve [ResCap’s]
profitability,” Hull stated that “there are open discussions going on and we think we have as
good a position as anybody to help that business out,” but he declined to give a more specific
response.929




926 Transcript of GMAC Q4 2008 Earnings Call (Feb. 3, 2009), at 1 (available from Bloomberg Transcript). Hull

   specifically indicated in his statement that he would be addressing ResCap’s results as well. It was not the
   practice of ResCap’s management to hold a separate investor call. See Int. of R. Hull, Feb. 7, 2013, at 24:3–8.
927 Transcript of GMAC Q4 2008 Earnings Call (Feb. 3, 2009), at 2 (available from Bloomberg Transcript).

928 Id.

929 Id. at 9.



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I. THE POST-TARP PERIOD (2009–2010)

     1. ResCap’s Financial Picture In 2009

     In January 2009, ResCap was coming out of a year in which it had suffered a net loss of
$5.6 billion, as compared to a $4.3 billion net loss in 2007, and a fourth quarter in which it had
suffered a net loss of $981 million, as compared to the fourth quarter of 2007 when its net loss
had been $921 million.930

      ResCap blamed its revenue decline in 2008 on the domestic and European housing
markets, funding costs, and adverse mortgage conditions in general, all of which continued to
have an effect on ResCap’s performance in 2009.931 In addition, lower mortgage production
during the fourth quarter of 2008—because of tight underwriting as well as “the closing of
certain retail and wholesale lending channels, and lower net servicing fees”932—affected
ResCap’s domestic residential finance business. ResCap’s declining asset values and its
increasing losses and liabilities in the fourth quarter of 2008 led AFI to contribute $1.67
billion of equity to ResCap.933 That figure included $690 million of debt forgiveness and $976
million (face value and accrued interest) of ResCap bonds that AFI contributed to ResCap in
fourth quarter 2008, and which ResCap thereafter retired.934 As a result of AFI’s contributions,
ResCap was in compliance with its consolidated TNW covenants as of December 31, 2008.

     As 2009 dawned, experts made different negative economic forecasts for the coming
year. The International Monetary Fund, for example, projected world economic growth in
2009 to be the slowest growth rate since World War II.935 Other experts projected “by far the
worst year for the global economy since the Great Depression.”936

    Across the economic landscape, pressures mounted in 2009, and efforts to stimulate the
economy escalated. On February 17, 2009, President Obama signed a $787 billion stimulus
930 See Residential Capital, LLC, Current Report (Form 8-K) (Feb. 3, 2009), Ex. 99.1 (providing preliminary

   financial results for fourth quarter 2008 and full year 2008).
931 See id.


932 Id.


933 See id.


934 See id.


935 IMF, WORLD ECONOMIC OUTLOOK UPDATE (Jan. 28, 2009), http://www.imf.org/exter nal/pubs/ft/weo/
   2009/update/01/index.htm.
936 SIMON JOHNSON, TESTIMONY TO THE SENATE BUDGET COMMITTEE HEARING ON THE GLOBAL ECONOMY:

   OUTLOOK, RISKS, AND THE IMPLICATIONS FOR POLICY, PETERSON INSTITUTE FOR INTERNATIONAL
   ECONOMICS, Jan. 29, 2009, http://www.iie.com/publications/testimony/print.cfm?ResearchId=1111&doc=pub
   (predicting “a severe slump” of the global economy “with declining output in the near term and no clear
   turnaround in sight”).

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package.937 On March 18, 2009, the FRB announced a decision to buy $1.2 trillion of
government bonds and mortgage-related securities, including $200 billion of Fannie Mae and
Freddie Mac debt.938 The FRB’s earlier, similar effort to stimulate the economy pushed 30-
year fixed-rate mortgages down by one percentage point, and economic analysts anticipated
that the FRB’s additional investment would push interest rates down another one-half of one
percent.939

     On April 30, 2009, Chrysler filed for chapter 11 bankruptcy protection.940 On June 1,
2009, GM also sought chapter 11 protection with $172 billion in debt and $82 billion in
assets.941

              a. Rising Unemployment And Increasing Mortgage Delinquencies And
                 Foreclosures Continued To Pressure The Mortgage And Capital Markets In
                 2009

     By the end of the first quarter of 2009, the prognosticators were proven right about just how
bad the economy had become. The U.S. saw the fifth consecutive month of job losses totaling
600,000 or more. Unemployment, which had been at a discouraging 7.6% in January 2009,
climbed to 8.5% in March 2009.942 By October 2009, unemployment peaked at 10.2%, the highest
unemployment rate since 1983, and an increase from 5.3% in December 2007.943 Rising
unemployment affected other parts of the economy, particularly the housing market.

     In the U.S., high unemployment led to record numbers of homeowners being pushed into
delinquency or foreclosure during the first quarter of 2009. The Mortgage Bankers


937 See   Laura Meckler, Obama Signs Stimulus Into                Law,    WALL     ST.    J.,   Feb.   18,   2009,
   http://online.wsj.com/article/SB123487951033799545.html.
938 See   Neil Irwin, Fed To Pump $1.2 Trillion Into Markets, WASH. POST, Mar. 19, 2009,
   http://www.washingtonpost.com/wp-dyn/content/article/2009/03/18/AR2009031802283.html.
939 See id.

940 Jim Ruttenberg & Bill Vlasic, Chrysler Files to Seek Bankruptcy Protection, N.Y. TIMES, Apr. 30, 2009, http:/

   /www.nytimes.com/2009/05/01/business/01auto.html?pagewanted=all.
941 Neil  King & Sharon Terlep, GM Collapses Into Government’s Arms, WALL ST. J., June 2, 2009,
   http://online.wsj.com/article/SB124385428627671889.html.
942 CNN MONEY, Job Loss: Worst in 34 Years, Feb. 6, 2009, http://money.cnn.com/2009/02/06/news/economy/

   jobs_january/(comparing January job losses and unemployment statistics with other post-World War II
   periods); see also Donald L. Kohn, Vice-Chairman, FRB, The Economic Outlook (Apr. 20, 2009),
   http://www.federalreserve.gov/newsevents/speech/ kohn20090420a.htm (noting that the labor market and
   production data continued to deteriorate in first quarter 2009, but finding a little light in the darkness with
   respect to the housing market where “declines in sales and construction of single-family homes” seemed to
   have abated in the preceding two months “in part, perhaps, because of the low levels of mortgage interest rates
   and the greater affordability of housing”).
943 U.S. DEP’T OF LABOR, BUREAU OF LABOR AND STATISTICS, UNEMPLOYMENT IN OCTOBER 2009 (Nov. 10,

   2009), http://www.bls.gov/opub/ted/2009/ted_ 20091110.htm.

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Association estimated that 12.7% of mortgage loans were delinquent, an increase from 8% for
the same quarter in 2008.944 Foreclosures also increased year-to-year. For the full year ended
December 2009, RealtyTrac reported 3,957,643 foreclosure filings, up 21% from 2008,945
while the U.S. Census Bureau reported that subprime mortgage delinquencies during the same
period increased from 19.9% to 25.5% and prime loan delinquencies increased from 4.3% to
5.4%.946

     Consumer Confidence Index, after bottoming out at 26.9 during the first quarter of 2009,
climbed to 53.6 by year-end.947 In addition, the S&P/Case-Shiller home price appreciation
index, which had declined more than 50 points from its 2006 peak, leveled off and stabilized
during the second half of 2009.948 The rate of new housing starts in 2009, at a seasonally
adjusted annualized rate of 456,000,949 was less than half of the 1.2 million housing starts in
2006. This had the combined effect of limiting both the number of homes on the market and
the number of months any individual house was available for sale.950 Mortgage lenders,


944 See  Renae Merle, Mortgage Delinquency Reaches Record High, WASH. POST, May 29, 2009, http://
   articles.washingtonpost.com/2009-05-29/business/36897739_1_foreclosure-crisis-foreclosure-prevention-
   foreclosure-rates.
945 Daren  Blomquist, A Record 2.8 Million Properties Receive Foreclosure Notices in 2009, undated,
   http://www.realtytrac.com/landing/2009-year-end-foreclosure-report.html (noting that “2.21 percent of all
   U.S. housing units (one in 45) received at least one foreclosure filing during the year, up from 1.84 percent in
   2008, 1.03 percent in 2007, and 0.58 percent in 2006”).
946 U.S. CENSUS BUREAU, STATISTICAL ABSTRACT OF THE UNITED STATES: 2012, TABLE 1194, MORTGAGE

   ORIGINATIONS AND DELINQUENCY AND FORECLOSURE RATES: 1990 TO 2010, BANKING, FINANCE, AND
   INSURANCE 743, http://www.census.gov/compendia/statab/2012/tables/12s1194.pdf. The abstract is based on
   the National Delinquency Survey, which covers 45 million loans on one-to-four-unit properties, representing
   80 to 85% of all ‘first-lien’ residential mortgage loans outstanding. The loans surveyed were reported by
   approximately 120 lenders, including mortgage bankers, commercial banks, and thrifts.
947 See  THE CONSUMER CONFIDENCE INDEX, JAN. 2009 TO DEC. 2009. Id. THE CONFERENCE BOARD,
   http://www.conference-board.org. Consumer Confidence in the United States is reported by The Conference
   Board. Historically, from 1967 until 2013, U.S. Consumer Confidence averaged 92.86 reaching an all-time
   high of 144.70 in January 2000 and a record low of 25.30 in February 2009. The Consumer Confidence Index
   is a barometer of the health of the U.S. economy from the perspective of the consumer. The Index is based on
   approximately 3,000 completed questionnaires reflecting consumers’ perceptions of current business and
   employment conditions, as well as their expectations for the next six months regarding business conditions,
   employment, and income. The Consumer Confidence Index and its related series are among the earliest sets of
   economic indicators available each month and are closely watched as leading indicators for the U.S. economy.
   See id.
948 S&P/CASE-SHILLER HOME PRICE INDICES 2009, A YEAR IN REVIEW, at Chart 3, http://www.cm egroup.com/

   trading/real-estate/files/SP-CSI-2009-Year-in-Review.pdf. The S&P/Case-Shiller index declined slightly
   during 2010 and 2011 before returning to 2009 levels in 2012. Id.; see also Section III.F.1.a (reviewing charts
   relevant to home price indices for the ten-year period ending 2012).
949 S&P DOW JONES INDICES: RESIDENTIAL REAL ESTATE INDICATORS—JANUARY 2010, http://us.spindices.com/

   indices/real-estate/sp-case-shiller-us-national-home-price-index.
950 Id.



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however, began to face new troubles in 2009 as the monoline insurers and government
agencies suffered significant losses caused by the growing number of delinquencies and
foreclosures and began to seek recourse against the lenders.951

                 (1) Rising Mortgage Delinquencies Negatively Affected ResCap’s MSR Assets
                     And Servicing Platform, Making ResCap Increasingly Dependent On AFI

      In early 2009, ResCap’s liquidity portfolio—“cash readily available to cover operating
demands from across [their] business operations and maturing obligations”—totaled only
$0.5 billion.952 ResCap was continuing to implement the restructuring plan that it had adopted
in September 2008. That plan called for the reduction of ResCap’s workforce by 60%
(equaling approximately 5,000 employees) to achieve “estimated annual cost reductions of
$410 million in compensation and benefits and a further $25 million of reduced rent and asset
depreciation.”953 As 2008 came to a close, ResCap employed a total of 6,100 workers, which
included 1,000 GMAC Home Services employees who were retained on ResCap’s payroll
through year-end 2008 as part of the GMAC Home Services sale transition agreement.954 An
additional 500 employees were given termination notices in 2008 and removed from ResCap’s
rolls in early 2009.955 ResCap hired a limited number of additional personnel in the origination
area during the second quarter of 2009 as a result of increased consumer demand for
mortgages resulting from lower interest rates,956 but by early 2010, it appears that ResCap had
continued to reduce the size of their workforce overall.957

                 (2) The Makeup Of The ResCap Board Changed During 2009

     When 2009 began, the ResCap Board included AFI’s David DeBrunner, Alvaro de
Molina, and David Walker; Cerberus executives Joshua Weintraub, and Ronald Kravit;
Independent Directors Karin Hirtler-Garvey and Ted Smith; and ResCap’s CFO James Young,
and Chairman and CEO, Thomas Marano. Kravit’s and Weintraub’s resignations were
announced at the March 23, 2009 ResCap Board meeting. They said they had to resign from
the ResCap Board because of rules and conditions associated with AFI obtaining bank holding
951 See, e.g. Lorraine Woellert & Clea Benson, Banks Resisting Fannie, Freddie Demands to Buy Back
   Mortgages, BLOOMBERG, Nov. 30, 2010, http://www.bloomberg.com/news/2010-11-30/banks-in-u-s-
   resisting-calls-to-repurchase-fannie-mae-freddie-mac-loans.html.
952 See Residential Capital, LLC, Annual Report (Form 10-K/A) (Aug. 25, 2009), at 62–63.


953 Residential Capital, LLC, Quarterly Report (Form 10-Q) (Nov. 10, 2008), at 49.


954 See Residential Capital, LLC, Annual Report (Form 10-K) (Feb. 26, 2009), at 30.


955 See id.


956 Jeff
      Blumenthal, ResCap hiring at least 100 in Fort Washington, PHILA BUS. J., Apr. 15, 2009, http://
   www.bizjournals.com/philadelphia/stories/2009/04/13/daily18.html.
957 Goldman Sachs Presentation to AFI, dated Mar. 17, 2010, at 12 [ALLY_0355162] (listing the total number of

   employees at 3,998).

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company status.958 During that meeting, Marano nominated ResCap EVP and CFO, Anthony
Renzi, to the ResCap Board,959 and on March 26, 2009, Renzi and Young joined Marano on
the Executive Committee.960

     AFI’s de Molina also left the ResCap Board in March 2009, at approximately the same
time he joined the AFI Board and became AFI CEO.961 Although de Molina described his
attendance at ResCap Board meetings as “spotty,” he said he was “involved in all the
conversations around liquidity and so forth during the whole period.”962

     On April 30, 2009, Marano informed the ResCap Board that Independent Director Karin
Hirtler-Garvey was joining AFI as Chief Risk Executive, but that she would continue on the
ResCap Board until her replacement was appointed.963 At the end of May 2009, Pam West
began serving as an Independent Director with Ted Smith, and Hirtler-Garvey apparently
remained on the ResCap Board as an inside director.

      A month later, Marano informed the ResCap Board that (1) Hirtler-Garvey had tendered
her resignation from the Board and from the Audit Committee, which she had chaired in her
capacity as an Independent Director; and (2) he did not anticipate the vacated Board seat being
filled at that time.964 Marano could not recall if Hirtler-Garvey ever advised the ResCap Board
that she was interviewing with AFI for a potential position while sitting as an Independent
Director on the ResCap Board, but he knew that there was a point where she informed the
ResCap Board, and it was “determined that she needed to get off the Board, she was no longer
an independent.”965 Hirtler-Garvey stated that she recommended West, who
958 Minutes
          of a Special Meeting of the Board of Directors of Residential Capital, LLC, Mar. 23, 2009, at
   RC40006091 [RC40005949].
959 Id. at RC40006092.


960 Minutes
          of a Special Meeting of the Board of Directors of Residential Capital, LLC, Mar. 26, 2009, at
   RC40006109 [RC40005949].
961 Id.


962 Int. of A. de Molina, Nov. 20, 2012, at 13:13–15:3.


963 Minutesof a Special Meeting of the Board of Directors of Residential Capital, LLC, Apr. 30, 2009, at
   RC40006152 [RC40005949]. At this time, as an Independent Director, Hirtler-Garvey was also chair of the
   ResCap Audit Committee and had chaired a meeting the previous day and chaired another meeting of the
   ResCap Audit Committee on May 7, 2009. See Minutes of the Meeting of the Residential Capital Audit
   Committee, Apr. 29, 2009, at RC40020707 [RC40020694]; Minutes of the Meeting of the Residential Capital
   Audit Committee, May 7, 2009, at RC40020712 [RC40020694]. Hirtler-Garvey’s online resume indicates that
   she was AFI’s Chief Risk Officer from May 2009 to November 2011.
964 See Minutes of a Special Meeting of the Board of Directors of Residential Capital, LLC, June 23, 2009, at

   RC40006224 [RC40005949]. West stated that it was her understanding that Hirtler-Garvey ceased being an
   Independent Director and became an Inside Director when West joined the ResCap Board. Int. of P. West,
   Dec. 18, 2012, 177:15–178:23.
965 Int. of T. Marano, Nov. 26, 2012, at 98:13–99:7.



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came out of Bank of America, to be the incoming Independent Director. Hirtler-Garvey
advised that she remained on the ResCap Board for a month after joining AFI so that West
would have the benefit of the overlap.966

     On July 15, 2009, Young informed the ResCap Board that David Walker had resigned
from the Board on that date, effective immediately.967 The following day, on July 16, 2009,
DeBrunner resigned from the ResCap Board, effective July 17, 2009.968 DeBrunner
acknowledged that he resigned from the ResCap Board because, as an AFI officer, he began to
believe he was conflicted.969

     On September 8, 2009, the ResCap Board was informed that Renzi had tendered his
resignation from the Board and all related committees.970 The ResCap Board was reduced to
four people: Marano and Young, and Independent Directors West and Smith.

                  (3) The ResCap Board Met Regularly To Review Liquidity In 2009

      Liquidity concerns and the strategic direction of the company were two key agenda items
for the ResCap Board by the summer of 2009. Although ResCap complied with its
consolidated TNW covenants in the first six months of 2009, ResCap acknowledged that there
was a risk that it would “not be able to meet its debt service obligations, and would default on
its financial debt covenants due to insufficient capital and/or be in a negative liquidity position
966 Int. of K. Hirtler-Garvey, Dec. 20, 2012, at 296:20–297:15.

967 Minutes of a Special Meeting of the Board of Directors of Residential Capital, LLC, July 15, 2009, at
   RC40006249 [RC40005949]. Walker resigned from AFI a month later. Int. of D. Walker, Nov. 28, 2012, at
   6:19–21.
968 See Minutes of a Special Meeting of the Board of Directors of Residential Capital, LLC, July 16, 2009, at

   RC40006251 [RC40005949].
969 Int. of D. DeBrunner, Sept. 13, 2012. The following colloquy is enlightening with respect to what DeBrunner

   was thinking at the time of his resignation:
    [Q:] I understood what you said. Your duty was to provide knowledge and wisdom, if you will, on
    accounting related issues. I guess I had a different question in mind, which is sitting on the ResCap
    [B]oard did you consider you had a duty to ResCap? Did you consider you had a duty to GMAC?
    [A:] I considered I had a duty to ResCap.
    [Q:] All right. And how did you reconcile in your mind your role as GMAC officer with interest
    presumably as a fiduciary to GMAC as an officer with your role as a fiduciary to ResCap?
    [A:] Well, and maybe this gets to where the question is going, but that was part and parcel the reason
    why when I did resign from the board. It was because at the time there started to be discussions about
    should we consider a bankruptcy. And at that point, given my role at GMAC, as an officer of GMAC, I
    felt that that was a conflict and that it was hard for me to separate the two. So I resigned from the
    [B]oard because I didn’t want to be in that position.
   Id. at 73:8–74:7. DeBrunner added that had he previously felt conflicted, he would have recused himself. Id. at
   74:8–14.
970 See Minutes of a Special Meeting of the Board of Directors of Residential Capital, LLC, Sept. 8, 2009, at

   RC40006291 [RC40005949].

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in 2009 or future periods.”971 From June 2009 through approximately November 2009, the
ResCap Board scheduled a standing daily 6:00 p.m. meeting to discuss liquidity.972 Marano
explained:
                  [Liquidity] was something that we were worried about, because
                  we had facilities that were up, and we did have projections that
                  showed we could potentially run into a liquidity problem. And
                  those would largely be caused by movements in the MSR
                  valuation. A lot of times, the MSR came back in value and we
                  were able to borrow against it no problem from Citi or [AFI].
                  There . . . were times where it definitely got tight. But . . . it
                  wasn’t a problem, because [AFI was] more than willing to
                  provide the liquidity to us. It was capital that [AFI] got more
                  worked up about, providing capital support.973

             b. AFI Voiced Concerns About ResCap’s Ability To Remain A Going Concern
                Early In 2009 And Made No Assurance That AFI Would Continue To Provide
                Support In The Form Of Liquidity Or Capital

     As 2009 progressed, the mortgage and capital markets remained under a period of severe
stress in the United States, the United Kingdom, and the European continent.974 ResCap,
which required substantial capital to support its operations, was now “heavily dependent” on
AFI and its affiliates for “funding and capital support,” and faced the reality that there was no
longer any assurance that AFI could continue to support ResCap’s capital and liquidity
needs.975 On January 8, 2009, ResCap filed the following Regulation FD (Fair Disclosure)
statement with the SEC:

                  In response to various questions that have come to [AFI’s]
                  attention, [AFI] reiterated in an announcement that Residential
                  Capital, LLC (“ResCap”) is an important subsidiary of [AFI],
                  and [AFI] has made significant progress in reshaping ResCap to
                  better align it with current market conditions. [AFI] stated that it
                  believes that the support it has provided to ResCap to date was
971 Residential Capital, LLC, Quarterly Report (Form 10-Q) (Aug. 7, 2009), at 8.

972 SeeInt. of T. Marano, Nov. 26, 2012, at 133:16–134:18; see also Minutes of a Special Meeting of the
   Residential Capital Board of Directors, June 5, 2009, at RC40006172 [RC40005949]. Scheduling a standing
   meeting at 6:00 p.m. daily to discuss liquidity was done at the behest of Marano. Id. at RC40006173. The
   meetings were often telephonic and on many occasions were held for the sole purpose of discussing liquidity.
973 Int. of T. Marano, Nov. 26, 2012, at 134:4–18.

974 See,e.g., EUROPEAN COMMISSION, DIRECTORATE-GENERAL FOR ECONOMIC AND FINANCIAL AFFAIRS,
   ECONOMIC CRISIS IN EUROPE: CAUSES, CONSEQUENCES AND RESPONSES (July 2009), http://ec.europa.eu/
   economy_finance/publications/publication15887_en.pdf (describing the European economy as being “in the
   midst of the deepest recession since the 1930s, with real GDP projected to shrink by some 4% in 2009”).
975 GMAC LLC, Annual Report (Form 10-K) (Feb. 26, 2009), at 14 (emphasis added).



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                 in the best interests of [AFI] stakeholders. It further stated that if
                 ResCap were to need additional support, [AFI] would provide
                 that support so long as it was in the best interests of [AFI]
                 stakeholders. While there can be no assurances, [AFI’s] recently
                 approved status as a regulated bank holding company has
                 increased the importance of its support for ResCap.976

      The above statement makes clear that AFI was giving no assurance that its support for
ResCap would continue. ResCap knew that losing AFI’s financial support would have a
material adverse effect on ResCap’s businesses and financial position, particularly given the
likelihood that ResCap (and other ResCap subsidiaries with similar debt obligations) could not
remain in compliance with TNW and debt covenants without AFI’s support.977

     As 2009 proceeded, the subject of ResCap’s reliance on AFI to meet its capital and
liquidity needs—and what would happen if the AFI spigot were turned off—became an on-
going theme, not just at ResCap, but also within AFI.

    AFI’s lack of unconditional support for ResCap was expressed again in AFI’s 2008
Annual Report, which was filed with the SEC on February 26, 2009:
                 ResCap remains heavily dependent on [AFI] for funding and
                 capital support, and there can be no assurance that [AFI] will
                 provide such support. In light of ResCap’s liquidity and capital
                 needs, combined with volatile conditions in the marketplace,
                 there is substantial doubt about ResCap’s ability to continue as
                 a going concern. If [AFI] determines to no longer support
                 ResCap’s capital or liquidity needs, or ResCap is unable to




976 Residential Capital, LLC, Current Report (Form 8-K) (Jan. 8, 2009), Item 7.01 (emphasis added). At AFI’s

  first quarter 2009 earnings call, AFI CFO Robert Hull reiterated AFI’s position in response to a question:
        We evaluate our support of ResCap just like all of our businesses, frankly; although ResCap,
        because it’s walled off, requires special care. We, both from a capital and liquidity basis, we
        evaluate it constantly; monthly, if not more regularly. It continues to get our support. . . . And as
        long as it’s in the interest of the core [AFI] stakeholder base, we will continue to support it.
  GMAC Earnings Call, dated May 5, 2009, http://www.ally.com/about/investor/events-presentations/
  (emphasis added). Thus ResCap’s future was in the hands of AFI and its “core . . . stakeholder[s].” Id.
977 See Residential Capital, LLC, Annual Report (Form 10-K/A) (Aug. 25, 2009), at 61.



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                successfully execute its other initiatives, it could have a material
                adverse effect on ResCap’s business, results of operations, and
                financial position.978
                ResCap has significant near-term liquidity issues. There is a
                significant risk that ResCap will not be able to meet its debt
                service obligations and other funding obligations in the near-
                term. . . . We have extensive financing and hedging
                arrangements with ResCap, which could be at risk of
                nonpayment if ResCap were to file for bankruptcy.979

      In its May 2009 10-Q filing reporting on the first of quarter of 2009, AFI provided a
similar, but slightly more nuanced version of its position, while at the same time underscoring
that it had concerns about the implications of a ResCap bankruptcy:
                ResCap remains heavily dependent on [AFI] and its affiliates for
                funding and capital support, and there can be no assurance that
                [AFI] or its affiliates will continue such actions. We have
                previously disclosed that ResCap is an important subsidiary and
                that we believed the support we have provided to ResCap was in
                the best interests of our stakeholders. We have further disclosed
                that if ResCap were to need additional support, we would
                provide that support so long as it was in the best interests of our
                stakeholders. While there can be no assurances, our recently
                approved status as a regulated bank holding company has
                increased the importance of our support for ResCap as its core
                origination and servicing business provides diversification
                benefits for us.

                Although our continued actions through various funding and
                capital initiatives demonstrate support for ResCap and our status
                as a bank holding company and completion of our private debt
                exchange and cash tender offers better position us to be capable
                of supporting ResCap, there are currently no commitments or
                assurances for future funding and/or capital support.
                Consequently, there remains substantial doubt about ResCap’s
                ability to continue as a going concern. Should we no longer
                continue to support the capital or liquidity needs of ResCap or

978 GMAC LLC, Annual Report (Form 10-K) (Feb. 26, 2009), at 14. AFI’s recognition of the Debtors’ possible

  bankruptcy continued throughout 2009. See, e.g., Minutes of a Special Meeting of the Board of Directors of
  GMAC LLC, Oct. 28, 2009, at ALLY_0115266 [ALLY_0114717] (noting that Sam Ramsey had updated the
  AFI Board on ResCap’s cash position and the status of management’s analysis of different strategic
  alternatives to which the AFI Board responded with questions regarding capital considerations related to a
  ResCap bankruptcy or implications of a potential chapter 11 filing).
979 GMAC LLC, Annual Report (Form 10-K) (Feb. 26, 2009), at 15.



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                 should ResCap be unable to successfully execute other
                 initiatives, it would have a material adverse effect on ResCap’s
                 business, results of operations, and financial position.980

     At this time, AFI also participated in “Project Windmill,” which analyzed AFI’s exposure
in the event ResCap filed for bankruptcy in 2009.981

             c. AFI Was Not A Lone Voice; ResCap Questioned Its Own Ability To Continue
                As A “Going Concern”

     The concerns AFI voiced in the first quarter of 2009 were echoed by ResCap:

                 The occurrence of recent adverse developments in the mortgage
                 finance and credit markets has adversely affected our business,
                 our liquidity and our capital position and has raised substantial
                 doubt about our ability to continue as a going concern. . . . 982

     After discussing: (1) the negative effect on ResCap of the conditions in the mortgage
industry; (2) the deteriorating fair market valuations of mortgage loans held for sale, mortgage
servicing rights, and securitized interests attributable to weakening housing prices and
increasing mortgage loan delinquency rates; and (3) recent rating agency downgrades of asset-
backed and mortgage-backed securities, which significantly reduced the levels of liquidity
available to ResCap to finance its operations; ResCap added:

                 We are highly leveraged relative to our cash flow and continue
                 to recognize substantial losses resulting in a significant
                 deterioration in capital. There continues to be a risk that we will
                 not be able to meet our debt service obligations, [that we will]
                 default on our financial debt covenants due to insufficient
                 capital and/or [that we will] be in a negative liquidity position in
                 2009. We remain heavily dependent on our parent and affiliates
                 for funding and capital support, and there can be no assurance
                 that our parent or affiliates will continue such actions. . . .

                 In light of our liquidity and capital needs, combined with
                 volatile conditions in the marketplace, there is substantial doubt
                 about our ability to continue as a going concern. If our parent
                 no longer continues to support our capital or liquidity needs, or


980 GMAC LLC, Quarterly Report (Form 10-Q) (May 11, 2009), at 8 (emphasis added).

981 See Draft GMAC Presentation on Project Windmill, Exposure Review and Key Points, dated Mar. 6, 2009

  [ALLY_0199540] (estimating that if ResCap filed for bankruptcy that day, AFI’s exposure would be between
  $3.1 and $4.9 billion).
982 Residential Capital, LLC, Annual Report (Form 10-K) (Feb. 26, 2009), at 31–32 (emphasis added).



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                      we are unable to successfully execute our other initiatives, it
                      would have a material adverse effect on our business, results of
                      operations and financial position.983

                d. The ResCap Board Also Looked Into The Ramifications Of A Bankruptcy Filing
                   In 2009

     On several occasions in 2009, the ResCap Board considered the implications of a
bankruptcy filing or other scenarios, including merging ResCap into AFI. In May 2008,
ResCap had retained Lazard as its “investment banker and financial advisor with respect to an
on-going contingency planning process,” which later became known as Project Scout I.984
Project Scout I involved developing “a strategy for a potential chapter 11 process,”985 which
included, at various times, projected ResCap chapter 11 filing dates of June 9, 2008986 and
October 31, 2008.987 Project Scout I, and Lazard’s services in relation to Project Scout I, were
terminated when “TARP relief was granted” to AFI in December 2008.988

     In 2009, ResCap retained Lazard to oversee Project Scout II. The project was described
as being a “different project in a sense” than Project Scout I because “things had changed” as
a result of AFI’s receipt of TARP funding.989


983 See Residential Capital, LLC, Annual Report (Form 10-K) (Feb. 26, 2009), at 31–32. As noted above, the

   debtors’ liquidity portfolio (“cash readily available to cover operating demands from across [its] business
   operations and maturing obligations”) totaled $.05 billion at the end of 2008. Id. at 31. ResCap anticipated
   liquidity pressures to continue through 2009. Id. In the same report, ResCap acknowledged the risk that AFI
   could require ResCap to act against ResCap’s own interests:
          [AFI] controls all fundamental matters affecting us, and its interests may differ from ours. [AFI]
          indirectly owns all of our outstanding membership interests and has the power to elect and remove
          all of our directors, including the two Independent Directors who are required under an operating
          agreement to which we and [AFI] are a party. The operating agreement may be amended by the
          parties thereto, except for amendments that materially and adversely affect the rights of the holders
          of our outstanding notes, which require the approval of a majority of the Independent Directors. The
          operating agreement may be terminated by the parties thereto provided a majority of the
          Independent Directors approve the termination. The operating agreement also terminates if we
          cease to be a direct or indirect subsidiary of [AFI]. [AFI’s] interests may differ from ours and,
          subject to the applicable provisions of the operating agreement; AFI may cause us to take actions
          that are materially adverse to us.
   Id. at 32.
984 Int. of T. Pohl, Feb. 26, 2013, at 8:5–9. In total, there appear to have been three iterations of Project Scout

   over as many years.
985 Lazard/Skadden Draft Presentation, Project Scout, dated May 2008, at 1 [LAZ-RSCP-XMR00010457].

986 Id.

987 Lazard/Skadden Presentation for GMAC, dated Oct. 2008, at EXAM20020827 [EXAM20020824].

988 Int. of T. Pohl, Feb. 26, 2013, at 35:20–36:6.

989 Id. at 36:7–16.



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      Project Scout II focused on the ramifications of a “sudden” ResCap chapter 11 filing.990
On June 10, 2009, Lazard presented to the ResCap Board materials on a “free-fall” chapter 11
filing by ResCap and the potential ramifications for Ally Bank and AFI. With respect to Ally
Bank, the Project Scout II team examined:

          •   The effect of an immediate cessation of all lending and servicing operations;

          •   The risk of rising (and potentially doubling) default rates and the impact on
              investors and the government;

          •   The reputational harm that could adversely impact Ally Bank’s (and AFI’s) “ability
              to participate in the mortgage, depository and auto finance markets”;

          •   The termination of hedges, which would leave Ally Bank with pipeline and MSR
              exposure; and

          •   The significant risk of litigation, brought by “customers, investors, clients, [and]
              vendors.”991

      The Project Scout II team also examined the potential collateral harm to AFI, which
included placing at risk: (1) $5 billion of AFI debt and equity; (2) AFI’s state and federal
licenses; (3) AFI’s reputation; (4) $300 million of ResCap cash, which was on deposit at
Fannie Mae; and (5) AFI, with respect to an increased risk of litigation.992 The Project Scout II
presentation to the ResCap Board reviewed the strategic importance of mortgage operations,
and noted the critical importance of ResCap to AFI’s mortgage operations.993 Although the
Project Scout II materials were shared with the AFI Board as well as the ResCap Board on
June 10, 2009, only the AFI Board minutes reflect a related discussion.994 At the AFI Board
meeting, “it was agreed that a free fall chapter 11 filing would be detrimental to ResCap and
its enterprise value. It was also agreed that the AFI Board would need additional analysis with
respect to strategic options available for ResCap.”995

    On June 16, 2009, the ResCap Board met telephonically in a reconvened session to hear
from ResCap counsel, Morrison & Foerster, “with respect to information and guidance
990 SeeLazard, Project Scout II Presentation, prepared for a Special Meeting of the Board of Directors of
   Residential Capital, LLC, dated June 10, 2009, at RC40011255–59 [RC40011250] (discussing a “free fall”
   chapter 11 filing).
991 See Project Scout II Presentation, prepared for a Special Meeting of the Board of Directors of Residential

   Capital, LLC, dated June 10, 2009, at RC40011256 [RC40011250].
992 See id.

993 See id. The June 10, 2009 ResCap Board minutes reflect no related discussion. See Minutes of a Special

   Meeting of the Board of Directors of Residential Capital, LLC, June 10, 2009, at RC40006224
   [RC40005949].
994 See
      Minutes of a Special Meeting of the Board of GMAC LLC, June 10, 2009, at ALLY_0114989
   [ALLY_0114717].
995 See id. at ALLY_0114989–90.



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relating to the possibility of a ResCap bankruptcy filing.”996 This included “a detailed
presentation [by counsel] on a chapter 11 bankruptcy filing” and a discussion of “asset sale
alternatives in a chapter 11 filing.”997

               e. Project Origin Analyzed The Risk Of A ResCap Chapter 11 Filing On Various
                  Constituents

      On July 7, 2009, the ResCap Board considered a presentation prepared by Lazard under a
new project name, “Project Origin.” The project considered the risks to various constituents if
ResCap instituted a chapter 11 case.998 Marano informed the ResCap Board that ResCap
management had reviewed the Project Origin presentation earlier the same day with U.S.
Treasury officials.999 Project Origin made certain assumptions with regard to a bankruptcy
filing, including that: (1) ResCap would “reorganize as a going concern”; (2) the “contingency
planning” would include “reaching out to certain constituencies prior to filing”; and
(3) ResCap would engage in an out-of-court restructuring with contingency planning
involving a smaller subset of the constituent list discussed below.1000 In other words, unlike
Project Scout II, Project Origin’s focus was not on a free fall bankruptcy.

     For each constituent on a list carrying the heading, “Constituent Risk Assessment,” the
Project Origin presentation identified the risk/issue, the exposure, the next steps to be




996   Minutes of the Reconvened Meeting of the Board of Directors of Residential Capital, LLC, June 16, 2009, at
      RC40006184 [RC40005949]. The ResCap Board’s meeting earlier the same day ended at 6:25 p.m., in time
      for the reconvened meeting to begin at 6:30 p.m. Minutes for the earlier meeting were distributed separately.
      See Minutes of a Special Meeting of the Board of Directors of Residential Capital, LLC, June 16, 2009, at
      RC40006183 [RC40005949].
997   Minutes of a Reconvened Meeting of the Board of Directors of Residential Capital, LLC, June 16, 2009, at
      RC40006184 [RC40005949]. The presentation materials provided to the ResCap Board for this meeting do
      not appear to have been produced in this proceeding. The minutes of the Board meeting are not marked
      privileged, but within the context of the minutes is a reference to the Board engaging in a privileged
      discussion with counsel. Id.
998   Minutes of a Special Meeting of the Board of Directors of Residential Capital, LLC, July 7, 2009, at
      RC40006240 [RC40005949]; see also Project Origin Presentation to the Board of Directors of Residential
      Capital, LLC, dated July 2009, at RC40011389 [RC40011378].
999   Minutes of a Special Meeting of the Board of Directors of Residential Capital, LLC, July 7, 2009, at
      RC40006240 [RC40005949].
1000 ProjectOrigin Presentation to the Board of Directors of Residential Capital, LLC, dated July 2009, at
      RC40011389 [RC40011378].

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taken, and the priority of each constituent. The following chart contains examples of the
Constituent Risk Assessment from the presentation:




     Twenty-two additional constituents, either by name or by type (with some types
representing multiple entities) were identified on the draft chart including banks, vendors,
derivative counterparties, monoline bond insurers, PMI insurers, noteholders, and foreign
regulators.1001



1001 Project
          Origin Presentation to the Board of Directors of Residential Capital, LLC, July 7, 2009, at
    RC40011391–92 [RC40011378].

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      The possibility of a ResCap bankruptcy went beyond internal discussions. At its
August 5, 2009 meeting, the ResCap Board considered the implications of a Bloomberg News
article, which had been forwarded to Marano by a senior executive from AFI’s Capital
Markets Division. The article began: “[AFI] the auto lender that took $13.5 billion of U.S.
bailout funds, may cut losses and the need for capital by sending its home mortgage unit,
Residential Capital LLC, into bankruptcy.”1002 Quoting CreditSights, the article stated that by
doing so, AFI “could keep ResCap’s ‘remaining good assets’ and leave behind $11.4 billion of
debt”; Bloomberg News noted that CreditSights had queried whether it was “’time to put
ResCap out of its misery.’”1003 The ResCap Board considered the effect the article might have
on employees and the possible effect on renewing lines of credit.1004
                f. In August 2009, AFI Made An Opening Offer To Purchase Certain MSRs From
                   ResCap, Which Appears To Have Been An Off-Shoot Of Project Origin
     On August 4, 2009, AFI Executive Vice President Samuel Ramsey sent a letter to
Marano, attaching a draft, non-binding proposal by which one or more AFI1005 Subsidiaries
would acquire ResCap’s MSRs and its origination platform.1006 Ramsey’s letter was captioned
“Project Origin,” but this potential transaction transformed into “Project Timex” shortly
thereafter.1007 The assets that AFI offered to purchase included:
           •   MSRs related to certain mortgage loan portfolios (including the obligation to make
               servicer advances);
           •   All contracts with Fannie Mae, Freddie Mac, and Ginnie Mae (the “GSE
               contracts”);
1002 E-mail from K. Skover (Aug. 5, 2009) [RC40011015] (forwarding to the ResCap Board an e-mail from

    AFI’s Seth Silverstein attaching the Bloomberg article).
1003 Id.

1004 See Minutes of a Special Meeting of the Board of Directors of Residential Capital, LLC, Aug. 5, 2009, at

    RC40006272 [RC40005949].
1005 GMAC LLC converted from a Delaware limited liability company to a Delaware corporation, renamed
    GMAC Inc., effective June 30, 2009. See GMAC Inc., Quarterly Report (Form 10-Q) (Aug. 7, 2009), at 5.
1006 See Draft Proposal for the Acquisition of the Origination/Servicing Assets of Residential Capital, LLC and

    Cover Letter from AFI to ResCap, dated Aug. 4, 2009, at RC40011007 [RC40011000]. Ramsey’s August 4,
    2009 letter and proposal were included among the materials sent to the ResCap Board the same day. See
    ResCap Board Materials Prepared for a Special Meeting of the ResCap Board, dated Aug. 4, 2009, at
    RC40007038 [RC40007006].
1007 Project Timex Presentation Prepared for a Special Meeting of the Board of Directors of GMAC Inc., dated

    Sept. 10, 2009, at 2 [ALLY_PEO_0025671]. Project Timex was intended to be an “out of court” purchase of
    ResCap’s origination and servicing business, including Agency and private label MSRs, conforming
    mortgage loans held for sale, derivatives related to the MSRs, etc. for a purchase price of $3.8 billion, offset
    by representation and warranty liabilities, and other credits. The deal was intended to include a $600 million
    capital contribution from AFI to ResCap. Id. De Molina referred to Project Timex as “Sam Ramsey’s baby,”
    and said Ramsey “was trying to find solutions.” He added that Ramsey found Project Timex to be an
    attractive solution, although de Molina said he did not know if Ramsey felt that way in the end. Int. of A. de
    Molina, Nov. 20, 2012, at 208:2–13. Ramsey, when interviewed, could not recall the specifics of Project
    Timex. Int. of S. Ramsey, Dec. 10, 2012, at 135:25–136:5.

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       •   All accounts receivable that were servicer advances made by ResCap in connection
           with Fannie Mae, Freddie Mac, and Ginnie Mae transactions;

       •   Certain prime conforming loans that were held for sale and eligible for delivery to
           Fannie Mae, Freddie Mac, and Ginnie Mae;

       •   All related sub-servicing contracts and agreements; and

       •   Other ancillary assets, property, equipment employees, records, etc. required to
           conduct the business.1008

     The ResCap Board was introduced to AFI’s proposal at an August 4, 2009 meeting,1009
and they considered the matter again in a special session on August 9, 2009, in order to allow
the Independent Directors an opportunity to discuss the draft term sheet.1010 Among the topics
discussed by the ResCap Board were “the assets available for sale, rep and warranty
considerations, and timing of a potential transaction.”1011 Between meetings, Marano, on
behalf of ResCap, and Ramsey, on behalf of AFI, exchanged letter proposals and
counter-proposals.1012 The discussion continued at August 10, 2009 and August 12, 2009
ResCap Board meetings.1013 On August 13, 2009, Ramsey provided ResCap with a revised
term sheet and counter-offer that included the following AFI commitments:

       •   AFI would make a further equity investment in ResCap of $500 million in
           connection with the completion of the proposed transactions so long as there was a
           “simultaneous transfer by [AFI] of 100% of ResCap’s common equity interests to
           [AFI’s] current shareholders”;

       •   AFI would work with ResCap “to develop a solution to provide” ResCap with $300
           million in additional liquidity that ResCap anticipated needing through
           September 30, 2009; and
1008 See Draft Proposal for the Acquisition of the Origination/Servicing Assets of Residential Capital, LLC and

   Cover Letter from AFI to ResCap, dated Aug. 4, 2009, at RC40011007 [RC40011000].
1009 See Minutes of a Special Meeting of the Board of Directors of Residential Capital, LLC, Aug. 4, 2009, at

   RC40006287 [RC40005949].
1010 Minutesof a Special Meeting of the Board of Directors of Residential Capital, LLC, Aug. 9, 2009, at
   RC40006276 [RC40005949]. A marked-up draft of the Servicing Proposal was provided to the ResCap
   Board in advance of this meeting. See Comments by ResCap and its Advisors, Acquisition of the
   Origination/Servicing Assets of Residential Capital, LLC, dated Aug. 7, 2009, at RC40009422–43
   [RC40009421].
1011 Minutes
          of a Special Meeting of the Board of Directors of Residential Capital, LLC, Aug. 9, 2009, at
   RC40006276 [RC40005949].
1012 See Board Materials Prepared for a Special Meeting of the Board of Directors of Residential Capital, LLC,

   dated Aug. 12, 2009, at RC40009510 [RC40009497].
1013 See Minutes of a Special Meeting of the Board of Directors of Residential Capital, LLC, Aug. 10, 2009, at

   RC40006277 [RC40005949]; see also Minutes of a Special Meeting of the Board of Directors of Residential
   Capital, LLC, Aug. 12, 2009, at RC40006278 [RC40005949].

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           •   ResCap would continue to be a viable asset management company following the
               completion of the transfer.1014

     The ResCap Board reviewed liquidity issues, confidentiality concerns, servicing and
origination platforms, and lines of credit related to AFI’s revised proposal at its August 13,
2009 meeting,1015 and the “potential structure of a transaction, legal issues, and funding and
timing considerations” at its August 17, 2009 meeting.1016 On August 17, 2009, the ResCap
Board reviewed a list of “non-negotiable items,” including (1) the business remaining within
ResCap Asset Management Company be viable; (2) AFI providing financial support to keep
ResCap within its covenants through the closing; (3) “[AFI providing] provide post-closing
funding through the extension or revision of the Secured Revolver Facility or other funding
mechanism”; and (4) ResCap obtaining a fairness opinion with respect to AFI’s proposal.1017

     The Project Timex proposal required AFI to complete an out-of-court purchase of
ResCap’s origination and servicing business prior to September 30, 2009. The ResCap Board
continued the discussion at its September 17, 2009 meeting. At that meeting, it reviewed a pro
forma balance sheet setting forth the securitized and non-securitized assets included in AFI’s
proposal, an updated term sheet, details of the transaction, timing, regulatory reporting and
required disclosures.1018 The ResCap Board also discussed the “risk and benefits of entering
into the proposed transaction.”1019 Ultimately, ResCap did not enter into the transaction.
According to AFI’s Head of Corporate Debt and Equity, Corey Pinkston, the reason the sale
did not proceed is because the arrangements represented “pretty complicated thinking,” and it
was ultimately decided that Project Timex “was too complicated to work.”1020

     2. In March 2009, The ResCap Board Approved ResCap’s 2009 Business Plan

     In March 2009, a ResCap team consisting of CEO Marano; COO Renzi; CFO Young; a
junior associate from Cerberus, Edward Buttacavoli (who shortly thereafter became a senior
analyst at AFI); and others from the GMAC ResCap Financial Planning and Analysis1021
department; prepared a 2009 business plan, which was presented to the ResCap Board on
1014 Letter from S. Ramsey to T. Marano (Aug. 13, 2009), at RC40009538 [RC40009525] (distributed to the

    ResCap Board in advance of its August 13, 2009 meeting).
1015 Minutes of a Special Meeting of the Board of Directors of Residential Capital, LLC, Aug. 13, 2009, at

    RC40006280 [RC40005949].
1016 Minutes of a Special Meeting of the Board of Directors of Residential Capital, LLC, Aug. 17, 2009, at 1

    RC40006281 [RC40005949].
1017 SeeNon-Negotiable Items Draft Discussion Document Prepared for a Special Meeting of the Board of
    Directors of Residential Capital, LLC, dated Aug. 17, 2009 at RC40007032 [RC40007006].
1018 Minutes
           of a Special Meeting of the Board of Directors of Residential Capital, LLC, Sept. 8, 2009, at
    RC40006290 [RC40005949].
1019 Id.

1020 Int. of C. Pinkston, Nov. 8, 2012, at 63:10–65:9.

1021 See E-mailfrom M. Wright (Mar. 24, 2009) [CCM00028868]; see also Attachment to E-mail from M.
    Wright (Mar. 24, 2009) [CCM00028869] (draft business plan).

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March 26, 2009.1022 The purpose of the 2009 business plan was to “focus on leveraging
ResCap’s capital markets expertise and winding down ResCap’s non-core businesses.”1023
Reflecting a loss of $1.072 billion and ending assets of $20.8 billion, the 2009 business plan
distinguished ResCap, the “Legal Entity,” from what was called “GMAC ResCap
Managerial.” The latter, the business plan reported, “represent[ed] all business activities
managed by Tom Marano,” including “[a]ll RFG, BCG, IBG, PIA and Corporate activities
and financial statements.”1024 “GMAC ResCap Managerial” related to planning as well as to
measuring outcomes and performance. “ResCap LLC (Legal Entity),” on the other hand,
represented the “consolidation of all entities owned by ResCap.”1025
       The 2009 business plan set forth four strategic initiatives for ResCap:
           •   “Rationalize Business and Asset Portfolio,” which the business plan described as
               streamlining and managing “businesses and assets considered to be viable and
               aligned with [AFI’s] long term strategy,” and otherwise liquidating or selling non-
               core businesses;
           •   Capitalize on Deposit Funding to Drive Profitability,” which meant leveraging Ally
               Bank in the U.S. and ResMor in Canada, and exploring the “sale of RFG core
               businesses to Ally Bank to access cheaper funding”;
           •   “Grow Revenue and Market Share in Core Businesses,” which focused on
               continuing to originate primarily conforming mortgages in the U.S. that would be
               eligible for sale to GSEs, among other items; and
           •   “Reposition Risk Profile and Maximize Efficiencies,” which the business plan
               described as capitalizing on “servicing expertise,” maximizing “the value of
               serviced assets,” and implementing “aggressive loan-loss modification strategies to
               reduce foreclosures, credit losses and funding advances.”1026
     Put more plainly, a significant focus of ResCap’s 2009 business plan was on growing
revenue and market share in ResCap’s core businesses, including mortgage origination and
servicing, by:
           •   Continuing to produce with an originate-to-sell strategy;
           •   In the U.S., originating primarily conforming mortgages that are eligible for sale to
               GSEs;
1022 Seven directors sat on the ResCap Board as of March 26, 2009, including the two Independent Directors,

    Hirtler-Garvey and Smith. The other five directors were Marano, DeBrunner, Walker, Young, and Renzi, the
    newest director, appointed March 13, 2009 and attending his first official meeting as a director when the
    business plan was discussed.
1023 ResCap 2009 Business Plan Review (Legal Entity), Mar. 26, 2009, at RC40011150–72 [RC40011135].

1024 Id.

1025 Id.

1026 Id.



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           •   Implementing pricing strategy and marketing initiatives;

           •   Driving revenue growth through fee-based servicing and loan modifications; and

           •   Striving for improved work-flow quality by leveraging existing innovative on-line
               systems.1027

      The 2009 business plan also focused on process improvement and expense reductions.
Base expenses for the year were projected to be lower, down from $3 billion in 2008 to $1.2
billion in 2009, but the plan assumed continued AFI support to maintain ResCap’s TNW
covenant of $350 million, and debt forgiveness of $631 million.1028

     ResCap’s 2009 business plan provided that ResCap would continue to be an originator of
consumer loans for Ally Bank and a servicer of Ally Bank’s HFI portfolio and MSR assets, as
well as a provider of certain administrative support to Ally Bank. ResCap also would continue
to provide “executive oversight, finance and accounting support, IT, treasury and legal
services to” ResMor.1029 ResMor, in turn, would provide the same litany of services to
ResCap’s remaining Canadian entity, Residential Funding of Canada, and Ally Bank would
provide funding to ResCap through its purchases of ResCap’s consumer loan originations.1030
ResCap’s 2009 business plan projected a loss of $1.072 billion and assets of $20.8 billion,1031
but a need for $631 million in AFI capital contributions in order to comply with ResCap’s
TNW covenant of $350 million.

     3. ResCap Entered Into Several Related-Party Transactions In 2009

     Throughout 2009, ResCap continued its efforts to reduce its balance sheet through asset
sales and other strategic transactions. ResCap began the year with two significant transactions
bookending the month of January: the sale of ResMor to AFI, which closed on January 1,
2009,1032 and the 2009 Bank Transaction, pursuant to which ResCap sold its remaining interest
in IB Finance (the direct parent of Ally Bank) to AFI, which closed on January 30, 2009.1033



1027 See id.

1028 Id.

1029 Id.

1030 Id.

1031 Id.

1032 As of January 1, 2009, ResCap’s subsidiary, Residential Funding of Canada, completed the sale of ResMor to

    AFI for $67 million, pursuant to the agreement entered into on November 2008. ResCap had suspended
    mortgage loan production in its other foreign markets for most of 2008 and the sale of ResMor effectively
    ended loan production within IBG. See Residential Capital, LLC, Annual Report (Form 10-K) (Feb. 26,
    2009), at 30, 38; see also Section V.F.4.f (detailing the ResMor transaction).
1033 See Section V.A.1.c (discussing the 2009 Bank Transaction).



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Later in the spring of 2009, ResCap engaged in a transaction to sell its US/UK Broker-Dealer
business unit to AFI.1034 Out of concern for keeping ResCap in compliance with its TNW
covenant and debt covenants, AFI made multiple capital contributions to the Debtors
throughout the year in the form of cash and forgiveness of debt.1035
             a. In May 2009, ResCap Capitalized Sold Its Interest In The US/UK Broker
                Dealers To AFI
      The US/UK Broker-Dealer Sale, which began in 2008, closed in May 2009. The details
of this transaction are discussed in Section V.F.4.g.
             b. AFI Helped ResCap To Temporarily Overcome Liquidity Constraints Through
                Secured Credit Facilities
     ResCap’s covenants in the second half of 2009 required ResCap to have $250 million in
liquid cash and $750 million in total cash, including cash located in operating accounts.1036
During spring 2009, mortgage interest rates rose, which benefitted ResCap’s MSRs (and led to
fewer borrowers seeking to refinance), but “generated losses on associated hedge positions,”
with a resulting need for ResCap to post collateral. To meet ResCap’s liquidity concern, AFI
provided incremental funding to ResCap in late spring/early summer 2009.1037
      Before approving the incremental $370 million credit line, the ResCap Board agreed to
appoint a financial advisor and to wait until the Independent Directors met to consider matters
related to the approval of the $370 million credit facility.1038 Thereafter, on June 1, 2009,
PATI and RAHI entered into a credit agreement for a short-term $370 million revolving credit
facility guaranteed by RFC, GMAC Mortgage, and ResCap.1039
    In June 2009, the ResCap Board met to discuss having AFI provide additional support to
meet ResCap’s short-term cash and liquidity requirements.1040 The outstanding amount on the
Secured MSR Facility was $240 million against $926 million of MSR collateral (a 26%
1034 See Section V.F.4.g (discussing the US/UK Broker-Dealer Sale).

1035 See Residential Capital, LLC, Annual Report (Form 10-K) (Feb. 26, 2009), at 31 (describing ResCap as

    heavily reliant on its parent and affiliates); GMAC LLC, Quarterly Report (Form 10-Q) (May 11, 2009), at 8.
1036 SeePresentation prepared for GMAC LLC Strategy Group, dated June 10, 2009, at RC40011260
    [RC40011250] (distributed to the ResCap Board in advance of its June 10, 2009 Board meeting).
1037 See Presentation prepared for GMAC LLC Strategy Group, dated June 10, 2009, at RC40011260
    [RC40011250] (distributed to the ResCap Board in advance of its June 10, 2009 Board meeting); see also
    Section V.E.7 (discussing the Second Line of Credit Facility).
1038 Minutes of a Special Meeting of the Board of Directors of Residential Capital, LLC, May 28, 2009, at

    RC40006154 [RC40005949].
1039 See Section V.E.7.

1040 See, e.g., Minutes of a Special Meeting of the Board of Directors of Residential Capital, LLC, June 5, 2009,

    at RC40006172–6173 [RC40005949]; see also Minutes of a Special Meeting of the Residential Capital
    Board of Directors, June 8, 2009, at 1 RC40006174 [RC40005949] (the Board “discussed possible
    modifications to expand funding capacity under existing loan facilities in place with AFI,” and agreed to
    “meet with [AFI] management to discuss available options”).

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advance rate). In order to address its liquidity concerns, ResCap requested an increase in the
advance rate and the facility limit of the Secured MSR Facility. AFI proposed increasing the
advance rate to 40% of ResCap’s marked MSR collateral and the Secured MSR Facility limit
to $400 million.1041

     On June 12, 2009, ResCap reported that the Secured MSR Facility was amended to
“increase [AFI’s] maximum lending commitment to up to $400 million, such availability
being based on advance rates against the amount of eligible collateral.”1042 AFI extended the
loan repayment dates for the Initial Line of Credit Facility, the Second Line of Credit Facility,
and the Secured MSR Facility, on July 31, 2009; the Secured MSR Facility, Initial Line of
Credit Facility, and Second Line of Credit Facility.1043 For a further discussion of the Secured
MSR Facility and the Line of Credit Facilities, see Sections V.E.2, V.E.5, and V.E.7,
respectively.

              c. AFI’s Contributions In The Form Of Debt Forgiveness And ResCap Bond
                 Retirements Assisted ResCap In Meeting Its TNW Requirements In 2009

     On March 31, 2009, AFI contributed to ResCap Junior Secured Notes, and Senior
Unsecured Notes. The Junior Secured Notes had a face amount of a $478 million plus accrued
interest. The Senior Unsecured Notes had a face amount of a $40.3 million plus accrued
interest.1044 The forgiveness and extinguishment of the debt resulted in a gain on
extinguishment of $389.5 million and capital contribution of $263.3 million.1045

    ResCap’s consolidated TNW was $1.05 billion as of June 30, 2009, which allowed
ResCap to remain in compliance with its TNW and debt covenants.1046 This was achieved in




1041 Presentation prepared for the GMAC LLC Strategy Group, dated June 10, 2009, at RC40011260
    [RC40011250] (made a part of the Board presentation prepared for the June 10, 2009 ResCap Board
    meeting). The AFI Board recognized that there was “some risk that any loan would be re-characterized as
    equity in a bankruptcy given [AFI’s] status as a lender of last resort under the doctrine of Debt Re-
    characterization” and acknowledged the “potential for further funding to create lender liability risk for [AFI]
    under the doctrines of Deepening Insolvency and Equitable Subordination.” Id. at 4.
1042 Residential Capital, LLC, Current Report (Form 8-K) (June 18, 2009), Item 1.01.

1043 Residential Capital, LLC, Current Report (Form 8-K) (Aug. 4, 2009), at 2; see also Residential Capital, LLC,

    Quarterly Report (Form 10-Q/A) (Aug. 25, 2009), at 66.
1044 Residential Capital, LLC, Quarterly Report (Form 10-Q) (May 8, 2009), at 81.

1045 Id.

1046 Residential Capital, LLC, Current Report (Form 8-K) (Aug. 4, 2009), at Ex. 99.1.



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part through AFI’s forgiveness of $1.4 billion (face value) of ResCap bonds, which resulted in
a pre-tax gain to ResCap in the form of debt extinguishment of $817 million.1047 The capital
contributions made by AFI in 2009 included:
              March 2009:                      $263.3 million (bonds)
              April 2009:                      $ 34.7 million (bonds)
              May 2009:                        $112.6 million (bonds)
              June 2009:                       $750.8 million (bonds)
              November 2009:                   $ 23.6 million (bonds)
              November 2009:                   $ 52.4 million (MSR debt forgiveness)
              December 2009:                   $262.7 million (MSR debt forgiveness)
              December 2009:                   $1.436 billion (loans held for sale)
              December 2009:                   $600 million (cash)
              December 2009:                   $316.2 million (receivables)
              December 2009:                   $195 million (intercompany payable)1048
    Although ResCap was consistently plagued by liquidity concerns throughout the year,
ResCap met its TNW and debt covenants at the end of the third quarter of 2009, with TNW of
$409 million, and ended 2009 in compliance with its covenants as well.
    4. The ResCap Board Reviewed Various “What If” Scenarios At Its June And July 2009
       Board Meetings
      On multiple occasions in June and July 2009, the ResCap Board was presented with and
discussed two scenarios that were under consideration.1049 Noting that ResCap continued to
rely on monthly support from AFI in the form of capital and cash in order to meet its
minimum TNW and cash requirements, the ResCap Board considered (1) the effect of having
its core business absorbed into AFI against (2) the effect of having both its core and non-core
businesses absorbed into AFI.1050 Under the partial absorption scenario, ResCap would file for
bankruptcy and AFI would buy ResCap’s core business for fair value. In order to determine
the effect on ResCap and AFI, the ResCap Board was shown forecasted balance sheets and
cash flow analyses for 2010 to 2011 and forecasted income statements for the core
1047 See Minutes of a Special Meeting of the Board of Directors of Residential Capital, LLC, June 30, 2009, at

   RC40006236 [RC40005949]. (“Mr. Marano reported that during its meeting held earlier this day the [AFI]
   Board had approved additional capital support of ResCap. He said that the capital contribution [would] be
   made through the forgiveness of ResCap bonds acquired by [AFI] in the December 2008 bond exchange
   transaction.”).
1048 Residential Capital, LLC, Consolidated Financial Statements For The Years Ended December 31 2010 and

   2009 (Feb. 28, 2011) [EXAM00123052].
1049 See Minutes of a Special Meeting of the Board of Directors of Residential Capital, LLC, June 15, 2009 at

   RC40006181 [RC40005949].
1050 ResCap’s core business was identified as the consumer lending business and the capital markets business,

   servicing platform, and assets. ResCap’s non-core business was identified as the “Business Lending Group,
   the International Business Group, and domestic non-core mortgage.” Partial Absorption into GMAC (Core)
   Presentation to the Board of Directors of Residential Capital LLC, dated June 15, 2009, at RC40011293
   [RC40011291].

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servicing business, segregated into (1) GMAC Mortgage prime and conforming MSR;
(2) GMAC Mortgage non-conforming MSR; (3) HFN MSR; and (4) fee-based servicing.1051

     Under the full absorption scenario, ResCap could avoid bankruptcy by having its cash
and capital needs met by AFI, its core businesses grown, and its non-core businesses run off or
sold. The analysis included balance sheets, income statement and cash flows for 2009 to 2011
and the same segregated income statement for the core servicing business.1052 Young led the
ResCap Board discussion at its June 15, 2009 meeting.1053

     The ResCap Board renewed its discussion of the 2010–2011 pro forma analysis at its
June 23, 2009 meeting, when Young led a discussion concerning both the partial and full
absorption scenarios.1054 These discussions, with modified versions of the pro forma analyses,
also took place at the ResCap Board meeting held on (1) June 25, 2009,1055 where Young
focused on the full-absorption scenario; (2) June 30, 2009, where Young focused on
adjustments made to the International Business Group and BCG activities, MSRs, and
accounts receivable;1056 and (3) July 9, 2009, where the ResCap Board also considered the
run-off of the ResCap business.1057 Under the run-off of ResCap’s non-core assets scenario,
the following assumptions were made:

           •   AFI would acquire the core business assets and liabilities of ResCap LLC as of
               June 30, 2009 for market value (i.e., book value);
1051 Id.

1052 Id.

1053 See Minutes of a Special Meeting of the Board of Directors of Residential Capital, LLC, June 15, 2009, at

    RC40006181 [RC40005949].
1054 See Minutes of a Special Meeting of the Board of Directors of Residential Capital, LLC, June 23, 2009, at

    RC40006224–25 [RC40005949]. The ResCap Board also discussed at this meeting whether to continue the
    daily liquidity calls and agreed that it would be best to continue holding them for the time being and to revisit
    the meeting schedule in late July. Id. at RC40006225; see also Material for Discussion, dated June 23, 2009,
    at RC40011335 [RC40011334].
1055 See Minutes of a Special Meeting of the Board of Directors of Residential Capital, LLC, June 25, 2009, at

    RC40006228 [RC40005949]; see also Material for Discussion, dated June 25, 2009, at R40010474
    [RC40010472].
1056 See Minutes of a Special Meeting of the Board of Directors of Residential Capital, LLC, June 30, 2009, at

    RC40003536 [RC40005949]; Material for Discussion, dated June 30, 2009 RC40010577 [RC40010575].
1057 See Minutes of a Special Meeting of the Board of Directors of Residential Capital, LLC, July 9, 2009, at

    RC40006242 [RC40005949]. At the July 17, 2009 ResCap Board meeting, Young advised the ResCap Board
    that the pro forma analyses would be extended to 2012. See Minutes of a Special Meeting of the Board of
    Directors of Residential Capital, LLC, July 17, 2009, at RC40006252 [RC40005949]; see also 2009–2011
    Pro Forma ResCap, LLC Modified Non Core Run-off, dated July 16, 2009, at RC40011463 [RC40011453].
    The pro forma analyses were modified to include non-agency servicing advances and other receivables. Id. at
    RC40011468. Also provided to the Board in advance of the July 17, 2009 Board meeting was a letter from de
    Molina to Marano stating: “I am in receipt of your July 10, 2009 note requesting confirmation from the [AFI]
    Board of Directors concerning its intentions for providing additional liquidity to ResCap should the need
    arise. This request has been delivered to the [AFI] Board which will be considering it in the days ahead.”
    Materials for Discussion, dated July 17, 2009, at RC40011502 [RC40011453].

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        •   ResCap would continue “under a mission to run-off remaining non-core business
            assets leveraging existing cash, the proceeds from the sale of the core business”;

        •   The AFI line of credit would be paid off and the AFI revolver extended; and

        •   No additional support in the form of cash, capital or borrowings would be assumed
            from AFI.1058

     At the July 20, 2009 meeting, Young presented to the ResCap Board a revised pro forma
analysis, extended to 2012.1059 Although the ResCap Board continued meeting almost daily
through the month of August 2009, the meetings do not reflect that further attention was paid
to the pro forma analyses during this period. Rather, the ResCap Board focused on the sale of
certain MSRs and other assets to AFI.1060 The ResCap Board does not appear to have revised
the pro forma analyses until September 2009, at which time the ResCap Board linked AFI’s
proposed asset purchase that had been before it for a month to the “Non-Core Run-off”
scenario.1061

    5. In 2009, The SEC Approved ResCap’s Request To Deregister ResCap’s Securities

    In August 2008, Young proposed to Marano as well as to Robert Hull and Sam Ramsey
at AFI that they consider “having ResCap deregister as a separate filer with the SEC,” as it
would “reduce audit costs, printing costs, some people, etc.”1062 At its June 24, 2009 meeting,




1058 See 2009–2011 Pro Forma ResCap, LLC Modified Non Core Run-off Presentation for Special Meeting of the

    Board of Directors of Residential Capital, LLC, dated July 8, 2009 [RC40010645]. A Lazard opinion
    included in the July 9, 2009 ResCap Board materials suggests that these scenarios were prepared at the
    request of AFI. Lazard noted “[AFI] has requested that ResCap provide it with various integration strategies
    for the ResCap franchise. ResCap, its Board and its advisors believe that it is in the best interests of ResCap
    and its stakeholders (including [AFI]) that there be a full integration of ResCap into [AFI].” Lazard Project
    Scout II Presentation, dated July 7, 2009, at RC40010737 [RC40010645] (noting that full absorption would
    “result in substantial benefits to [AFI].” The ResCap Board discussed Project Scout II, and the possible sale
    of ResCap assets to AFI, at its July 22, 2009 and July 27, 2009 Board meetings. See Minutes of a Special
    Meeting of the Board of Directors of Residential Capital, LLC, July 22, 2009, at RC40006256
    [RC40005949]; see also Minutes of a Special Meeting of the Board of Directors of Residential Capital, LLC,
    July 27, 2009, at RC40006259 [RC40005949].
1059 See Minutes of a Special Meeting of the Board of Directors of Residential Capital, LLC, July 20, 2009, at

    RC40006253 [RC40005949]; see also Materials for Discussion, dated July 20, 2009 at RC40010791
    [RC40010781].
1060 See generally Section III.I.1.f.

1061 See 2009–2012 Pro Forma ResCap, LLC Project Newton Non-Core Runoff Presentation, dated Aug. 27,

    2009, at RC40009730 [RC40009729].
1062 E-mail from J. Young to R. Hull, S. Ramsey, and T. Marano (Aug. 11, 2008) [EXAM10174901].



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the ResCap Board discussed the rationale supporting de-registration of ResCap from the SEC
reporting requirements. Young reviewed the material laying out the rationale for deregistration
that was provided in advance of the call:1063

       •   It was allowed because ResCap’s exchanged instruments were deemed “freely
           tradable under the indentures as of June [6], 2008, subject to confirming that less
           than 300 investors currently held the bonds”;

       •   Financial information (more limited than what would be included in SEC filings)
           would be provided to debt investors;

       •   Full audited financial statements would continue to be required of ResCap;

       •   Deregistration would reduce regulatory risk, facilitate further finance consolidation
           and drive incremental cost savings; and

       •   The current restructuring alternatives being considered by ResCap were not
           expected to preclude deregistration.1064




1063 Minutes of a Special Meeting of the Board of Directors of Residential Capital, LLC, June 24, 2009, at

   RC40006226 [RC40005949].
1064 ResCap’s De-registration from SEC Filing Requirements Presentation, dated June 24, 2009, at RC40010462

   [RC40010460]. Young also apprised the ResCap Board of the status of ResCap’s request to de-register as an
   SEC registrant at the July 29, 2009 Board meeting. See Minutes of a Special Meeting of the Board of
   Directors of Residential Capital, LLC, July 29, 2009, at RC40006262 [RC40005949]. Young updated the
   ResCap Audit Committee on August 3, 2009. See Minutes of a Meeting of the Audit Committee of
   Residential Capital, LLC, Aug. 3, 2009, at RC40005459 [RC40005434] (informing the Audit Committee that
   “in response to comments from the SEC, ResCap [would] file amendments to the Company’s Quarterly
   Report for September 30, 2008, Annual Report for December 31, 2008, and Quarterly Report for March 31,
   2009”). The disclosures in the amended filings were described as “not material.” Id.
   Young again updated the ResCap Board on de-registration at the August 19, 2009 Board meeting. See
   Minutes of a Special Meeting of the Board of Directors of Residential Capital, LLC, Aug. 19, 2009, at
   RC40006283 [RC40005949]. Although ResCap initially anticipated the de-registration to be accomplished
   by June 20, 2009, according to what Young told the ResCap Board at its June 24, 2009 meeting, the SEC did
   not approve the de-registration until November 3, 2009, shortly before ResCap’s 10-Q report for third quarter
   2009 was scheduled to be filed. A draft of ResCap’s third quarter 2009 report was prepared, but never filed.
   See Certification Draft of ResCap Quarterly Report (Form 10-Q), at RC40018129 [RC40018123] (as
   provided to the ResCap Audit Committee on November 5, 2009). From the outset, the ResCap Board had
   been advised that the de-registration would “reduce regulatory risk, facilitate further finance consolidation,
   and drive incremental cost saves.” ResCap’s De-registration from SEC Filing Requirements Presentation,
   dated June 24, 2009, at RC40010462 [RC40010460]. No material produced in this proceeding appears to
   indicate de-registration led to any significant cost-savings.

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     On November 3, 2009, the SEC approved ResCap’s request to stop filing reports,
including the quarterly report for the quarter ending September 30, 2009.1065 Thereafter,
ResCap ceased making any independent filings to the SEC.

    6. AFI Ratings Improved Slightly In 2009

     While Fitch’s ratings of AFI remained static, the other three Rating Agencies saw some
positive growth in AFI’s outlook in the second quarter of 2009:

      •    On June 10, 2009, Moody’s upgraded AFI’s senior debt rating to CA from C,
           affirmed the commercial paper rating of Not-Prime, and changed the outlook to
           Review-Positive;

      •    On May 26, 2009, S&P affirmed AFI’s senior debt rating of CCC, affirmed the
           commercial paper rating of C, and changed the outlook to Developing; and

      •    On May 26, 2009, DBRS affirmed AFI’s senior debt rating of CCC, affirmed the
           commercial paper rating of R-5, and changed the outlook to “Review-
           Developing.”1066

     In addition, on June 22, 2009, Marano informed the ResCap Board that “Fitch had
upgraded ResCap’s servicer ranking and had provided positive comments on the
operation.”1067




1065 See SEC No Action Letter (Nov. 3, 2009) (responding to Letter from Mayer Brown, Sent on Behalf of

   Residential Capital, LLC (Nov. 3, 2009)).
1066 See GMAC LLC, Quarterly Report (Form 10-Q) (Aug. 7, 2009), at 104.

1067 Minutes of a Special Meeting of the Board of Directors of Residential Capital, LLC, June 22, 2009, at

   RC40006223 [RC40005949]. Fitch’s support for the ResCap’s servicer operation continued into 2010, when
   Fitch stated that in the intervening year, ResCap had “continued to make incremental improvements to its
   servicing platform to address changing market conditions and to enhance loss mitigation and default
   management processes”; had “implemented functionality for customers to complete Home Affordable
   Modification Program (HAMP) financial forms via its website, with automated feeds to the servicing
   system” and that ResCap continued to “maintain a solid servicing platform with the appropriate staff, default
   procedures and controls in place to manage its servicing portfolio.” Fitch warned that it would continue to
   monitor ResCap’s ability “to maintain servicing performance in a high delinquency environment.” Fitch
   Ratings, Fitch Affirms ResCap’s Residential Servicer Ratings, Dec. 3, 2010, http://www.bus inesswire.com/
   news/home/20101203005963/en/Fitch-Affirms-ResCap’s-Residential-Servicer Ratings.

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     7. AFI’s Efforts To Recapitalize ResCap In December 2009 Was Part Of An AFI
        Strategic Review Of How Best To “Maximize Value”
     AFI experienced a significant change at its helm in November 2009, when Michael A.
Carpenter replaced de Molina as AFI CEO.1068 Carpenter began his tenure as AFI CEO—a
role he continues to play—with media interviews in which he laid out AFI’s priorities going
forward, making clear that they were different under his leadership than they had been under
de Molina’s.1069 Carpenter described his first priority as making AFI “the premier auto-finance
company.”1070 He asserted that AFI needed “a very strong strategic direction,” and a
“turnaround orientation.”1071 Carpenter described the mortgage business as “a drag on the
economy” that required a solution.1072

      Tessler, who was no longer a member of the AFI Board, attended the December 14, 2009
AFI Board meeting as a “non-voting observing designee.”1073 At that meeting, a decision was
made to recapitalize ResCap. In an early December 2009 e-mail to Carpenter, Tessler gave the
following piece of advice to Carpenter: “Recap and sell ResCap, merge it with [AFI] and keep
it or file it, but my advice whatever you decide is to put uncertainty about ResCap behind you
before the end of ‘09.”1074 Carpenter responded that “clear, decisive action” was needed in
1068 See Minutes of Special Meeting of the Board of Directors of GMAC Inc., Nov. 16, 2009, at
    ALLY_0115270–72 [ALLY_0114717]. Forbes subsequently described de Molina’s departure as one of the
    top 12 CEO departures of 2009: “In November the board of automobile lender [AFI] ousted its chief
    executive, Alvaro de Molina, after 19 months on the job. Between December 2008 and the time of de
    Molina’s departure, [AFI] had received $12.5 billion in taxpayer money, which gave the U.S. government a
    35.4% stake in the Detroit company.” Top 12 CEO Departures, FORBES, http://www.forbes.com/
    2009/12/15/ceo-departures-employment-leadership-ceo network-fired_slide_4.html.
    Carpenter joined the AFI Board as an independent director on May 21, 2009, along with Franklin W. Hobbs
    (who later became AFI Board chair) and Mayree C. Clark. They were a part of a “newly reconstituted” AFI
    Board, which also included de Molina, Cerberus appointee Stephen Feinberg and two appointees of the U.S.
    Treasury, Robert T. Blakely and Kim S. Fennebresque. GMAC LLC, Current Report (Form 8-K) (May 29,
    2009), Ex. 99.1.
1069 See, e.g., Dakin Campbell, GMAC’s New CEO Focuses on Autos, ‘Solution’ at ResCap, BLOOMBERG NEWS,

    Nov. 17, 2009, http://www.bloomberg.com/apps/news?pid=newsarchive&sid= aNNg1tH1YKq4.
1070 Id.; see also GMAC Press Release, GMAC Names Michael A. Carpenter Chief Executive Officer; Will Lead

    Next Phase Of Renewal, Nov. 16, 2009, http://www.prnewswire.com/news-releases/gmac-names-michael-a-
    carpenter-chief-executive-officer—will-lead-next-phase-of-renewal-70219362.html (“‘A renewed [AFI] is
    crucial to business and public sector efforts to bolster the U.S. auto industry, and we have a special obligation
    to the public to do everything we can to ensure [AFI] succeeds,’ Carpenter said. His mission, he noted,
    includes operating [AFI] the rigorous standards required of a bank holding company, resolving the difficult
    issues we face with the mortgage business, and repaying in full the funds the U.S. government has invested in
    [AFI].’”).
1071 Dakin Campbell, GMAC’s New CEO Focuses on Autos, ‘Solution’ at ResCap, BLOOMBERG NEWS, Nov. 17,

    2009, http://www.bloomberg.com/apps/news?pid=newsarchive&sid= aNNg1tH1YKq4.
1072 Id.

1073 Minutes of Special Meeting of the Board of Directors of GMAC Inc., Dec. 14, 2009, at ALLY_0115287

    [ALLY_0114717].
1074 E-mails between M. Carpenter and L. Tessler (Dec. 3–4, 2009) [CCM00065644].



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2009. He opined that his problem had been “lack of clarity” on ResCap’s numbers and
proposed solutions that “often resulted in increased commitment[,] not isolating the
cancer.”1075 It thus appears that Carpenter’s inclination in December 2009 was finality, in
whatever form it arrived.
      At the time Carpenter became AFI CEO, the U.S. Treasury appeared poised to make an
additional $5.6 billion TARP investment in AFI before the end of the 2009 fiscal year, when
TARP funding was set to expire. The media at the time reported that Carpenter had tabled that
injection of funds until he could assess AFI’s needs,1076 including evaluating ResCap. Carpenter
clarified that it was actually the U.S. Treasury that slowed the funds down until AFI produced a
“game plan” with respect to AFI’s business, including ResCap.1077
     AFI began an ongoing strategic review of how to best deploy AFI’s current and future
capital and liquidity, which included a decision to “pursue strategic alternatives for”
ResCap.1078 In its Quarterly Report for the quarter ended September 30, 2009, AFI
acknowledged that ResCap expected to have “significant near-term liquidity issues,” and that
there was a “significant risk that ResCap [would] not be able to meet its debt service
obligations and other funding obligations in the near term.”1079 AFI noted:
        ResCap expects continued liquidity pressures for the remainder of 2009 and
        into 2010. ResCap is highly leveraged relative to its cash flow…. ResCap also
        must find alternate funding sources for assets that must periodically be
        withdrawn from some of its financing facilities as maximum funding periods
        for those assets expire. In addition, in connection with the recent restructuring
        of ResCap’s credit facilities, ResCap became subject to requirements to
        maintain minimum consolidated tangible net worth and consolidated liquidity
        balances in order to continue its access to those facilities. ResCap will attempt
        to meet these and other liquidity and capital demands through a combination of
        operating cash and additional asset sales. The sufficiency of these sources of
        additional liquidity cannot be assured, and any asset sales, even if they raise
        sufficient cash to meet ResCap’s liquidity needs, may result in losses that
        negatively affect our overall profitability and financial condition. Moreover,
        even if ResCap is successful in implementing all of the actions described
        above, its ability to satisfy its liquidity needs and comply with any covenants
        included in its debt agreements requiring maintenance of minimum cash
        balances may be affected by additional factors and events (such as interest rate
        fluctuations and margin calls) that increase ResCap’s cash needs making
        ResCap unable to independently satisfy its near-term liquidity requirements.1080
1075 Id.

1076 Dakin Campbell, GMAC’s New CEO Focuses on Autos, ‘Solution’ at ResCap, BLOOMBERG NEWS, Nov. 17,

    2009, http://www.bloomberg.com/apps/news?pid=newsarchive&sid= aNNg1tH1YKq4.
1077 Int. of M. Carpenter, Mar. 4, 2013, 86:16–90:17.

1078 GMAC Inc., Current Report (Form 8-K) (Dec. 30, 2009), Ex. 99.1.

1079 GMAC Inc., Quarterly Report (Form 10-Q) (Nov. 10, 2009), at 109.

1080 Id.



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     On December 11, 2009, AFI made a presentation to the U.S. Treasury, requesting an
infusion of funds under the SCAP program.1081 During the meeting, AFI noted that its
corporate objectives included taking the following actions:

      •    Build a world class auto finance franchise;

      •    Repay the U.S. Government investment as soon as possible; and

      •    Resolve ResCap drag.1082

      AFI described its “Auto Finance franchise” to the U.S. Treasury as “strong with
substantial room for improvement,” and with a “[s]trong management team.”1083 Noting that
ResCap had “reduced its assets to approximately $20 billion,” from its “peak of over $135
billion,”1084 AFI took a different tone with respect to the mortgage business. It declared the
challenge with regard to ResCap to be “neutralizing/exiting at lowest cost,” and proposed that
in order for AFI to repay the U.S. Treasury in full by the end of 2012, three things needed to
happen:

                (1) ResCap had to be “neutralized”;

                (2) AFI had to “return to profitability in 2009; and

                (3) an appropriate capital structure had to be implemented in 2009.1085

      AFI discussed what it called the “ResCap Containment Strategy,” which called for AFI to
exit the mortgage business over time rather than to pursue an “in court solution.”1086 AFI




1081 See GMAC Presentation to the U.S. Department of the Treasury Regarding Request for SCAP Funding,

   dated Dec. 11, 2009, at ALLY_0271776 [ALLY_0271648] (discussed in AFI Board materials for
   December 14, 2009 [ALLY_0271648]). SCAP—the Supervisory Capital Assessment Program—was a
   program established under the Capital Assistance Program (a component of TARP) “to assess whether the 19
   largest U.S. bank holding companies had enough capital to withstand a severe economic downturn.”
   GOVERNMENT ACCOUNTING OFFICE, TROUBLED ASSET RELIEF PROGRAM BANK STRESS TEST OFFERS
   LESSONS AS REGULATORS TAKE FURTHER ACTIONS TO STRENGTHEN SUPERVISORY OVERSIGHT (Sept. 27,
   2010), http://www.gao.gov/products/GAO-10-861. Through the SCAP program, federal bank regulators
   would conduct a stress test to determine if the bank holding company needed to raise additional capital.
1082 See GMAC Presentation to the U.S. Department of the Treasury Regarding Request for SCAP Funding,

   dated Dec. 11, 2009, at ALLY_0271779 [ALLY_0271648] (discussed in AFI Board materials for
   December 14, 2009 [ALLY_0271648]).
1083 Id. at ALLY_0271780.

1084 Id. at ALLY_0271782.

1085 Id. at ALLY_0271783.

1086 Id. at ALLY_0271784–86.



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posited that such an outcome would be “counterproductive” to AFI’s objectives because asset
values (particularly MSRs) would be impaired, AFI would have to provide financing to
ResCap, and the risk of multi-billion dollar litigation would further “delay any improvement
in AFI’s debt ratings, restrict demand in AFI’s unsecured bonds, and delay the timing of AFI’s
IPO.1087

     AFI advised the U.S. Treasury that it would be making the following recommendations
to the AFI Board:

       •   Recognize embedded losses on remaining distressed mortgage assets (estimated at
           $3.3 billion, including $1.3 billion at Ally Bank);

       •   Recapitalize ResCap in the most efficient way possible, using a combination of
           inter-company debt forgiveness, asset contributions and cash;

       •   Restructure the intercompany facilities to improve the repayment of the facilities
           over time;

       •   Explore all options to distribute assets or businesses and monetize bond discounts
           where possible; and

       •   Recognize up to an addition $295 million of Reps and Warranties expense.1088

     AFI offered a series of recommended “capital structure transactions” to be executed prior
to year-end, which it asserted would position AFI for “future success.”1089

      At a December 14, 2009 meeting, Carpenter, along with Hirtler-Garvey and Ramsey,
made a presentation to the AFI Board on alternative scenarios for ResCap, and Marano
discussed ResCap’s proposed sale of “selected international assets” to Fortress. After Marano
left the meeting, Carpenter turned to a discussion of ResCap’s strategic alternatives.1090 A
draft of the December 14 AFI Board deck suggests that AFI sought to:

       •   Insulate AFI from ResCap “earning surprises”;

       •   Distance ResCap from AFI to allow AFI “better access to public markets”;
1087 Id. at ALLY_0271785.

1088 Id. at ALLY_0271786.

1089 Id. at ALLY_0271799.

1090 See Minutes of Special Meeting of the Board of Directors of GMAC Inc., Dec. 14, 2009, at ALLY_0115293–

   94 [ALLY_0114717] (noting that capital infusions of more than $50 million required the approval of the AFI
   Board). At this meeting, the AFI Board agreed to permit a capital contribution in the amount of
   $77.325 million “in the form of forgiveness of inter-company debt held by GMAC-RFC Holding Company”
   from ResCap to its wholly owned indirect subsidiary, RFC, so that RFC could meet its own minimum net
   worth targets. Id. at ALLY_0115291.

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       •   Minimize AFI’s “capital infusion to facilitate ResCap wind-down”;

       •   “Maximize exit value over time”; and

       •   Enable AFI to repay the government quickly.1091

     The strategic alternatives discussed included having ResCap (1) running off or selling
assets in a chapter 11 or chapter 7 bankruptcy case, possibly with AFI bidding on ResCap’s
origination and servicing business in a sale under section 363 of the Bankruptcy Code;
(2) maintaining the status quo; (3) merging ResCap into AFI; (4) spinning off ResCap;
(5) restructuring ResCap and selling ResCap’s mortgage operations; or (6) restructuring
ResCap and AFI buying ResCap’s agency origination and servicing business.1092 The
presentation underscored that AFI investors would view a ResCap merger into AFI as
“extremely unattractive.”1093 The AFI Board was advised that a recommended next step would
be to recapitalize ResCap.1094 AFI did just that. The AFI Board reviewed the alternatives and
“unanimously concluded” that the proposed actions were in the best interest of AFI and its
stakeholders.1095

      On December 30, 2009, AFI announced a series of what it described as “key capital and
strategic actions” designed to strengthen AFI’s capital base, position AFI for “improved
financial performance, minimize further adverse effects” on AFI related to ResCap, and
“improve access to the capital markets over time.”1096 The capital actions included a capital
infusion of $3.79 billion from the U.S. Treasury, which was less than the originally anticipated




1091 Draft Presentation to the Board of Directors of GMAC Inc. Regarding Proposed ResCap Actions, dated

   Dec. 14, 2009, at ALLY_0385303 [ALLY_0385276].
1092 Id. at ALLY_0385307.

1093 Id. at ALLY_0385305.

1094 Id. at ALLY_0385309.

1095 See GMAC Inc., Current Report (Form 8-K) (Dec. 30, 2009), Ex. 99.1.

1096 See id. During his interview, Carpenter explained that he personally went to U.S. Treasury on December 22,

   2009 and advised the U.S. Treasury that AFI had a strategy going forward with regard to ResCap. He said he
   requested a smaller sum than the $5.6 billion that was earmarked for the third TARP payment. Carpenter
   stated that during this period AFI also marked the mortgages in Ally Bank to market and used the marked-
   down mortgages as a capital contribution to ResCap, which, in combination with debt forgiveness “created
   about $2.8 billion of capital for ResCap.” As Carpenter expressed it, they “did a complete reset with the
   government’s money in December of 2009.” Int. of M. Carpenter, Mar. 4, 2013, at 95:7–15.

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$5.6 billion. AFI described the need for fewer dollars as being “due in large part to lower-
than-expected losses related to the General Motors bankruptcy filing.”1097
     With respect to ResCap, AFI reclassified certain mortgage assets from “HFI” to “HFS,”
which resulted in an estimated pre-tax charge of $1.3 billion for international mortgage assets
and businesses and $700 million for domestic mortgage assets.1098 AFI also repurchased
reserve expense of $500 million associated with the mortgage servicing business. The actions
taken by AFI called for a capital contribution to ResCap of $2.7 billion in the form of
mortgage loans that AFI acquired from Ally Bank, debt forgiveness, and cash. The infusion of
capital permitted ResCap’s net worth to exceed its TNW and debt covenants.1099
    AFI stated that, following the transactions that took place in December 2009, it did not
expect to incur any further significant losses from ResCap. Rather, AFI expected that ResCap
going forward would be in a position to explore strategic alternatives.1100
    8. The Year 2010 Was Economically Brighter For ResCap And AFI
     In contrast to 2009, the year 2010 began on a stronger economic note. Mortgage interest
rates had fallen to historic lows in 2009, which benefited homeowners and homebuyers, if not
1097 See GMAC Inc., Current Report (Form 8-K) (Jan. 5, 2010), Item 9.01, Ex. 99.1. Under the plan, the U.S.

   Treasury also would transfer $3 billion of Mandatorily Convertible Preferred (MCP) into common equity
   increasing its common equity ownership of AFI to approximately 56.3%. AFI’s remaining common equity
   holdings following the conversion are as follows: Cerberus and its affiliates hold approximately 14.9%, third
   party investors hold approximately 12.2%, a trust managed by an independent trustee for the benefit of
   General Motors holds approximately 9.9%, and an affiliate of General Motors LLC holds approximately
   6.7%.
1098 ResCap  Chief Account Officer and Controller, Cathy Dondzila, explained that this constituted a large
   transfer of assets from “held for investment” to “held for sale,” and that not many loans have transferred the
   opposite way since the 2009 transaction. Int. of C. Dondzila, Sept, 27, 2012, at 28:1–4. Loans that are “held
   for sale” typically are held for a short time and put into the market; “held for sale” accounting requirements
   called for the assets to be held “at the lower of cost or market” but different accounting rules applied for
   “held for investment,” which was “more of a cost basis less an allowance for expected losses.” Id. at 27:22–
   24.
1099 See GMAC Inc., Current Report (Form 8-K) (Jan. 5, 2010), Item 9.01, Ex. 99.1

1100 See id. In its 2009 Annual Report, AFI made the following year-end statement with regard to ResCap:

        On December 31, 2009, we announced that due to our ongoing strategic review of how to best
        deploy GMAC’s current and future liquidity, we decided to pursue strategic alternatives with
        respect to ResCap and committed to a plan involving a series of specific actions related to
        management’s intent to sell certain ResCap related assets and businesses. These actions resulted in
        the reclassification of certain international and domestic mortgage-related assets and businesses of
        ResCap from held-for-investment to held-for-sale, which included ResCap’s United Kingdom
        operations, continental Europe operations, and certain domestic assets. In order to maximize value,
        we will consider a variety of options including one or more sales, spin-offs, or other potential
        transactions. The timing and form of execution of any such transaction will depend on market
        conditions. We believe these transactions should minimize the impact of any significant future
        losses related to ResCap’s legacy mortgage business and position us to explore strategic alternatives
        for ResCap.
   GMAC Inc., Annual Report (Form 10-Q) (Mar. 1, 2010), at 4.

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necessarily the business of mortgage servicing. In December 2010, the unemployment rate
was 9.4%.1101 Mortgage delinquencies also leveled off in 2010, and new housing starts held
steady at 417,000.1102 The FRB cut its target funds rate to near zero, actually reaching 0.01%
in December 2009.1103 The yield curve, which had inverted in 2006 and 2007 when short-term
interest rates exceeded long term rates, had now normalized as the FRB held short-term rates
low.1104

     Under Carpenter’s leadership, AFI, which became Ally Financial Inc. as of May 10,
2010, had a profitable year in 2010. AFI earned core pretax income of $2.5 billion in 2010 and
was profitable in all four quarters in 2010.1105 For ResCap, too, 2010 showed promise. Marano
stated that he believed the mortgage and capital markets business to be “a very good
opportunity in 2010.1106 He added: “And, you know, we did make money in 2010.”1107

     As part of its future business plans, ResCap considered various scenarios, including
Project Gemini, which provided for recapitalizing the core operations of ResCap into a new
entity, as modeled by Bank of America. As Marano succinctly put it: “We were marketing
ResCap in 2010.”1108 As part of the 2010 “sale process,” AFI was “considering a sale, a
spin-off or retaining” ResCap.1109




1101 See U.S. DEP’T OF LABOR, BUREAU OF LABOR AND STATISTICS, THE EMPLOYMENT SITUATION–DECEMBER

    2010 (Jan. 7, 2011), at http://www.bls.gov/news.release/archives/empsit_01072011.pdf.
1102 S&P     DOW JONES INDICES: RESIDENTIAL REAL ESTATE INDICATORS—JANUARY                                      2011,
    http://us.spindices.com/ indices/real-estate/sp-case-shiller-us-national-home-price-index.
1103 FRB,    Press Release (Dec. 16, 2009), http://www.federalreserve.gov/newsevents/press/ monetary/
    20091216a.htm. The press release reads in part: “The Committee will maintain the target range for the
    federal funds rate at 0 to 1/4 percent and continues to anticipate that economic conditions, including low rates
    of resource utilization, subdued inflation trends, and stable inflation expectations, are likely to warrant
    exceptionally low levels of the federal funds rate for an extended period. To provide support to mortgage
    lending and housing markets and to improve overall conditions in private credit markets, the Federal Reserve
    is in the process of purchasing $1.25 trillion of agency mortgage-backed securities and about $175 billion of
    agency debt. In order to promote a smooth transition in markets, the Committee is gradually slowing the pace
    of these purchases, and it anticipates that these transactions will be executed by the end of the first quarter of
    2010. The Committee will continue to evaluate the timing and overall amounts of its purchases of securities
    in light of the evolving economic outlook and conditions in financial markets.”
1104 Larry  Kudlow, The Yield Curve Is Signaling Bigger Growth, 1260 WRC, Dec. 22, 2009,
    http://www.1260wrc.com/column.aspx?id=5c932231-63c0-4d2f-895a-90474faf4212.
1105 Ally Financial Inc., Annual Report (Form 10-K) (Feb. 25, 2011), at 261.

1106 Int. of T. Marano, Nov. 26, 2012, at 71:24–72:18; 76:7–15.

1107 Id.

1108 Int. of T. Marano, Feb. 27, 2013, at 111:4–8.

1109 Id. at 132:16–19.



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             a. Steven Abreu Was Named ResCap President In January

     The new year also brought a change to the executive ranks of ResCap when Steven
Abreu joined as president on January 29, 2010. A special meeting of the ResCap Board was
called to introduce Abreu as a candidate for ResCap president. In response to a director’s
question, Marano advised that if Abreu were appointed president, Abreu would be responsible
for the day-to-day operations of ResCap. Following a question/answer period and discussion
among the directors, the ResCap Board voted unanimously to appoint Abreu effectively
immediately.1110 Abreu was elected to the ResCap Board on March 29, 2010.1111

             b. 2010 Also Saw A Bump In Ratings For AFI And A Small Boost From S&P For
                ResCap

    With AFI having received substantial support in the form of TARP funds from the U.S.
Treasury, both AFI and ResCap bonds traded higher.1112 The beginning of 2010 brought a
boost to AFI’s ratings:

                 (1) On January 19, 2010, DBRS upgraded AFI’s senior debt rating to BB-Low
                     from CCC, upgraded the commercial paper rating to R-4 from R-5, and
                     changed the outlook to Stable (from Review-Developing);

                 (2) On January 21, 2010, Fitch upgraded AFI’s debt to B from CC, upgraded
                     the commercial paper rating to B from C, and changed the outlook to
                     Positive;

                 (3) On January 27, 2010, S&P upgraded AFI’s senior debt rating to B from
                     CCC, affirmed the commercial paper rating of C, and changed the outlook
                     to Stable (from Developing); and

                 (4) On February 5, 2010, Moody’s upgraded AFI’s senior debt rating to B3
                     from Ca, affirmed the commercial paper rating of Not-Prime, and changed
                     the outlook to Stable (from Review-Positive).1113

     ResCap’s ratings otherwise remained static.




1110 See Minutes of a Special Meeting of the Board of Directors of Residential Capital, LLC, Jan. 29, 2010, at

   RC40018731 [RC40018729].
1111 Unanimous Written Consent of the Residential Capital, LLC Board of Directors, dated Mar. 29, 2010, at

   RC40018746 [RC40018729].
1112 Matt Townsend, GMAC, ResCap Bonds Rally on Bailout, Rejection of Bankruptcy, BLOOMBERG, Jan. 6,

   2010, http://www.bloomberg.com/apps/news?pid=newsarchive&sid=aM794waDGk94&pos=4.
1113 See GMAC, Inc., Annual Report (Form 10-K) (Feb. 25, 2011), at 104.



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    9. ResCap Sold Its International Mortgage Business To Fortress, And AFI Entertained
       Two Offers For ResCap Itself

     ResCap spent much of 2010 negotiating a sale of its European mortgage assets and
operations to Fortress. Although Carpenter described 2010 as “quite benign,” the sale of
ResCap’s European mortgage assets involved a difficult negotiation, and it was not clear until
the end “whether there would be a deal or not.”1114 At the time of closing, Carpenter made the
following public statement:

                  The completion of these sales is another milestone toward our
                  objective of reducing exposure in the legacy mortgage operation
                  . . . . In addition to these transactions, we continue to sell other
                  legacy assets and remain focused on defining the best long-term
                  strategy for our origination and servicing business. The sales
                  include a combination of approximately US $11 billion of
                  securitized loans, other loan assets (including non-performing
                  loans) and servicing rights, and the shares of the related
                  operating entities in the United Kingdom, Germany and The
                  Netherlands. With the completion of these transactions, [AFI]
                  has effectively exited the European mortgage market.1115

     During this period, AFI considered selling ResCap. Fortress and Centerview each
submitted bids to buy ResCap outright.1116 During his interview, Carpenter explained that the
sale did not happen because the bidders were taking advantage of the market, and wanted AFI
to continue holding the historical exposures. For Carpenter, this made no sense because it
meant AFI would have all of the exposure and no business in which to manage any problems.
He explained that because of this, AFI dropped the idea “pretty quickly. 1117”

    10. The ResCap Board Considered And Approved The First 2009 Tax Allocation
        Agreement In August 2010 And Later Considered And Approved The Second 2009 Tax
        Allocation Agreement In December 2010

    From ResCap’s inception in 2005, ResCap had in place tax allocation agreements with
AFI that created contractual rights to cash flows between ResCap and AFI that were tied to the
income taxation of the operations of ResCap and AFI.1118 Tax allocation agreements relating
1114 Int. of M. Carpenter, Mar. 4, 2013, at 141:16–145:6.

1115 AFI,  Ally Financial Completes Sales of European Mortgage Assets and Operations, Oct. 1, 2010,
    http://media.ally.com/index.php?s=43&item=419.
1116 Int. of M. Carpenter, Mar. 4, 2013, at 147:7–148:14.

1117 Id. at 141:16–148:14.

1118 Implemented 2005 Tax Allocation Agreement, at ALLY_0178780–86 [ALLY_0178779]; Other 2005 Tax

    Allocation Agreement [MELZER.009035]; 2006 Tax Allocation Agreement, at ALLY_0178787–93
    [ALLY_0178779]; First 2009 Tax Allocation Agreement, at RC40016379–84 [RC40016362]; Second 2009
    Tax Allocation Agreement [RC00028796].

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to federal income tax liabilities and refunds were in effect only during the periods when
ResCap was included on either a GM or AFI consolidated federal income tax return. In early
August 2010, ResCap management presented to the ResCap Board the First 2009 Tax
Allocation Agreement.1119 It had been drafted by AFI and negotiated with ResCap’s
counsel,1120 and it provided for federal income tax liabilities and refunds to be covered by a
tax allocation agreement effective as of November 1, 2009,1121 which was when ResCap
joined the AFI consolidated federal income tax return.1122 The ResCap Board approved the
First 2009 Tax Allocation Agreement,1123 but no ResCap officer ever signed the agreement.1124
AFI drafted and presented the Second 2009 Tax Allocation Agreement to ResCap
management in October 2009 after AFI had calculated that it would be required to make large
payments to ResCap before the end of the 2010 under the First 2009 Tax Allocation
Agreement.1125 In drafting the Second 2009 Tax Allocation Agreement, AFI started with the
First 2009 Tax Allocation Agreement and removed the provision that created ResCap’s
contractual right to receive payments from AFI.1126 The ResCap Board later approved the
Second 2009 Tax Allocation Agreement in December 2010.1127 The Second 2009 Tax
Allocation Agreement was fully executed by all parties in January 2011.1128

    11. The Debtors Settled Certain Fannie Mae And Freddie Mac Claims In 2010

    The year 2010 saw lawsuits and repurchase demands beginning to mount against
mortgage originators and servicers by a number of state attorneys general, federal agencies,
1119 See Minutes of a Regular Meeting of the Board of Directors of Residential Capital, LLC, Aug. 6, 2010, at

    RC40018820–22 [RC40018729].
1120 See Memorandum, Revised Tax Allocation Agreement Draft, dated July 11, 2010 [EXAM20269709]; E-mail

    from W. Marx (Dec. 6, 2009) [EXAM12308200].
1121 First 2009 Tax Allocation Agreement, at RC40016379 [RC40016362].

1122 See Tax Classification and Allocation History, prepared by AFI, at ALLY_0178779 [ALLY_0178779].

1123 See Minutes of a Regular Meeting of the Board of Directors of Residential Capital, LLC, Aug. 6, 2010, at

    RC40018820–22 [RC40018729].
1124 See E-mail from W. Marx (Oct. 13, 2010), at ALLY_0245484 [ALLY_0245484] (“Under proposed and

    partially executed tax allocation agreements (Jim Young has not yet executed on behalf of ResCap), [AFI]
    would be required to pay ResCap for losses used by other members of the group.”).
1125 SeeE-mail from W. Marx (Oct. 18, 2010) [ALLY_0424659] (“In light of the potentially large capital
    contributions that could result under [the First 2009 Tax Allocation Agreement], I have requested review and
    approval by [AFI’s] current senior leadership.”); E-mail from W. Marx (Oct. 15, 2010), at 2
    [ALLY_0434931] (“Calculations were started immediately upon filing the first consolidated return on
    September 15. . . . [W]e realized that we might be locking up cash inside ResCap and raised the alarm.”).
1126 See Draft of Second 2009 Tax Allocation Agreement, dated Nov. 2, 2009 [ALLY_0424672].

1127 See
       Minutes of Special Meeting of Board of Directors of Residential Capital, LLC, Dec. 22, 2010, at
    RC40018862 [RC40018729].
1128 Second 2009 Tax Allocation Agreement, at RC00028801 [RC00028796]; see also Section V.D.2 (discussing

    the tax allocation agreements in greater detail).

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and investors based on allegations of non-compliance with underwriting standards.1129 As of
December 31, 2009, Freddie Mac had outstanding repurchase requests to its sellers and
servicers of $3.8 billion.1130 This figure grew to $4.8 billion by March 31, 2010.1131 The first
quarter of 2010 repurchase requests of $1.3 billion represented a 65% increase over $789
million in repurchase requests in the first quarter of 2009.

     In March 2010,1132 ResCap reached an agreement with Freddie Mac to settle purported
repurchase obligations (for loans written that did not meet Freddie Mac’s standards) for the
period prior to 2009 for a one-time payment of $325 million.1133 The Freddie Mac settlement
did not settle any alleged violations of servicing obligations or any purported failure to comply
with property foreclosure laws.1134

     12. The FHFA Raised New Concerns With ResCap On Behalf Of Fannie Mae And Freddie
         Mac

     On July 12, 2010, the FHFA, conservator to Fannie Mae and Freddie Mac, issued 64
subpoenas to some of the major lenders seeking loan files and transaction documents related
to private label mortgage-backed securities in which Fannie Mae and Freddie Mac had

1129 See, e.g., Countrywide Agrees to Pay $600 Million to Settle Mortgage Lawsuits, N.Y. TIMES, Aug. 3, 2010,

    http://www.nytimes.com/2010/08/03/business/03countrywide.html?_r=0; see also Loan Servicers Prepare
    for Borrower Backlash, Lawsuits Mounting, MORTGAGE NEWS DAILY, Oct. 1, 2010,
    http://www.mortgagenews daily.com/10012010_servicer_lawsuits.asp; We’d Like to Return These Bad
    Loans, Please, CNN Oct. 22, 2010, http://money.cnn.com/2010/10/22/real_estate/repurchase_banks/
    index.htm.
1130 Federal Home Loan Mortgage Corporation (Freddie Mac), Quarterly Report (Form 10-Q) (May 5, 2010),

    Item 2 at 65.
1131 Id.

1132 The GMAC Board reviewed the proposed legal settlement with Freddie Mac at its regular Board meeting on

    January 29, 2010. See Proposed Legal Settlement—Freddie Mac/ResCap, presented at a Regular Meeting of
    the Board of Directors of GMAC Inc., Jan. 29, 2010 [ALLY_0267940].
1133 Monique Lewis & Tibita Kaneene, Ally Financial starts talks on ResCap, CEO says, THE FINANCIAL TIMES,

    May 21, 2010, http://www.ft.com/intl/cms/s/2/1e73a0e2-6ced-11df-91c8-00144feab49a.html#axzz2Kcg80dPx.
    GMAC Mortgage, RFC, and Freddie Mac were the parties to the Freddie Mac settlement. A draft term sheet,
    endorsed by Marano and Carpenter, was presented to the ResCap Board Executive Committee on March 15,
    2010. The term sheet stated that AFI was not a party to the agreement, but was required by Freddie Mac to enter
    into a guaranty or “keep well agreement” related to the settlement. See GMAC Mortgage Repurchase
    Settlement Term Sheet, attached to e-mail from C. Quenneville, Mar. 15, 2010 [RC40015746]; see also Ally
    Financial Inc., Annual Report (Form 10-K) (Feb. 25, 2011) (noting that settlement agreements had been reached
    with Freddie Mac and Fannie Mae during the fiscal year, which had significantly limited AFI’s and the Debtors’
    repurchase obligations, and noting that AFI’s mortgage operations held reserves of $830 million as of
    December 31, 2010 for potential breaches of representations and warranties).
1134 Ally Financial Inc., Annual Report (Form 10-K) (Feb. 25, 2011), at 247. At least one media outlet tried to make

    the case that the timing of the spring 2010 Freddie Mac settlement was influenced by the U.S. Treasury’s desire
    to see ResCap sold. See Josh Kosman, Freddie Lets GMAC Loan Go Free For Fee, N.Y. POST, May 11, 2010,
    http://www.nypost.com/p/news/business/recycling_bad_ paper_ yxUqiKN54z7ZZ85wRrFXKJ.

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invested only to suffer substantial losses.1135 The agency and its clients wanted to learn
whether in securitizing and selling the loans, the lenders had made material misrepresentations
or omissions such that the lenders would be obligated to repurchase the loans. Private label
securities were “among the poorest performing mortgages,” representing 27% of all mortgages
that were ninety days or more past due.1136 Fannie Mae and Freddie Mac were large investors
in the securities.1137 Certain of the subpoenas were directed at ResCap entities.1138

      In an agreement dated December 23, 2010, between Fannie Mae and GMAC Mortgage,
ResCap, RFS, RAMP, RFC, RALI, and Homecomings, ResCap settled Fannie Mae’s claims.
In exchange for making a cash payment of $461.5 million (involving approximately $292
billion unpaid principal balance ($84 billion of current unpaid principal balance)),1139 Fannie
Mae agreed to release ResCap and its affiliates, officers, directors, and shareholders (other
than Ally Bank) “from certain potential mortgage liabilities,” related to mortgage repurchase
obligations triggered by representation and warranty breaches.1140 The settlement agreement
covered “loans serviced by GMAC Mortgage on behalf of Fannie Mae prior to June 30, 2010
and all mortgaged-backed securities that Fannie Mae purchased at various times prior to the
settlement, including private label securities.”1141 The settlement did not (1) release ResCap of
its obligations to indemnify Fannie Mae or (2) protect ResCap from any potential liability for
any failure to comply with any state or federal law applicable to foreclosing on property
serving as mortgage collateral.1142 ResCap and AFI described the settlement as “modestly in
excess of” the amount that the ResCap had previously reserved.1143




1135 Nick  Timaros, U.S. Queries 64 Issuers of Mortgage Securities, Others, WALL ST. J., July 13, 2010,
    http://online.wsj.com/article/SB10001424052748704288204575362882033038278.html; see also Suzanne
    Kapner, Fannie, Freddie Regulator Issues Subpoenas, THE FIN. TIMES, http://www.ft.co m/intl/cms/s/
    0/75d669c0-8e01-11df-b06f-00144feab49a.html#axzz2Kcg 80dPx.
1136 Nick  Timaros, U.S. Queries 64 Issuers of Mortgage Securities, Others, WALL ST. J., July 13, 2010,
    http://online.wsj.com/article/SB10001424052748704288204575362882033038278.html.
1137 Id.

1138 Ally Financial Inc., Current Report (Form 8-K) (Dec. 23, 2010).

1139 Ally Financial Inc., Press Release, Ally Financial’s Mortgage Subsidiaries Reach Agreement with Fannie

    Mae on Repurchase Exposure (Dec. 27, 2010), http://media.ally.com/index.php?s=43&item=437.
1140 Ally Financial Inc., Current Report (Form 8-K) (Dec. 23, 2010).

1141 Ally Financial Inc., Press Release, Ally Financial’s Mortgage Subsidiaries Reach Agreement with Fannie

    Mae on Repurchase Exposure (Dec. 27, 2010), http://media.ally.com/index.php?s=43&item=437.
1142 Ally Financial Inc., Current Report (Form 8-K) (Dec. 23, 2010); see also Ally Financial Inc., Annual Report

    (Form 10-K) (Feb. 25, 2011), Ex. 10.9.
1143 Ally Financial Inc., Press Release, Ally Financial’s Mortgage Subsidiaries Reach Agreement with Fannie

    Mae on Repurchase Exposure (Dec. 27, 2010), http://media.ally.com/index.php?s=43&item=437.

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    When fiscal year 2010 drew to a close, ResCap was still responding to the Freddie Mac
subpoenas for documents connected to Freddie Mac’s investments in private label mortgaged
backed securities. In its 2010 Annual Report, AFI stated that it was not possible to determine
what the potential losses might be related to these claims.1144

     13. Fall 2010 Brought Investigations And Allegations By Various State And Federal
         Government Offices And Agencies Related To Mortgage Foreclosure Activities

     In fall 2010, U.S. state and federal government offices and agencies, including the
attorneys general of all fifty states, the DOJ, U.S. Treasury, HUD,1145 the FRB, the FDIC, the
SEC and other agencies, regulators, government offices, and Congressional committees
opened investigations into the procedures followed by mortgage servicing companies and
banks, including ResCap, “in connection with mortgage foreclosure home sales and
evictions.”1146 AFI and its subsidiaries cooperated with the investigations and anticipated that
AFI or its subsidiaries would be subject to penalties and sanctions related, in part, to
foreclosures begun through an automated “robo-signing” system where the person signing the
foreclosure affidavit had no knowledge of what it contained.

     On September 17, 2010, GMAC Mortgage “temporarily suspended mortgage foreclosure
home sales and evictions and postponed hearings on motions for judgment in certain
states”1147 when in some states, questions arose as to whether the persons signing the affidavits
(1) verified the information contained in the affidavits and (2) actually signed the affidavits in
the physical presence of a notary.1148 AFI also reported that GMAC Mortgage had
implemented additional procedures to be used in all foreclosure cases going forward that
would ensure that all affidavits were “properly verified and executed.”1149 Following the
suspension of activity, GMAC Mortgage would only proceed with the foreclosure following
an individualized review of each file.1150 Two weeks later, ResCap executives, including
Marano, Abreu, and Hamzehpour were advised by AFI’s Chief Public Policy Officer to start




1144 Ally Financial Inc., Annual Report (Form 10-K) (Feb. 25, 2011), at 247.

1145 See, e.g., Zachary Goldfarb, Task force probing whether banks broke federal laws during home seizures, WASH

    POST, Oct. 20, 2010, http://www.washingtonpost.com/wp-dyn/content/article/2010/10/19/AR201010 1904845.html.
1146 Ally Financial Inc., Annual Report (Form 10-K) (Feb. 25, 2011), at 246.

1147 Id.

1148 Id.

1149 Id.

1150 Id; see also TESTIMONY OF T. MARANO, BEFORE THE SUBCOMMITTEE ON HOUSING AND COMMUNITY
    OPPORTUNITY, COMMITTEE ON FINANCIAL SERVICES, U.S. HOUSE OF REPRESENTATIVES, Nov. 18, 2010, at 6,
    http://financialservices.house.gov/media/file/hearings/111/marano111810.pdf.

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identifying all of the stakeholders and to determine what information would be shared with
them, and to start identifying the relevant documents, in anticipation of possible public
scrutiny.1151

      Congress got involved in October 2010. Senators Jeanne Shaheen (D-N.H.), Al Franken
(D-Minn.), Sheldon Whitehouse (D-R.I.) and Carl Levin (D-Mich.) sent a letter to Carpenter
requesting that AFI immediately extend suspension of foreclosure activities in all 50 states,
rather than in the 23 states that required judicial involvement.1152 On November 10, 2010,
Marano, in his capacity as CEO of Mortgage Operations for AFI, was invited by the U.S.
House of Representatives’ Subcommittee on Housing and Community Opportunity to testify
at a hearing eight days later taking up the foreclosure issue.1153 Marano testified to Congress
that it was GMAC Mortgage’s position that foreclosure is a last resort as “[p]reserving home
ownership is in the best interest of all parties,” including GMAC Mortgage, which is able to
recover its advances following a loan modification, but must continue paying advances on a
foreclosure until the foreclosure is finalized, without any hope of having the advances
repaid.1154




1151 E-mail from M. Leiber to T. Marano, W. Solomon, S. Abreu, J. Pensabnee, T. Hamzehpour, and P. Hobbib,

   copied to M. Carpenter, B. Yastine, and G. Proia (Sept. 30, 2010) [EXAM11135342].
1152 Letter from Sen. J. Shaheen, et. al to M. Carpenter (Oct. 8, 2010) [EXAM10425702]. A similar letter was

   sent to JP Morgan Chase, and the date of the letter coincides with the date that Bank of America agreed to
   halt foreclosures in all fifty states.
   A judicial foreclosure involves a court proceeding, where the lender files a complaint, records a notice
   among the land records, and properly serves the borrower. The complaint asks the court to allow the lender to
   foreclose the lien and take possession of the property for nonpayment of the debt. The borrower is given an
   opportunity to dispute the facts asserted in the complaint, show that the lien has been paid, make any relevant
   counterclaims, and to appear in any court proceeding. (In most cases, foreclosure actions are undisputed
   because the borrower has defaulted on the repayment of a valid debt.) If the court determines that foreclosure
   is appropriate, it will issue a judgment for the lender or servicer for the total amount owed plus the costs of
   the foreclosure proceeding. Once a judgment has issued, the court will authorize a sheriff’s sale of the
   property, although generally the lender or servicer will be the highest bidder and will take possession of the
   property.
   Non-judicial foreclosures do not involve courts, but rather are controlled by state statute. Typically, in non-
   judicial proceedings, the borrower is sent a notice of default, which may or may not be recorded among the
   land records, depending on the individual state law. If the borrower does not cure the default within a set
   period, the borrower will be sent a Notice of Sale, which generally must be published, and then the property
   is sold at public auction. A borrower in non-judicial states still may seek the help of a court to enjoin the
   foreclosure activity. See Mortgage Bankers Ass’n, Judicial Versus Non-Judicial Foreclosure,
   http://www.mbaa.org/files/ResourceCenter/ForeclosureProcess/JudicialVersusNon-JudicialForeclosure.pdf.
1153 Letter from Rep. M. Waters to T. Marano (Nov. 10, 2010) [EXAM10425695].

1154 TESTIMONY OF T. MARANO, BEFORE THE SUBCOMMITTEE ON HOUSING AND COMMUNITY OPPORTUNITY,

   COMMITTEE ON FINANCIAL SERVICES, U.S. HOUSE OF REPRESENTATIVES, NOV. 18, 2010, at 3,
   http://financialservices.house.gov/media/file/hearings/111/marano111810.pdf.

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     In its 2010 Annual Report, AFI “recorded a liability of approximately $13 million related
to potential fines and penalties [it] determined were probable and estimable.”1155 AFI also
expressed concerns about other risks that could lead to unforeseen costs, including litigation,
delays in the foreclosure process, state interference with foreclosures even after the
submission of corrected affidavits, claims from investors holding securities that were impacted
by continued delays in the foreclosure process, regulatory fines and sanctions, and reputational
harm.1156

     14. 2010 Ended With ResCap “Reasonably Well-Positioned”

     As Marano noted, 2010 was a profitable year. It was a year in which ResCap did not
repeatedly need to look to AFI for liquidity funding and capital contributions, at least in part,
because of the recapitalization in December 2009.1157 Carpenter described 2010 as “a year of
tremendous accomplishment.”1158 He added, “[i]n 2009, [ResCap’s problems] were critical and
urgent. In 2010, ResCap’s problems were time-consuming, but were part of a well-thought out
plan”; the year 2010 was one in which Carpenter says the ResCap team accomplished what it set
out to do, leaving ResCap smaller and not as important to AFI, but “reasonably well
positioned.”1159




1155 Ally Financial Inc., Annual Report (Form 10-K) (Feb. 25, 2011), at 246. At December 31, 2010, we recorded

    liability of approximately $13 million related to potential fines and penalties we determined were probable
    and estimable.
1156 Id.

1157 That being said, at the end of 2010, ResCap and AFI added an unsecured $500 million “Swingline tranche”

    to the A&R Line of Credit Agreement. See Minutes of a Special Meeting of the Board of Residential Capital,
    LLC, Dec. 22, 2010, at RC40018857 [RC40018729]; see also Fourth Amendment to the Amended and
    Restated Loan Agreement (Line of Credit Agreement), dated Dec. 23, 2010 [RC00025467]. A “Swingline”
    loan provides an entity immediate access to large amounts of cash in order to cover possible shortfalls from
    other debt commitments.
1158 Int. of M. Carpenter, Mar. 4, 2013, at 143:16–145:6.

1159 Id. at 145:2–6.



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J. EVENTS LEADING TO THE CHAPTER 11 CASES AND PROPOSED
   POSTPETITION TRANSACTIONS AND AGREEMENTS

     By summer 2011, notwithstanding the efforts to stabilize ResCap’s business, ResCap
“continued to lack liquidity and capital and the market began to perceive that AFI’s support
for [ResCap] was weakening.”1160 Following the June 2011 Countrywide Settlement,
ResCap’s and AFI’s views evolved as to the substantial magnitude of the potential
representation and warranty liabilities.1161 Indeed, according to AFI’s financial advisor, the
Countrywide Settlement was a major event culminating in AFI’s determination that the
potential downside of the mortgage business ultimately outweighed ResCap’s value as an
asset.1162

    1. ResCap’s Consideration Of Strategic Restructuring Scenarios

              a. ResCap’s Initial Contingency Planning

      As it became more apparent that AFI would not support ResCap indefinitely, ResCap’s
management began efforts to “create leverage” over AFI—and thereby persuade AFI to
continue to support ResCap for an additional time—by, among other things, threatening that
ResCap could “either file for bankruptcy or look for alternative outcomes that were not
controlled by or most desired by AFI.”1163 ResCap’s goal was to obtain the ability to “self-
determine.”1164 In other words, according to ResCap’s counsel, if at some point AFI decided to
end its support for ResCap, ResCap wanted to be in a position to implement an “elegant-like
exit through spin, sale, or ultimately bankruptcy.”1165

     One example of ResCap’s efforts to create leverage in connection with preparations for
the 2012 bankruptcy filing was the August 12, 2011 letter from Thomas Marano, CEO of
ResCap, to Michael Carpenter, CEO of AFI, sent pursuant to a resolution of the ResCap
Board.1166 In his letter, Marano described ResCap’s precarious financial condition,

1160 First Day Affidavit, ¶ 86.

1161 Meeting with Evercore, Financial Advisors to AFI, in N.Y., N.Y. (Sept. 6, 2012); see also E-mail from

    J. Mackey (Aug. 19, 2011) [ALLY_0169890] (noting that representation and warranty claims are “coming”
    and “[i]t will be an avalanche”).
1162 Meeting with Evercore, Financial Advisors to AFI, in N.Y., N.Y. (Sept. 6, 2012).

1163 Int. of G. Lee, Feb. 20, 2013, at 38:10–39:21.

1164 Id. at 38:14–21.

1165 Id. at 38:10–40:19. ResCap’s Board preferred an out-of-court restructuring to an in-court restructuring. See

    id. at 75:23–77:1. Accordingly, it began to consider a possible transaction with Cerberus in late July 2011.
    See Section III.J.1.b(1).
1166 Minutes of a Special Meeting of the Board of Residential Capital, LLC, Aug. 12, 2011, at RC40018649–50

    [RC40018411]. At the August 12, 2011 meeting, the ResCap Board agreed to “re-engage Morrison &
    Foerster to refresh bankruptcy planning” and FTI and Lazard as ResCap’s “financial advisors and investment
    bankers, respectively.” Id. at RC40018650.

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acknowledged that AFI had engaged Kirkland & Ellis for bankruptcy planning advice, and
informed Carpenter that ResCap would be engaging Morrison & Foerster and Lazard to assist
the ResCap Board in preparing for a possible ResCap bankruptcy filing.1167 Marano noted that
if ResCap violated its net worth covenants, it would be forced to file a free fall bankruptcy and
warned, “[w]ithout sufficient time to prepare, a filing would be extremely disorganized and
would damage the board’s efforts to preserve asset value.”1168 Marano asked AFI to provide
ResCap with “assurance of sufficient equity to ResCap so it does not violate its net worth
covenants” or, in the alternative, “a sufficient equity injection to allow sufficient time for
ResCap, if necessary, to file for bankruptcy in a planned and orderly manner.”1169

      AFI was reluctant to provide any support to ResCap unless it believed such support
would benefit AFI’s own stakeholders. On August 10, 2011, two days prior to sending the
above-referenced letter, Marano e-mailed Carpenter to preview ResCap’s concerns regarding
its ability to meet tangible net worth (TNW) covenants and warned that ResCap may “request
an equity injection” from AFI.1170 Carpenter forwarded Marano’s e-mail to Jeff Brown, AFI’s
Senior Executive Vice President of Finance and Corporate Planning, and noted that “an equity
infusion [to ResCap] is the LAST thing I want to do.”1171 On August 16, 2011, Carpenter
responded to Marano with a letter noting that “[AFI] has provided substantial support to
ResCap in the past and would consider doing so again if it were determined to be in its
shareholders’ best interest although that does not appear to be necessary at the present
time.”1172 Carpenter further noted:

                   [AFI] certainly has no interest in seeing the ResCap Board of
                   Directors pursue a free fall bankruptcy and assumes that there
                   would be considerable dialogue with AFI before such an action
                   were contemplated. AFI and ResCap should, therefore, each
                   monitor developments over the coming weeks and months and
                   consider the impact of alternative scenarios on future plans.1173



1167 Letter from T. Marano to M. Carpenter (Aug. 12, 2011) [ALLY_0150092]. The ResCap Board eventually

    ascertained that Lazard had been retained by the U.S. Treasury and instead hired Centerview, a financial
    advisory firm that had not been “previously engaged by ResCap or any of its affiliated entities.” See Minutes
    of a Special Meeting of the Board of Residential Capital, LLC, Oct. 4, 2011, at RC40018690–91
    [RC40018411].
1168 Letter from T. Marano to M. Carpenter (Aug. 12, 2011), at 1 [ALLY_0150092].

1169 Id. at 1–2.

1170 E-mail from T. Marano to M. Carpenter (Aug. 10, 2011) [ALLY_0170697].

1171 E-mail from M. Carpenter to J. Brown (Aug. 11, 2011) [ALLY_0170697].

1172 Letterfrom M. Carpenter to T. Marano (Aug. 18, 2011) [EXAM11101715] (attached to E-mail from
    M. Carpenter to T. Marano (Aug. 16, 2011) [EXAM11101714]) (the letter is dated August 18, 2011 but was
    sent by e-mail on August 16, 2011).
1173 Id.



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Carpenter’s response to Marano’s letter was acknowledged by the ResCap Board as
“constructive but non-committal.”1174

     Two days later, on August 18, 2011, the ResCap Board met with attorneys from
Morrison & Foerster and Morrison Cohen and discussed “a variety of strategic matters
including, but not limited to, various contingencies including a potential bankruptcy and
matters associated therewith.”1175 Over the following two weeks, the ResCap Board met on
four separate occasions (August 19, 23, 25, and 31) to discuss preparations for a bankruptcy or
restructuring.1176

     With bankruptcy planning underway, ResCap still needed to continue satisfying its TNW
covenants in order to have enough time to consummate an out-of-court restructuring or
prepare an orderly bankruptcy filing.1177 To that end, the ResCap Board authorized Marano on
August 25, 2011 to deliver a letter to AFI requesting that AFI forgive sufficient ResCap
indebtedness so that ResCap could end August 2011 with a TNW level of $500 million.1178 In
the letter, Marano noted that ResCap’s estimate of TNW as of August 25, 2011 was $309.7
million, “barely $59 million over our $250 million funding facility covenant levels.”1179
Although Marano conceded in the letter that ResCap’s request for sufficient capital to achieve
a net worth of $500 million was more than what would “be necessary to avoid breaching the
covenants from a technical perspective,” he explained that the ResCap Board expected further
liquidity drain to occur at the end of August 2011.1180

     Carpenter forwarded Marano’s letter to Brown stating, “This is nuts!”1181 AFI remained
reluctant to provide ResCap with financial support and, rather than accede to ResCap’s request
for sufficient capital to maintain $500 million of TNW, the AFI Board resolved to provide
ResCap with only enough capital for it to exceed its $250 million minimum TNW
1174 Minutes of a Special Meeting of the Board of Residential Capital, LLC, Aug. 16, 2011, at RC40018652

    [RC40018411].
1175 Minutes of a Special Meeting of the Board of Residential Capital, LLC, Aug. 18, 2011, at RC40018653–54

    [RC40018411].
1176 See Minutes of a Special Meeting of the Board of Residential Capital, LLC, Aug. 19, 2011, at RC40018655–

    56 [RC40018411]; Minutes of a Special Meeting of the Board of Residential Capital, LLC, Aug. 23, 2011, at
    RC40018657–58 [RC40018411]; Minutes of a Special Meeting of the Board of Residential Capital, LLC,
    Aug. 25, 2011, at RC40018659–60 [RC40018411]; Minutes of a Special Meeting of the Board of Residential
    Capital, LLC, Aug. 31, 2011, at RC40018661–62 [RC40018411].
1177 See Letter from T. Marano to M. Carpenter (Aug. 12, 2011) [ALLY_0150092].


1178 Minutes of a Special Meeting of the Board of Residential Capital, LLC, Aug. 25, 2011, at RC40018660

    [RC40018411]. Marano delivered the letter requesting AFI’s debt forgiveness to Carpenter on August 26,
    2011. See Letter from T. Marano to M. Carpenter (Aug. 26, 2011) [ALLY_0380110].
1179 Letter from T. Marano to M. Carpenter (Aug. 26, 2011) [ALLY_0380110].


1180 Id.


1181 E-mail from M. Carpenter to J. Brown (Aug. 26, 2011) [ALLY_0380109].



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covenants by $50 million.1182 Carpenter explained that Marano’s request was “nuts” because
ResCap was “$50 million above their minimum and they wanted $500 million. They didn’t
need $500 million.”1183 In his letter to Marano dated August 30, 2011, Carpenter expressed a
hope that AFI’s support for ResCap would “allow the ResCap board to focus on permanent
solutions rather than devoting resources to near term catastrophe scenarios.”1184

     Notwithstanding AFI’s reluctance to provide support to ResCap, it recognized that a
breach by ResCap of its TNW covenants would likely result in an “immediate liquidity event”
that would need to be disclosed by AFI and would also “put[] ResCap and its independent
directors in a much more tenuous position regarding [bankruptcy] preparations . . . .”1185
Accordingly, the AFI Board resolved again in September, October, November, and December
2011 to ensure that ResCap maintained sufficient capital for it to exceed its TNW covenants
by $50 million.1186

     With its immediate equity concerns temporarily alleviated, but having received the
message that AFI’s support for ResCap would not necessarily continue indefinitely, the
ResCap Board continued to evaluate “various different strategic scenarios” and “contingency
planning” options during September and October 2011.1187 To assist it in its restructuring
efforts, ResCap retained Centerview as its investment banker on October 18, 2011.1188
Centerview’s role was focused on “assisting ResCap in restructuring its balance sheet or

1182 See Unanimous Consent to Action, dated Aug. 29, 2011, at ALLY_0115739–48 [ALLY_0115565].

1183 Int. of M. Carpenter, Mar. 4, 2013, at 223:8–224:23.

1184 Letter from M. Carpenter to T. Marano (Aug. 30, 2011), at RC40019728 [RC40019727].

1185 See E-mail from L. Hall to M. Carpenter (Sept. 26, 2011) [ALLY_0359385].

1186 See Unanimous Consent to Action, dated Sept. 27, 2011, at ALLY_0115751–60 [ALLY_0115565];
    Unanimous Consent to Action, dated Oct. 25, 2011, at ALLY_0115768–77 [ALLY_0115565]; Unanimous
    Consent to Action, dated Nov. 30, 2011, at ALLY_0115789–98 [ALLY_0115565] (apparently supplanting a
    November 29, 2011 AFI Board action to provide ResCap with enough capital for it to exceed its TNW
    covenants by just $25 million, see Unanimous Consent to Action, dated Nov. 29, 2011, at ALLY_0115779–
    88 [ALLY_0115565]); Unanimous Consent to Action, dated Dec. 29, 2011, at ALLY_0115843–52
    [ALLY_0115565]. AFI forgave $109.4 million of ResCap’s debt on December 30, 2011. In addition, AFI
    forgave $196.5 million of ResCap’s debt on January 30, 2012 in connection with the FRB/FDIC Settlement
    and the DOJ/AG Settlement. See Residential Capital, LLC Consolidated Financial Statements for the Years
    Ended December 31, 2011 and 2010, at 11, 39 [EXAM00122651]. As discussed in Section V.C.1, through
    those settlements AFI, Ally Bank, ResCap, and GMAC Mortgage addressed certain allegations related to
    purportedly improper oversight and servicing of residential mortgage loans.
1187 See Minutes of a Regular Meeting of the Board of Residential Capital, LLC, Sept. 15, 2011, at RC40018675

    [RC40018411]; Minutes of a Special Meeting of the Board of Residential Capital, LLC, Sept. 27, 2011, at
    RC40018677 [RC40018411]; Minutes of a Special Meeting of the Board of Residential Capital, LLC, Oct. 4,
    2011, at RC40018691 [RC40018411]; Minutes of a Regular Meeting of the Board of Residential Capital,
    LLC, Oct. 7, 2011, at RC40018695 [RC40018411]; Minutes of a Special Meeting of the Board of Residential
    Capital, LLC, Oct. 10, 2011, at RC40018696 [RC40018411].
1188 SeeCenterview Engagement Letter and Indemnification Agreement, dated Oct. 18, 2011, at 1
    [EXAM20178226]; Dep. of M. Puntus, Nov. 5, 2012, at 11:7–13.

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disposing of assets, and/or financing the Chapter 11 cases.”1189 FTI, which had been working
with ResCap intermittently since 2008,1190 was more focused on the day-to-day financial
analyses ResCap required to support those efforts.1191 The ResCap Board referred to its
evaluation of strategic alternatives for ResCap as “Project Bounce.”1192

     Recognizing the company’s precarious financial position, the ResCap Board requested
that Morrison & Foerster answer the question: “who do we owe our [fiduciary] duties to . . .
on any particular day.”1193 On October 28, 2011, Morrison & Foerster gave “a detailed
presentation . . . with respect to fiduciary duties of directors.”1194

     As the market became increasingly aware that ResCap was preparing for a potential
restructuring, ResCap began to experience difficulty obtaining financing. Following the
November 2, 2011 AFI earnings conference call, Randall Newman, Assistant Treasurer of
ResCap, e-mailed Jerry Lombardo, Treasury Executive of ResCap, and noted that “renewing
the GSAP [F]acility is going to be 50-100bps more exciting.”1195 In response, Lombardo wrote
“I knew that was going to happen. . . . [W]hile they are looking to save the [AFI] ship, they
are dumping buckets of water into the ResCap vessel.”1196

      On November 8, 2011, the ResCap Board held a special meeting for the purpose of
hearing a presentation from Morrison & Foerster, Centerview, and FTI regarding “guidance
relating to ResCap contingency planning.”1197 Attorneys from Morrison & Foerster gave a
“detailed presentation on matters relating to bankruptcy planning and a sale of assets under
Section 363 of the Bankruptcy Code,” and the ResCap Board discussed “potential asset sale
structures, sale process considerations, and debtor in possession financing and use of cash
collateral.”1198 Marano presented, reviewed, and discussed “a series of charts that further
described potential strategic alternatives for ResCap, including details of a potential sale
transaction.1199 In addition, Morrison & Foerster attorneys discussed with the ResCap Board
1189 See Dep. of M. Puntus, Nov. 5, 2012, at 13:19–24.


1190 See Dep. of M. Renzi, Nov. 7, 2012, at 17:25–19:8.


1191 See Dep. of M. Puntus, Nov. 5, 2012, at 14:12–21.


1192 See, e.g., Centerview Project Bounce Materials for Discussion, dated Oct. 31, 2011 [EXAM11219455].


1193 Int. of G. Lee, Feb. 20, 2013, at 146:24–147:20.


1194 Minutes of a Regular Meeting of the Board of Residential Capital, LLC, Oct. 28, 2011, at RC40018698

    [RC40018411].
1195 E-mail from R. Newman to J. Lombardo (Nov. 3, 2011), at EXAM10460161 [EXAM10460160].


1196 E-mail from J. Lombardo to R. Newman (Nov. 3, 2011), at EXAM10460160 [EXAM10460160].


1197 Minutes of a Special Meeting of the Board of Residential Capital, LLC, Nov. 8, 2011, at RC40018701

    [RC40018411].
1198 Id.


1199 Id.



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“potential legal claims against [AFI] under different strategic scenarios for the mortgage
operations.”1200

     On November 25, 2011, the ResCap Board held another special meeting and invited
Carpenter to attend. At the meeting, Carpenter discussed, among other things, “the recent
historical relationship between [AFI] and ResCap and the impact of external factors, such as
capital markets volatility, challenges in the residential mortgage market, and changes in the
economy, on mortgage operations and on the business of [AFI] and ResCap.”1201 Carpenter
also discussed “the recent reevaluation of potential strategic alternatives and contingency
plans for the business.”1202

               b. ResCap’s Consideration Of Restructuring Alternatives And Asset Sales

     As noted above, ResCap retained Centerview as its investment banker on October 18,
2011. Centerview was retained to advise ResCap in connection with “any Restructuring, Sale
Transaction and/or Financing.”1203 Part of Centerview’s mandate was to consider the possible
disposition of ResCap’s assets.1204 Centerview was to begin working immediately on “the
evaluation and execution of various strategic alternatives including a potential sale of the
Company.”1205 Although Centerview analyzed potential out-of-court asset sales and asset sales
that would be effectuated in a chapter 11 proceeding, it recognized that an out-of-court
transaction would only be successful if AFI could “sever its relationship with ResCap” in a
structure that would “eliminate/mitigate current and future financial and legal liabilities.”1206
1200 Id.


1201 Minutes of a Special Meeting of the Board of Residential Capital, LLC, Nov. 25, 2011, at RC40018712

    [RC40018411].
1202 Id. At the same meeting, advisors from Centerview verbally provided a “detailed report” to the ResCap

    Board regarding bankruptcy planning and “matters related to a potential asset sale,” among other topics. Id.
    at RC40018713. Centerview provided an update report on similar matters to the ResCap Board on
    December 9, 2011. See Minutes of a Special Meeting of the Board of Residential Capital, LLC, Dec. 9, 2011,
    at RC40018725 [RC40018411].
1203 Centerview Engagement Letter and Indemnification Agreement, dated Oct. 18, 2011, § 1 [EXAM20178226].


1204 From  2010 through 2012, AFI and ResCap had evaluated a number of strategic alternatives for their
    mortgage operations, “including ‘status quo,’ a sale of [AFI’s] equity interest in ResCap as well as a spin-off
    of ResCap to [AFI’s] equity holders.” See Discussion Materials—Joint Presentation by Ally and ResCap,
    dated Jan. 23, 2012, at 5 [RC00096076]. A sale process conducted in 2010 had failed because, among other
    things, the bids were “not compelling,” bidders were “unwilling to assume contingent liabilities,” and “most
    required [AFI] indemnity.” See id. Similarly, the “status quo” alternative was not viable because of the
    “[c]ontinued increase in contingent litigation liabilities,” the need for “significant cash infusion by [AFI],”
    and the potential delay of AFI’s initial public offering or sale. See id.
1205 Joint Project Bounce Presentation by Centerview, FTI, and Morrison & Foerster, dated Dec. 15, 2011, at 2

    [RC00096142].
1206 Id. at 2–3.



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     Centerview prepared a preliminary assessment of ResCap’s “asset sale alternatives . . .
[a]ssuming a chapter 11 sale process is required”1207 and, on November 16, 2011, Sam Greene
from Centerview reported to the ResCap Board regarding “a potential asset sale
transaction.”1208 In the presentation, Centerview analyzed ResCap’s options with respect to
potential asset sales, including whether the business should be marketed “as a whole” or as
“separate assets,” and evaluated how ResCap’s alternatives would be influenced by external
factors, including, among other things, AFI’s “willingness to contribute assets to and/or sell
assets alongside ResCap . . . [and] to provide DIP financing.”1209
                  (1) Evaluation Of Out-of-Court Restructuring Options With Cerberus
     Beginning in July 2011, Cerberus, ResCap, and AFI began the process of conducting due
diligence for a potential out-of-court transaction by which Cerberus might have purchased the
ResCap platform.1210 As Lenard Tessler of Cerberus summarized:
           [W]e went through an analysis in the third and fourth quarters [of 2011]. Was there
           a check that [AFI] could write where they could be confident that they would shed
           themselves of ResCap and we would be confident that we would be able to
           continue to operate ResCap and fight the litigation in a way that would provide
           both parties certainty that we would continue to operate and prosper and be able to
           meet all of our obligations as they come due and that [AFI] would not have to
           worry about these liabilities coming back at them?1211
AFI viewed a ResCap spin-off or sale as “likely not viable paths . . . without more capital and
liquidity support.”1212 AFI was also concerned that it might “lose control of managing the
liabilities” if ResCap were sold.1213
     Notwithstanding that the parties believed an out-of-court transaction would be difficult to
achieve, ResCap and AFI worked with Cerberus on a potential transaction.1214 As of
1207 Centerview Project Bounce Materials for Discussion, dated Nov. 14, 2011, at 1–2 [RC00096119].

1208 Minutes of a Special Meeting of the Board of Residential Capital, LLC, Nov. 16, 2011, at RC40018710

    [RC40018411].
1209 Centerview Project Bounce Materials for Discussion, dated Nov. 14, 2011, at 1 [RC00096119].

1210 See Int. of M. Neporent, Feb. 6, 2013, at 235:15–236:17; E-mail from T. Marano (July 20, 2011)
    [EXAM11107725]; E-mail from A. Saperstein (July 28, 2011) [EXAM11091053]; ResCap Preliminary
    Diligence List, dated July 19, 2011 [EXAM11091055]; Project Bounce: Information Provided to Cerberus,
    dated July 28, 2011 [EXAM11091059].
1211 Int. of L. Tessler, Feb. 28, 2013, at 176:14–178:4.

1212 E-mail from J. Brown (Sept. 21, 2011) [ALLY_0237702]; see also E-mail from J. Brown to M. Carpenter

    (Jan. 31, 2012) [ALLY_0141903] (noting that a spin or sale transaction would cost AFI more than $3
    billion).
1213 E-mail from J. Brown (Sept. 21, 2011) [ALLY_0237702].

1214 Indeed, Centerview complained about the amount of time it spent working on a “highly speculative”
    Cerberus transaction. See E-mail from D. Ying to M. Carpenter (Dec. 12, 2011) [ALLY_0380152]. AFI’s
    advisors believed it was AFI’s decision “as to how much time going forward that ResCap should continue to
    devote to Cerberus.” Id.

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November 14, 2011, Centerview considered Cerberus to be the “top potential buyer” for
ResCap assets.1215 In November and December 2011, ResCap and its advisors spent
“significant time working with [AFI] and Cerberus to determine which assets . . . Cerberus
would be interested in purchasing.”1216 Discussions between the parties included negotiations
regarding the possibility of “Cerberus purchasing ResCap equity, assuming [ResCap]’s
contingent legal liabilities and [AFI] providing a significant monetary contribution to
capitalize the business.”1217 After “additional due diligence,” Cerberus decided to pursue “an
asset sale transaction . . . with no legacy financial or legal liabilities.”1218

     As of December 5, 2011, the key terms of the “understanding of the proposed out-of-
court transaction” between ResCap, Cerberus, and AFI were as follows: (1) Cerberus would
have created a new entity “NewCo” (to be owned 51% by Cerberus and 49% by AFI) and
would have invested capital to fund the purchase of ResCap’s mortgage loan origination and
servicing platform and to adequately capitalize NewCo; (2) AFI would have invested
approximately $3.1 billion of cash into ResCap, structured as secured debt, which would have
been used to repay the Junior Secured Notes and the Unsecured Notes at a discount in order to
“eliminate [the] ‘all or substantially all’ limitation”; and (3) AFI would have retained 100%
ownership of ResCap, which would continue to hold liabilities for potential litigation
claims.1219




1215 Centerview Project Bounce Materials for Discussion, dated Nov. 14, 2011, at 7 [RC00096119].

1216 Materials for Discussion, dated Dec. 12, 2011, at 4 [RC00000114].

1217 Joint Project Bounce Presentation by Centerview, FTI, and Morrison & Foerster, dated Dec. 15, 2011, at 4

    [RC00096142].
1218 Id.

1219 Project Bounce Illustrative Out-of-Court Transaction Structure, dated Dec. 5, 2011, at 1–3 [RC00000068].



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     By December 15, 2011, the key terms of the proposed out-of-court Cerberus transaction
structure had changed such that: (1) ResCap would have “spun-out” from AFI and would have
ceased to be a subsidiary of AFI; and (2) ResCap would have owned between 19% and 49% of
NewCo, with Cerberus owning the remainder.1220




1220 Joint
        Project Bounce Presentation by Centerview, FTI, and Morrison & Foerster, dated Dec. 15, 2011, at
    RC00096147 [RC00096142].

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      Regardless of the transaction structure, there were a number of concerns regarding the
attractiveness and viability of a proposed out-of-court transaction, including whether AFI could
achieve its “desire to separate itself from potential ResCap [litigation] liabilities and successfully
launch an initial public offering.”1221 Centerview also acknowledged a risk that AFI’s capital
contribution could “subsequently [be] recharacterized as an equity investment.”1222 In a
December 12, 2011 presentation prepared “at the suggestion of” AFI, the ResCap management
team and its advisors identified similar issues and noted that execution of a potential out-of-court
transaction with Cerberus would be “challenging.”1223




1221 Project
           Bounce Illustrative Out-of-Court Transaction Structure, dated Dec. 5, 2011, at RC00000071
    [RC00000068]; see also Discussion Materials—Joint Presentation by Ally and ResCap, dated Jan. 23, 2012, at 5
    [RC00096076].
1222 Id.

1223 Materials for Discussion, dated Dec. 12, 2011, at RC00000115,–18 [RC00000114].



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     Likewise, Cerberus identified a number of concerns regarding the proposed transactions.
Most significantly, with respect to exposure to potential RMBS-related representation and
warranty liabilities, Cerberus “did not agree with ResCap . . . that they had appropriately
reserved and that they had appropriately projected out the losses and the liabilities.”1224
Ultimately, ResCap, AFI, and Cerberus viewed an asset sale effectuated through a chapter 11
bankruptcy filing as the “most advantageous strategy.”1225 As Tessler explained:

                  We could never develop enough certainty around that process,
                  so we abandoned that effort sometime[] in the third quarter of
                  2011. . . . [W]e are concerned about the success of [AFI] as we
                  are about the success of the acquisition we’d otherwise be
                  making . . . . It was a series of projections, so therefore, you
                  know, [AFI has] to get comfortable that we would be able to
                  operate the business, generate appropriate cash flows, meet our
                  obligations as they came due . . . so that the liabilities wouldn’t
                  necessarily . . . boomerang back at [AFI] because they were not
                  getting third party releases. . . . [T]hey were passing the baton
                  over to somebody who was going to indemnify them, but . . . the
                  indemnification would come from ResCap, it wasn’t going to
                  come from us as acquirers, and therefore . . . [i]t made [doing
                  the transaction outside of bankruptcy] less certain, and it was the
                  lack of certainty that made it something that they were unwilling
                  to engage in.1226

              c. ResCap’s Preparations For Chapter 11 Bankruptcy

     In late 2011, according to ResCap’s counsel, ResCap had not yet reached the point of no
return in connection with a chapter 11 filing and purportedly still held out hope that an out-of-
court restructuring was a possibility.1227 Nonetheless, ResCap’s primary efforts shifted
towards preparations for a chapter 11 proceeding that would include an asset sale and provide
a forum for resolution of financial and litigation claims.1228




1224 See Int. of M. Neporent, Feb. 6, 2013, at 236:25–237:16.

1225 See Houlihan Lokey Residential Capital LLC Restricted Presentation to the Ad Hoc Noteholder Group, dated

    May 2012, at CCM00447534 [CCM00447520] (attached to E-mail from J. Strelcova (May 5, 2012)
    [CCM00447519] (“ResCap has signed off on this document to be distributed.”)); see also Discussion
    Materials—Joint Presentation by Ally and ResCap, dated Jan. 23, 2012, at 5 [RC00096076].
1226 Int. of L. Tessler, Feb. 28, 2013, at 178:5–180:14.

1227 Int. of G. Lee, Feb. 20, 2013, at 78:22–80:24 (“I still, until Michael Carpenter said they weren’t going to fund

    the business any longer, was of the view that another alternative might come up . . . .”).
1228 Discussion Materials—Joint Presentation by Ally and ResCap, dated Jan. 23, 2012, at 5–6 [RC00096076].



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      With the hope of making any bankruptcy filing as “elegant” as possible, the ResCap
management team and the ResCap Board determined that its priorities were first to obtain a
DIP financing commitment to “get the liquidity [ResCap] need[ed] to live,” and second to get
“a stalking horse bid so that [ResCap] could have some certainty” as to a potential
purchaser.1229 ResCap’s third priority, according to Marano, was the negotiation of a
settlement with AFI—a task which he stated was “outsourced” to the Special Review
Committee.1230
     On November 28, 2011, ResCap made certain formal “asks” for support from AFI,
including a commitment from AFI to: (1) provide ResCap with DIP financing on reasonable
commercial terms; and (2) act as “a back-up § 363 purchaser of ResCap’s assets.”1231
                  (1) Securing DIP Financing
                      (a) Initial AFI DIP Financing Proposal
     On December 2, 2011, the ResCap Board discussed the need for “continued capital
support for ResCap and potential DIP financing from AFI in the event ResCap were to file for
bankruptcy.”1232 At that meeting, the ResCap Board directed Marano to negotiate a letter
agreement with AFI which would “provide for liquidity support for [ResCap], and provide
assurance, subject to acceptable conditions, regarding [AFI’s] present intention to provide DIP
financing (as detailed in the letter agreement) to [ResCap].”1233
     On December 4, 2011, AFI’s counsel memorialized AFI’s intention to provide ResCap
with DIP financing in the event of a ResCap bankruptcy in an amount “consistent with
ResCap’s anticipated needs,” estimated to be “as high as $1 to $2 billion.”1234 AFI’s counsel
stressed that the agreement was “not an enforceable commitment to make a DIP Loan.”1235
     AFI understood that the main risk in providing DIP financing was that the recoverability
of the DIP financing largely depended upon the value of the section 363 asset sale bids.1236
However, AFI also understood that it could extract significant benefits by providing DIP
1229 Dep. of T. Marano, Nov. 12, 2012, at 81:20–84:5; see also E-mail from T. Marano to J. Mackey (Feb. 19,

    2012) [ALLY_0150256]. For a discussion of ResCap’s efforts to secure DIP financing, see Section
    III.J.1.c(1). For a discussion of ResCap’s efforts to solicit bids on certain assets, see Section III.J.1.c(2).
1230 Dep. of T. Marano, Nov. 12, 2012, at 83:20–25.

1231 See E-mail from T. Marano to M. Carpenter et al. (Nov. 28, 2011) [ALLY_0237877].

1232 Minutes of a Special Meeting of the Board of Residential      Capital, LLC, Dec. 2, 2011, at RC40018716
    [RC40018411].
1233 Id.

1234 E-mail from R. Schrock (Dec. 4, 2011) [ALLY_PEO_0030848]. Specifically, ResCap’s estimate of the DIP

    financing need was $1.7 billion, which included refinancing prepetition indebtedness of $1.2 billion and
    additional liquidity needs of $0.5 billion. Evercore, Kirkland & Ellis, and Mayer Brown Project Rodeo
    Discussion Materials, dated Dec. 13, 2011, at 30 [CCM00336243].
1235 E-mail from R. Schrock (Dec. 4, 2011) [ALLY_PEO_0030848].

1236 Evercore, Kirkland & Ellis, and Mayer Brown Project Rodeo Discussion Materials, dated Dec. 13, 2011, at

    30 [CCM00336243].

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financing, such as protecting the value of the platform servicing Ally Bank’s assets, obtaining
leverage in the negotiations of the AFI Settlement and Plan Sponsor Agreement, and securing
a potential lien on any unencumbered cash.1237

     In January 2012, ResCap and its financial advisors engaged in meetings with AFI and
Evercore in which they discussed DIP financing scenarios.1238 ResCap asked AFI to provide
two DIP financing proposals, one that included unencumbered assets in the collateral package
and one that excluded unencumbered assets.1239

      On January 20, 2012, AFI provided a draft DIP financing term sheet to ResCap.1240 The
proposed DIP lenders were AFI and BMMZ (solely with respect to the BMMZ Master Repo
Agreement), with a provision for potentially one or more additional financial institutions
selected by AFI.1241 The proposed financing consisted of a senior secured credit facility in the
amount of up to $721 million with three sub-facilities.1242 The proposed AFI DIP financing
was to be guaranteed by substantially all of the direct and indirect subsidiaries of ResCap
LLC, other than GMAC Mortgage, RFC, and certain bankruptcy remote entities, and secured
by all of the related Debtors’ interests in the assets sold under the BMMZ Master Repo
Agreement, certain GSAP Facility collateral, and the Debtors’ mortgage servicing rights
related to mortgage loans owned by Fannie Mae and Freddie Mac (subject to obtaining the
necessary consent of the applicable GSEs).1243 No maturity date, interest, or fees were




1237 Id.

1238 E-mail from K. Chopra (Jan. 11, 2012) [EXAM00011218] (certain scenarios allowed repayment from asset

    sale proceeds, while other scenarios required DIP to “remain in place during a portion of the asset run-off”).
1239 See E-mail from K. Chopra (Jan. 13, 2012) [EXAM00077639].

1240 See Draft Summary of Terms and Conditions for Debtor-in-Possession Financing to Residential Capital, LLC

    and certain of its subsidiaries, dated Jan. 20, 2012 [EXAM00077225] (attached to E-mail from T. Goren to
    T. Marano (Jan. 27, 2012) [EXAM00077205]).
1241 See id. at 1. Subject to the satisfaction of the closing conditions for the DIP facility, BMMZ proposed to

    amend and restate the BMMZ Master Repo Agreement to provide that BMMZ would continue to honor
    transactions executed prepetition under the BMMZ Master Repo Agreement and would commit to execute
    new transactions on the same terms postpetition. See id. at 2.
1242 Id.
       The draft DIP financing term sheet appeared to assume that AFI would provide only a portion of
    ResCap’s total DIP financing need. See id.
1243 See id. at 1, 6.



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determined as of the date of the AFI proposed DIP financing term sheet. AFI’s proposed DIP
financing assumed the following sources and uses of proceeds:




     AFI was also cognizant of the potential settlement value of providing DIP financing. On
January 17, 2012, Carpenter e-mailed the AFI Board and noted that the issue of whether ResCap
should negotiate with “[a]lternative DIP providers and [p]otential third party stalking horses”
was an “important one” because, “without Rescap seeking third party expressions of interest,
AFI will not get full value in its negotiations with Rescap for whatever DIP financing it provides
or any seller financing.”1244

                      (b) Third-Party DIP Financing

     Centerview initiated a third-party DIP financing marketing process in January 2012,
viewing a facility from AFI as a contingency plan in the event that a third-party DIP financing
lender could not be identified.1245 The process initially undertaken by Centerview was to identify
major financial institutions that could support a large, complex DIP financing.1246 Centerview
and ResCap focused primarily on lenders that had the best knowledge of the assets and identified
JPMorgan, Barclays, Citibank, Deutsche Bank, and Goldman Sachs as potential DIP financing
sources.1247 Deutsche Bank was the only lender that did not have a prior lending relationship
with ResCap.1248

     During the week of January 30, 2012, ResCap provided Barclays and Citibank with due
diligence and allowed them two to three weeks to submit non-binding DIP financing proposals.1249
On February 17, 2012, Barclays provided ResCap with a DIP financing proposal that provided
1244 E-mail from M. Carpenter (Jan. 17, 2011) [ALLY_0182854].

1245 Meeting with Centerview, Investment Banker to the Debtors, in N.Y., N.Y. (Jan. 18, 2013).

1246 Id.

1247 Id.

1248 Id.

1249 Materials for Discussion, dated Feb. 24, 2012, at EXAM20194425 [EXAM20194424].



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for a $1.8 billion facility consisting of a $200 million revolving credit facility, a $1 billion
term loan (“A-1 TL”), and a $600 million term loan (“A-2 TL”).1250 On February 21, 2012,
Citibank provided ResCap with a DIP financing proposal that provided for DIP financing of
up to $1.8 billion, structured with a term loan tranche and a revolving loan tranche in
unspecified amounts.1251

     After receiving the DIP financing proposals from Citibank and Barclays, Centerview
advised the ResCap Board that the “proposals were for considerably larger amounts” than the
AFI DIP proposal.1252 Negotiations with both Barclays and Citibank continued through March
2012.1253 The primary adjustment made in the March DIP financing proposals by Barclays and
Citibank was the amount of the DIP facility, which was driven primarily by the decision on
whether to refinance certain prepetition facilities.1254 For a detailed evolution of the different
Barclays and Citibank DIP financing proposals, refer to Appendix III.J.1.c(1)(b)—1 and
Appendix III.J.1.c(1)(b)—2.

     On March 8, 2012, the ResCap Board also considered “the need to reach out to potential
additional lenders [other than Barclays and Citibank] because of the expected size of the DIP
financing.”1255 Accordingly, ResCap and its advisors engaged in discussions with JPMorgan,
Goldman Sachs, and Deutsche Bank regarding additional DIP financing opportunities.1256
ResCap management believed that soliciting additional third parties would also create more
1250 Id. at EXAM20194432.


1251 Citibank   DIP Financing Considerations Presentation, dated Feb. 21, 2012, at RC40020349–50
    [RC40020290]. For additional terms included in the February 17, 2012 Barclays DIP financing proposal and
    the February 21, 2012 Citibank DIP financing proposal, refer to Appendix III.J.1.c(1)(b)—1 and Appendix
    III.J.1.c(1)(b)—2.
1252 Draft
        Minutes of a Special Meeting of the Board of Residential Capital, LLC, Feb. 24, 2012, at 3–4
    [EXAM11088866].
1253 During that month, Barclays submitted revised term sheets on March 8, 19, and 21. See Materials for
    Discussion, dated Mar. 8, 2012, at 2 [RC00000286]; Confidential Presentation of Financing Discussion
    Materials, dated Mar. 19, 2012, at 1–2 [EXAM00073480]; Centerview Materials for Discussion, Mar. 23,
    2012, at 1 [RC00000304]. Citibank submitted a revised DIP financing proposal on March 6. See Citibank
    DIP Financing Considerations Presentation, dated Mar. 6, 2012 [EXAM00074757]; Materials for Discussion,
    dated Mar. 8, 2012, at 2 [RC00000286].
1254 SeeMaterials for Discussion, dated Mar. 8, 2012, at 2 [RC00000286]; Citibank DIP Financing
    Considerations Presentation, dated Mar. 6, 2012, at 1 [EXAM00074757].
1255 Draft
        Minutes of a Special Meeting of the Board of Residential Capital, LLC, Mar. 8, 2012, at 1
    [EXAM11088874].
1256 Meeting with Centerview, Investment Banker to the Debtors, in N.Y., N.Y. (Jan. 18, 2013); see also E-mail

    from M. Puntus (Mar. 6, 2012) [EXAM00074767] (informing Marano of discussion with Goldman Sachs
    with respect to participation in the DIP facility); Centerview Materials for Discussion, dated Mar. 23, 2012,
    at RC00000305 [RC00000304] (noting continuing discussions with Citibank, Deutsche Bank, and Goldman
    Sachs to “select co-arranger(s)”). This effort was undertaken in part because Citibank expressed discomfort
    with financing servicing advances. See E-mail from M. Puntus (Mar. 6, 2012) [EXAM00074767].

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competition.1257 Goldman was not able to participate in the financing process because of a
conflict of interest.1258 JPMorgan and Deutsche Bank undertook due diligence but ultimately
chose not to make a DIP financing proposal.1259

      On March 23, 2012, Centerview indicated to the ResCap Board that the Barclays DIP
financing proposal was more favorable than the Citibank proposal “based on both economic
(all-in-yield) and non-economic (collateral, borrowing base) terms,” as shown in the exhibit
below.1260




1257 See E-mail from T. Marano to M. Puntus (Mar. 11, 2012) [EXAM00005017]; Meeting with Centerview,

    Investment Banker to the Debtors, in N.Y., N.Y. (Jan. 18, 2013).
1258 Meeting with Centerview, Investment Banker to the Debtors, in N.Y., N.Y. (Jan. 18, 2013).

1259 Id.

1260 Centerview Materials for Discussion, dated Mar. 23, 2012, at 1 [RC00000304].



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    The Barclays DIP Financing Agreement triggered certain approval requirements under
AFI’s bylaws because Barclays was a common stockholder of AFI.1261 On April 4, 2012, the
AFI Board approved a waiver of the section of AFI bylaws governing affiliate transactions.1262
ResCap executed a committed DIP facility term sheet with Barclays on April 9, 2012.1263

     On May 14, 2012 (the Petition Date), ResCap filed a motion requesting approval of the
Barclays DIP Financing Agreement.1264 The Barclays DIP financing of $1.45 billion included
$1.25 billion outstanding as of the Petition Date and up to $200 million in new revolver
draws.1265 The Barclays DIP Financing Agreement included the following modifications in
comparison to the Barclays proposal of March 21, 2012. First, the Barclays DIP Financing
Agreement removed the refinancing of the FNMA EAF Agreement.1266 Consequently, the
Barclays DIP Financing Agreement amended the collateral to change the first lien on the
assets securing the FNMA EAF Loan Agreement to a junior lien.1267 Second, the Barclays DIP
Financing Agreement increased the unused line fee to 75 bps on the undrawn portion of the
revolver,1268 compared to 50 bps in the proposal of March 21, 2012.1269 Approximately $52
million in total fees, net of credits ($18.75 million was paid prior to the Petition Date), were
provided for under the Barclays DIP Financing Agreement.1270

    The Creditors’ Committee filed an objection on June 11, 2012 in which it objected to,
among other things, the $52 million in fees under the Barclays DIP Financing Agreement. The
1261 See
       E-mail from A. Bhama to T. Hamzehpour and T. Marano (Mar. 28, 2012), at EXAM00064966
    [EXAM00064965].
1262 See
       Minutes of a Regular Meeting of the Board of Directors of Ally Financial Inc., Apr. 4, 2012, at
    ALLY_PEO_0020549 [ALLY_PEO_0020479].
1263 See Barclays DIP Financing Agreement, Summary of Indicative Terms and Conditions, dated Apr. 9, 2012

    [EXAM20122499].
1264 See Debtors’ Motion For Interim And Final Orders Pursuant To 11 U.S.C. §§ 105, 362, 363(b)(1), 363(f),

    363(m), 364(c)(1), 364(c)(2), 364(c)(3), 364(d)(1) And 364(e) And Bankruptcy Rules 4001 And 6004 (I)
    Authorizing The Debtors To (A) Enter Into And Perform Under Receivables Purchase Agreements And
    Mortgage Loan Purchase And Contribution Agreements Relating To Initial Receivables And Mortgage
    Loans And Receivables Pooling Agreements Relating To Additional Receivables, And (B) Obtaining
    Postpetition Financing On A Secured, Superpriority Basis, (II) Scheduling A Final Hearing Pursuant To
    Bankruptcy Rules 4001(b) and 4001(c), And (III) Granting Related Relief [Docket No. 13] [hereinafter
    Barclays DIP Motion].
1265 Id. at 5.


1266 Id. at 16.


1267 Id. at 12–13.


1268 Id. at 11.


1269 See Centerview Materials for Discussion, dated Mar. 23, 2012, at 4 [RC00000304].


1270 Barclays DIP Motion, at 11. For further comparison of the Barclays DIP Financing Agreement to the prior

    Barclays DIP financing proposals, refer to Appendix III.J.1.c(1)(b)—1.

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Creditors’ Committee argued that the fees were excessive considering that almost half of the
Barclays DIP facility was used to roll up a prepetition facility in which Barclays was the sole
lender.1271

     On June 15, 2012, an amendment to the Barclays DIP financing fee letter was filed.1272
Barclays agreed to: (1) reduce the applicable margin with respect to A-1 TL by 0.25%;
(2) reduce the applicable margin with respect to A-2 TL by 0.50%; and (3) limit the ability to
decrease the revolving facility by no more than an aggregate principal amount of $10
million.1273 In turn, the Debtors agreed to pay Barclays an additional upfront fee equal to
0.50% of up to $56 million aggregate principal amount of the revolving commitments of each
revolving lender, minus a credit for a portion of the upfront fees on the revolving
commitments previously paid to Barclays equal to 0.50% of $10 million of the aggregate
principal amount of the revolving commitments.1274

     On June 25, 2012, a final order was entered authorizing GMACM Borrower and RFC
Borrower to enter into a postpetition secured superpriority financing in aggregate principal
amount up to $1.45 billion provided by Barclays acting as administrative agent, comprised of:
(1) up to $190 million under the revolver; (2) up to $1.06 billion under the A-1 TL; and (3) up
to $200 million under the A-2 TL.1275

      The following exhibit provides an overview of the anticipated total sources and uses
relating to the Barclays DIP Financing Agreement as of May 16, 2012:




1271 Omnibus Objection Of The Official Committee Of Unsecured Creditors To The Debtors’ Motions Seeking

    (I) Entry Into The Barclays DIP Facility, (II) Entry Into The Ally DIP Facility And The Use Of Certain Cash
    Collateral, And (III) The Use Of The Citibank Cash Collateral [Docket No. 301] ¶¶ 43–44.
1272 Notice of Filing Of Amendment To Financing Fee Letters [Docket No. 417].

1273 Amendment Agreement to Facility Fee Letter [Docket No. 417-1] at 1.

1274 Id.

1275 Barclays DIP Order, at 4.



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     The exhibit below compares the prepetition liabilities to the postpetition liabilities
anticipated as of May 16, 2012 as a result of the Barclays DIP Financing Agreement:




     ResCap indicated that it needed to refinance the GSAP Facility and the BMMZ Repo
Facility to release collateral for the Barclays DIP Financing Agreement.1276 The GSAP Facility,
for which Barclays was the counterparty, was the primary facility used to finance and fund
servicing advances and was structured as an offshore special purpose entity that would go into a
“rapid amortization” as a result of a chapter 11 filing.1277 ResCap justified refinancing the
1276 Declaration Of Marc D. Puntus In Support Of The Debtors’ Motions For Interim And Final Orders Authorizing

    The Debtors To Enter Into The Barclays DIP Facility And The AFI DIP Facility [Docket No. 20] ¶¶ 26–27 (the
    “Puntus Declaration”).
1277 Id. ¶ 15.



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GSAP Facility by noting that the facility was: (1) structured to require “rapid amortization”
repayments; and (2) over-secured by approximately $208 million.1278 ResCap also highlighted
that it negotiated advantageous terms under the Barclays DIP Financing Agreement (marginal
advance rates on servicing advance receivables of 70% under the GSAP Facility as compared
to 90% to 95% under the Barclays DIP Financing Agreement).1279

     The BMMZ Repo Facility was a repo/factoring facility with BMMZ, an indirect wholly
owned subsidiary of AFI.1280 Prior to entering into the BMMZ Master Repo Agreement,
ResCap was also party to repurchase agreements with Citibank and Goldman Sachs.2181 These
agreements offered short-term liquidity through financing secured by a collateral pool of
jumbo, Alt-A, second lien, and subprime mortgage loans.1282 On December 20, 2011, the
Citibank and Goldman Sachs repurchase agreements terminated.1283 Although Citibank
offered to renew its repurchase facility and take on Goldman Sachs’s position, BMMZ
proposed to provide a facility on slightly more favorable terms.1284 ResCap entered into the
BMMZ Master Repo Agreement on December 21, 2011.1285

      BMMZ had the right to terminate the BMMZ Repo Facility in the event of a chapter 11
filing and sell the underlying mortgage loans to third parties, potentially eliminating ResCap’s
interests.1286 ResCap justified refinancing the BMMZ Master Repo Agreement to maintain
control of the subject assets, to access approximately $223 million in excess collateral value,
and to obtain more advantageous terms under the Barclays DIP Financing Agreement (60%
advance rate under the BMMZ Master Repo Agreement as compared to 75% under the
Barclays DIP Financing Agreement).1287




1278 Id. ¶¶ 27–28.

1279 Id. ¶ 28.

1280 See id. ¶ 15; Meeting with Centerview, Investment Banker to the Debtors, in N.Y., N.Y. (Jan. 18, 2013).

2181 ResCap Certificate of Assistant Secretary, dated Dec. 19, 2011 [GOLDIN00119483].

1282 See Goldin Associates Presentation to The Committee of Independent Members of the Board of Directors of

    Residential Capital, LLC Regarding Proposed Master Repurchase Facility Between GMAC Mortgage, LLC
    and Residential Funding Company, LLC and BMMZ Holdings LLC, dated Dec. 20, 2011, at 4
    [GOLDIN00131711].
1283 See id. at 4.

1284 See id. at 10–11. BMMZ terms were better than those offered by Citibank with respect to: (1) the MSR

    facility step-down; (2) pricing and advance rates; and (3) a commitment fee of $1.875 million to Citibank
    versus no fee to BMMZ. See id.
1285 BMMZ Master Repo Agreement [EXAM20068893].

1286 Puntus Declaration, ¶ 29.

1287 Id.



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                       (c) AFI DIP Financing Agreement

     Before the Petition Date, the Debtors determined that the negotiated Barclays DIP
Financing Agreement would be insufficient to cover the Debtors’ second largest expense of
repurchases of whole loans that were sold into securitization trusts guaranteed by Ginnie Mae
(“Ginnie Buybacks”).1288 In April 2012, ResCap began negotiations with AFI regarding
funding the Ginnie Buybacks prior to and during the Chapter 11 Cases.1289 Previously, the
repurchases had been funded by draws under the A&R Line of Credit Facility.1290 When
Centerview negotiated the Barclays DIP Financing Agreement, Centerview had not included
the Ginnie Buybacks in the DIP budget because it assumed ResCap would draw down the
A&R Line of Credit Facility prepetition to fund the Ginnie Buybacks postpetition.1291
However, AFI never consented to the use of its line of credit for postpetition needs and instead
indicated a preference to provide supplemental DIP financing.1292

     ResCap negotiated the additional postpetition financing from AFI in the form of
postpetition draws on the A&R Line of Credit Facility.1293 AFI agreed to provide the
additional DIP financing in an amount up to $150 million, which was subsequently increased
to $220 million.1294 Under the terms of the AFI DIP Financing Agreement, ResCap agreed that
AFI would be permitted to prime itself in its capacity as lender under the A&R Line of Credit
Facility.1295 The agreement specified that ResCap could use the financing proceeds for the
following purposes:

           •   To repurchase whole loans from Ginnie Mae pools in order to avoid GMAC
               Mortgage being in violation of delinquency triggers applicable under chapter 18 of
               the Ginnie Mae guide;1296

           •   To effect foreclosures, conveyance, or other normal course loss mitigation activities
               of the related properties in connection with the submission of HUD claims;1297 and

           •   To allow for trial modification under programs implemented by the Debtors for
               which the related loan and borrowers were qualified.1298
1288 Id. ¶ 18.

1289 Id. ¶ 20.

1290 Id. ¶ 18.

1291 Meeting with Centerview, Investment Banker to the Debtors, in N.Y., N.Y. (Jan. 18, 2013).

1292 Meeting with Centerview, Investment Banker to the Debtors, in N.Y., N.Y. (Sept. 11, 2012).

1293 Puntus Declaration, ¶ 18.

1294 AFI DIP Order, at 5; Meeting with Centerview, Investment Banker to the Debtors, in N.Y., N.Y. (Jan. 18,

    2013).
1295 Puntus Declaration, ¶ 24.

1296 AFI DIP Order, at 20–21.

1297 Id.

1298 Id.



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     The AFI DIP Financing Agreement specified the termination date as the effective date of
a Plan for any of the Debtors or upon written notice of AFI,1299 an interest rate of LIBOR +
4.00% with a LIBOR floor of 1.25%,1300 and carve-out fees not to exceed $25 million.1301
There were no additional fees included in the AFI DIP Financing Agreement.1302 As adequate
protection, AFI received a perfected first priority lien on collateral securing the A&R Line of
Credit Facility and the Secured Revolver Facility, and payments consisting of accrued and
unpaid prepetition and postpetition interest on both facilities.1303 The AFI DIP Financing
Agreement also included additional adequate protection covenants.1304

                  (2) Solicitation Of Bids For ResCap Assets

     Centerview indicated that, as of December 15, 2011, excluding Cerberus, no third parties
had been contacted regarding their interest in purchasing ResCap.1305 At that time, Centerview
was preparing an information memorandum and was ready to approach third parties “when
given permission to do so.”1306

     By January 2012, Centerview was preparing for a pre-filing marketing process for
ResCap’s assets. On January 10, 2012, Centerview provided the ResCap Board with a detailed
presentation regarding, among other things, “several potential asset sale structures for the
Board’s consideration including, but not limited to, a hypothetical in-court process utilizing
Chapter 11.”1307

     After negotiating non-disclosure agreements with Centerbridge, Cerberus, Fortress
(through its home mortgage subsidiary, Nationstar), Ocwen, and Private National Mortgage
Acceptance Company, LLC (PennyMac), these potential “stalking horse” bidders received
substantial due diligence during the week of January 30, 2012 and were given over two weeks
to submit preliminary non-binding letters of intent (“LOIs”).1308 ResCap solicited interest in a
“NewCo” business structure in which the “Investor,” or bidder, would have 100% equity
ownership in NewCo, which had servicing (MSR-based and fee-based) and origination (retail/
call center) platforms.1309 However, bidders were encouraged to submit proposals for other
1299 Id. at 36.

1300 AFI DIP Financing Agreement, § 2.1(e).

1301 AFI DIP Order, at 31–32.

1302 Meeting with Centerview, Investment Banker to the Debtors, in N.Y., N.Y. (Jan. 18, 2013).

1303 AFI DIP Order, at 26.

1304 Id. at 33.

1305 See Joint Project Bounce Presentation by Centerview, FTI, and Morrison & Foerster, dated Dec. 15, 2011, at

    3 [RC00000121].
1306 Id.

1307 Minutes of a Special Meeting of the Board of Residential Capital, LLC, Jan. 10, 2012, at RC40019183

    [RC40019179].
1308 Materials for Discussion, dated Feb. 24, 2012, at 1 [EXAM20194424].

1309 Id. at 2.



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